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                (Slip Opinion)              OCTOBER TERM, 2019                                       1

                                                       Syllabus

                         NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
                       being done in connection with this case, at the time the opinion is issued.
                       The syllabus constitutes no part of the opinion of the Court but has been
                       prepared by the Reporter of Decisions for the convenience of the reader.
                       See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


                SUPREME COURT OF THE UNITED STATES

                                                       Syllabus

                         BOSTOCK v. CLAYTON COUNTY, GEORGIA

                 CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                                 THE ELEVENTH CIRCUIT

                    No. 17–1618. Argued October 8, 2019—Decided June 15, 2020*
                In each of these cases, an employer allegedly fired a long-time employee
                  simply for being homosexual or transgender. Clayton County, Geor-
                  gia, fired Gerald Bostock for conduct “unbecoming” a county employee
                  shortly after he began participating in a gay recreational softball
                  league. Altitude Express fired Donald Zarda days after he mentioned
                  being gay. And R. G. & G. R. Harris Funeral Homes fired Aimee Ste-
                  phens, who presented as a male when she was hired, after she in-
                  formed her employer that she planned to “live and work full-time as a
                  woman.” Each employee sued, alleging sex discrimination under Title
                  VII of the Civil Rights Act of 1964. The Eleventh Circuit held that
                  Title VII does not prohibit employers from firing employees for being
                  gay and so Mr. Bostock’s suit could be dismissed as a matter of law.
                  The Second and Sixth Circuits, however, allowed the claims of Mr.
                  Zarda and Ms. Stephens, respectively, to proceed.
                Held: An employer who fires an individual merely for being gay or
                   transgender violates Title VII. Pp. 4–33.
                      (a) Title VII makes it “unlawful . . . for an employer to fail or refuse
                   to hire or to discharge any individual, or otherwise to discriminate
                   against any individual . . . because of such individual’s race, color, re-
                   ligion, sex, or national origin.” 42 U. S. C. §2000e–2(a)(1). The
                   straightforward application of Title VII’s terms interpreted in accord
                ——————
                   * Together with No. 17–1623, Altitude Express, Inc., et al. v. Zarda
                et al., as Co-Independent Executors of the Estate of Zarda, on certiorari
                to the United States Court of Appeals for the Second Circuit, and No. 18–
                107, R. G. & G. R. Harris Funeral Homes, Inc. v. Equal Employment Op-
                portunity Commission et al., on certiorari to the United States Court of
                Appeals for the Sixth Circuit.
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                                                   Syllabus

                    with their ordinary public meaning at the time of their enactment re-
                    solves these cases. Pp. 4–12.
                          (1) The parties concede that the term “sex” in 1964 referred to the
                    biological distinctions between male and female. And “the ordinary
                    meaning of ‘because of’ is ‘by reason of’ or ‘on account of,’ ” University
                    of Tex. Southwestern Medical Center v. Nassar, 570 U. S. 338, 350.
                    That term incorporates the but-for causation standard, id., at 346, 360,
                    which, for Title VII, means that a defendant cannot avoid liability just
                    by citing some other factor that contributed to its challenged employ-
                    ment action. The term “discriminate” meant “[t]o make a difference in
                    treatment or favor (of one as compared with others).” Webster’s New
                    International Dictionary 745. In so-called “disparate treatment”
                    cases, this Court has held that the difference in treatment based on
                    sex must be intentional. See, e.g., Watson v. Fort Worth Bank & Trust,
                    487 U. S. 977, 986. And the statute’s repeated use of the term “indi-
                    vidual” means that the focus is on “[a] particular being as distin-
                    guished from a class.” Webster’s New International Dictionary, at
                    1267. Pp. 4–9.
                          (2) These terms generate the following rule: An employer violates
                    Title VII when it intentionally fires an individual employee based in
                    part on sex. It makes no difference if other factors besides the plain-
                    tiff’s sex contributed to the decision or that the employer treated
                    women as a group the same when compared to men as a group. A
                    statutory violation occurs if an employer intentionally relies in part on
                    an individual employee’s sex when deciding to discharge the employee.
                    Because discrimination on the basis of homosexuality or transgender
                    status requires an employer to intentionally treat individual employ-
                    ees differently because of their sex, an employer who intentionally pe-
                    nalizes an employee for being homosexual or transgender also violates
                    Title VII. There is no escaping the role intent plays: Just as sex is
                    necessarily a but-for cause when an employer discriminates against
                    homosexual or transgender employees, an employer who discriminates
                    on these grounds inescapably intends to rely on sex in its decisionmak-
                    ing. Pp. 9–12.
                       (b) Three leading precedents confirm what the statute’s plain terms
                    suggest. In Phillips v. Martin Marietta Corp., 400 U. S. 542, a com-
                    pany was held to have violated Title VII by refusing to hire women
                    with young children, despite the fact that the discrimination also de-
                    pended on being a parent of young children and the fact that the com-
                    pany favored hiring women over men. In Los Angeles Dept. of Water
                    and Power v. Manhart, 435 U. S. 702, an employer’s policy of requiring
                    women to make larger pension fund contributions than men because
                    women tend to live longer was held to violate Title VII, notwithstand-
                    ing the policy’s evenhandedness between men and women as groups.
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                                                 Syllabus

                  And in Oncale v. Sundowner Offshore Services, Inc., 523 U. S. 75, a
                  male plaintiff alleged a triable Title VII claim for sexual harassment
                  by co-workers who were members of the same sex.
                     The lessons these cases hold are instructive here. First, it is irrele-
                  vant what an employer might call its discriminatory practice, how oth-
                  ers might label it, or what else might motivate it. In Manhart, the
                  employer might have called its rule a “life expectancy” adjustment, and
                  in Phillips, the employer could have accurately spoken of its policy as
                  one based on “motherhood.” But such labels and additional intentions
                  or motivations did not make a difference there, and they cannot make
                  a difference here. When an employer fires an employee for being ho-
                  mosexual or transgender, it necessarily intentionally discriminates
                  against that individual in part because of sex. Second, the plaintiff’s
                  sex need not be the sole or primary cause of the employer’s adverse
                  action. In Phillips, Manhart, and Oncale, the employer easily could
                  have pointed to some other, nonprotected trait and insisted it was the
                  more important factor in the adverse employment outcome. Here, too,
                  it is of no significance if another factor, such as the plaintiff’s attrac-
                  tion to the same sex or presentation as a different sex from the one
                  assigned at birth, might also be at work, or even play a more important
                  role in the employer’s decision. Finally, an employer cannot escape
                  liability by demonstrating that it treats males and females comparably
                  as groups. Manhart is instructive here. An employer who intention-
                  ally fires an individual homosexual or transgender employee in part
                  because of that individual’s sex violates the law even if the employer
                  is willing to subject all male and female homosexual or transgender
                  employees to the same rule. Pp. 12–15.
                     (c) The employers do not dispute that they fired their employees for
                  being homosexual or transgender. Rather, they contend that even in-
                  tentional discrimination against employees based on their homosexual
                  or transgender status is not a basis for Title VII liability. But their
                  statutory text arguments have already been rejected by this Court’s
                  precedents. And none of their other contentions about what they think
                  the law was meant to do, or should do, allow for ignoring the law as it
                  is. Pp. 15–33.
                        (1) The employers assert that it should make a difference that
                  plaintiffs would likely respond in conversation that they were fired for
                  being gay or transgender and not because of sex. But conversational
                  conventions do not control Title VII’s legal analysis, which asks simply
                  whether sex is a but-for cause. Nor is it a defense to insist that inten-
                  tional discrimination based on homosexuality or transgender status is
                  not intentional discrimination based on sex. An employer who discrim-
                  inates against homosexual or transgender employees necessarily and
                  intentionally applies sex-based rules. Nor does it make a difference
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                                                  Syllabus

                    that an employer could refuse to hire a gay or transgender individual
                    without learning that person’s sex. By intentionally setting out a rule
                    that makes hiring turn on sex, the employer violates the law, whatever
                    he might know or not know about individual applicants. The employ-
                    ers also stress that homosexuality and transgender status are distinct
                    concepts from sex, and that if Congress wanted to address these mat-
                    ters in Title VII, it would have referenced them specifically. But when
                    Congress chooses not to include any exceptions to a broad rule, this
                    Court applies the broad rule. Finally, the employers suggest that be-
                    cause the policies at issue have the same adverse consequences for
                    men and women, a stricter causation test should apply. That argu-
                    ment unavoidably comes down to a suggestion that sex must be the
                    sole or primary cause of an adverse employment action under Title VII,
                    a suggestion at odds with the statute. Pp. 16–23.
                          (2) The employers contend that few in 1964 would have expected
                    Title VII to apply to discrimination against homosexual and
                    transgender persons. But legislative history has no bearing here,
                    where no ambiguity exists about how Title VII’s terms apply to the
                    facts. See Milner v. Department of Navy, 562 U. S. 562, 574. While it
                    is possible that a statutory term that means one thing today or in one
                    context might have meant something else at the time of its adoption
                    or might mean something different in another context, the employers
                    do not seek to use historical sources to illustrate that the meaning of
                    any of Title VII’s language has changed since 1964 or that the statute’s
                    terms ordinarily carried some missed message. Instead, they seem to
                    say when a new application is both unexpected and important, even if
                    it is clearly commanded by existing law, the Court should merely point
                    out the question, refer the subject back to Congress, and decline to en-
                    force the law’s plain terms in the meantime. This Court has long re-
                    jected that sort of reasoning. And the employers’ new framing may
                    only add new problems and leave the Court with more than a little law
                    to overturn. Finally, the employers turn to naked policy appeals, sug-
                    gesting that the Court proceed without the law’s guidance to do what
                    it thinks best. That is an invitation that no court should ever take up.
                    Pp. 23–33.
                No. 17–1618, 723 Fed. Appx. 964, reversed and remanded; No. 17–1623,
                 883 F. 3d 100, and No. 18–107, 884 F. 3d 560, affirmed.

                   GORSUCH, J., delivered the opinion of the Court, in which ROBERTS,
                C. J., and GINSBURG, BREYER, SOTOMAYOR, and KAGAN, JJ., joined. ALITO,
                J., filed a dissenting opinion, in which THOMAS, J., joined. KAVANAUGH,
                J., filed a dissenting opinion.
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                                              Opinion of the Court

                     NOTICE: This opinion is subject to formal revision before publication in the
                     preliminary print of the United States Reports. Readers are requested to
                     notify the Reporter of Decisions, Supreme Court of the United States, Wash-
                     ington, D. C. 20543, of any typographical or other formal errors, in order that
                     corrections may be made before the preliminary print goes to press.


                SUPREME COURT OF THE UNITED STATES
                                                    _________________

                                     Nos. 17–1618, 17–1623 and 18–107
                                                    _________________


                      GERALD LYNN BOSTOCK, PETITIONER
                17–1618             v.
                                 CLAYTON COUNTY, GEORGIA
                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                          APPEALS FOR THE ELEVENTH CIRCUIT



                   ALTITUDE EXPRESS, INC., ET AL., PETITIONERS
                17–1623                 v.
                 MELISSA ZARDA AND WILLIAM ALLEN MOORE, JR.,
                    CO-INDEPENDENT EXECUTORS OF THE ESTATE OF
                                 DONALD ZARDA
                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                           APPEALS FOR THE SECOND CIRCUIT


                    R.G. & G.R. HARRIS FUNERAL HOMES, INC.,
                                   PETITIONER
                18–107                  v.
                EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,
                                      ET AL.

                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                            APPEALS FOR THE SIXTH CIRCUIT
                                                  [June 15, 2020]

                  JUSTICE GORSUCH delivered the opinion of the Court.
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                                      Opinion of the Court

                   Sometimes small gestures can have unexpected conse-
                quences. Major initiatives practically guarantee them. In
                our time, few pieces of federal legislation rank in signifi-
                cance with the Civil Rights Act of 1964. There, in Title VII,
                Congress outlawed discrimination in the workplace on the
                basis of race, color, religion, sex, or national origin. Today,
                we must decide whether an employer can fire someone
                simply for being homosexual or transgender. The answer
                is clear. An employer who fires an individual for being ho-
                mosexual or transgender fires that person for traits or ac-
                tions it would not have questioned in members of a different
                sex. Sex plays a necessary and undisguisable role in the
                decision, exactly what Title VII forbids.
                   Those who adopted the Civil Rights Act might not have
                anticipated their work would lead to this particular result.
                Likely, they weren’t thinking about many of the Act’s con-
                sequences that have become apparent over the years, in-
                cluding its prohibition against discrimination on the basis
                of motherhood or its ban on the sexual harassment of male
                employees. But the limits of the drafters’ imagination sup-
                ply no reason to ignore the law’s demands. When the ex-
                press terms of a statute give us one answer and extratex-
                tual considerations suggest another, it’s no contest. Only
                the written word is the law, and all persons are entitled to
                its benefit.
                                            I
                  Few facts are needed to appreciate the legal question we
                face. Each of the three cases before us started the same
                way: An employer fired a long-time employee shortly after
                the employee revealed that he or she is homosexual or
                transgender—and allegedly for no reason other than the
                employee’s homosexuality or transgender status.
                  Gerald Bostock worked for Clayton County, Georgia, as a
                child welfare advocate. Under his leadership, the county
                won national awards for its work. After a decade with the
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                                       Opinion of the Court

                county, Mr. Bostock began participating in a gay recrea-
                tional softball league. Not long after that, influential mem-
                bers of the community allegedly made disparaging com-
                ments about Mr. Bostock’s sexual orientation and
                participation in the league. Soon, he was fired for conduct
                “unbecoming” a county employee.
                   Donald Zarda worked as a skydiving instructor at Alti-
                tude Express in New York. After several seasons with the
                company, Mr. Zarda mentioned that he was gay and, days
                later, was fired.
                   Aimee Stephens worked at R. G. & G. R. Harris Funeral
                Homes in Garden City, Michigan. When she got the job,
                Ms. Stephens presented as a male. But two years into her
                service with the company, she began treatment for despair
                and loneliness. Ultimately, clinicians diagnosed her with
                gender dysphoria and recommended that she begin living
                as a woman. In her sixth year with the company, Ms. Ste-
                phens wrote a letter to her employer explaining that she
                planned to “ live and work full-time as a woman” after she
                returned from an upcoming vacation. The funeral home
                fired her before she left, telling her “this is not going to work
                out.”
                   While these cases began the same way, they ended differ-
                ently. Each employee brought suit under Title VII alleging
                unlawful discrimination on the basis of sex. 78 Stat. 255,
                42 U. S. C. §2000e–2(a)(1). In Mr. Bostock’s case, the Elev-
                enth Circuit held that the law does not prohibit employers
                from firing employees for being gay and so his suit could be
                dismissed as a matter of law. 723 Fed. Appx. 964 (2018).
                Meanwhile, in Mr. Zarda’s case, the Second Circuit con-
                cluded that sexual orientation discrimination does violate
                Title VII and allowed his case to proceed. 883 F. 3d 100
                (2018). Ms. Stephens’s case has a more complex procedural
                history, but in the end the Sixth Circuit reached a decision
                along the same lines as the Second Circuit’s, holding that
                Title VII bars employers from firing employees because of
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                                      Opinion of the Court

                their transgender status. 884 F. 3d 560 (2018). During the
                course of the proceedings in these long-running disputes,
                both Mr. Zarda and Ms. Stephens have passed away. But
                their estates continue to press their causes for the benefit
                of their heirs. And we granted certiorari in these matters
                to resolve at last the disagreement among the courts of ap-
                peals over the scope of Title VII’s protections for homosex-
                ual and transgender persons. 587 U. S. ___ (2019).
                                              II
                   This Court normally interprets a statute in accord with
                the ordinary public meaning of its terms at the time of its
                enactment. After all, only the words on the page constitute
                the law adopted by Congress and approved by the Presi-
                dent. If judges could add to, remodel, update, or detract
                from old statutory terms inspired only by extratextual
                sources and our own imaginations, we would risk amending
                statutes outside the legislative process reserved for the peo-
                ple’s representatives. And we would deny the people the
                right to continue relying on the original meaning of the law
                they have counted on to settle their rights and obligations.
                See New Prime Inc. v. Oliveira, 586 U. S. ___, ___–___
                (2019) (slip op., at 6–7).
                   With this in mind, our task is clear. We must determine
                the ordinary public meaning of Title VII’s command that it
                is “unlawful . . . for an employer to fail or refuse to hire or
                to discharge any individual, or otherwise to discriminate
                against any individual with respect to his compensation,
                terms, conditions, or privileges of employment, because of
                such individual’s race, color, religion, sex, or national
                origin.” §2000e–2(a)(1). To do so, we orient ourselves to the
                time of the statute’s adoption, here 1964, and begin by ex-
                amining the key statutory terms in turn before assessing
                their impact on the cases at hand and then confirming our
                work against this Court’s precedents.
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                                      Opinion of the Court

                                                 A
                    The only statutorily protected characteristic at issue in
                today’s cases is “sex”—and that is also the primary term in
                Title VII whose meaning the parties dispute. Appealing to
                roughly contemporaneous dictionaries, the employers say
                that, as used here, the term “sex” in 1964 referred to “status
                as either male or female [as] determined by reproductive
                biology.” The employees counter by submitting that, even
                in 1964, the term bore a broader scope, capturing more than
                anatomy and reaching at least some norms concerning gen-
                der identity and sexual orientation. But because nothing in
                our approach to these cases turns on the outcome of the par-
                ties’ debate, and because the employees concede the point
                for argument’s sake, we proceed on the assumption that
                “sex” signified what the employers suggest, referring only
                to biological distinctions between male and female.
                    Still, that’s just a starting point. The question isn’t just
                what “sex” meant, but what Title VII says about it. Most
                notably, the statute prohibits employers from taking cer-
                tain actions “because of ” sex. And, as this Court has previ-
                ously explained, “the ordinary meaning of ‘because of ’ is ‘by
                reason of ’ or ‘on account of.’ ” University of Tex. Southwest-
                ern Medical Center v. Nassar, 570 U. S. 338, 350 (2013) (cit-
                ing Gross v. FBL Financial Services, Inc., 557 U. S. 167, 176
                (2009); quotation altered). In the language of law, this
                means that Title VII’s “because of ” test incorporates the
                “ ‘simple’ ” and “traditional” standard of but-for causation.
                Nassar, 570 U. S., at 346, 360. That form of causation is
                established whenever a particular outcome would not have
                happened “but for” the purported cause. See Gross, 557
                U. S., at 176. In other words, a but-for test directs us to
                change one thing at a time and see if the outcome changes.
                If it does, we have found a but-for cause.
                    This can be a sweeping standard. Often, events have
                multiple but-for causes. So, for example, if a car accident
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                                      Opinion of the Court

                occurred both because the defendant ran a red light and be-
                cause the plaintiff failed to signal his turn at the intersec-
                tion, we might call each a but-for cause of the collision. Cf.
                Burrage v. United States, 571 U. S. 204, 211–212 (2014).
                When it comes to Title VII, the adoption of the traditional
                but-for causation standard means a defendant cannot avoid
                liability just by citing some other factor that contributed to
                its challenged employment decision. So long as the plain-
                tiff ’s sex was one but-for cause of that decision, that is
                enough to trigger the law. See ibid.; Nassar, 570 U. S., at
                350.
                   No doubt, Congress could have taken a more parsimoni-
                ous approach. As it has in other statutes, it could have
                added “solely” to indicate that actions taken “because of ”
                the confluence of multiple factors do not violate the law. Cf.
                11 U. S. C. §525; 16 U. S. C. §511. Or it could have written
                “primarily because of ” to indicate that the prohibited factor
                had to be the main cause of the defendant’s challenged em-
                ployment decision. Cf. 22 U. S. C. §2688. But none of this
                is the law we have. If anything, Congress has moved in the
                opposite direction, supplementing Title VII in 1991 to allow
                a plaintiff to prevail merely by showing that a protected
                trait like sex was a “motivating factor” in a defendant’s
                challenged employment practice. Civil Rights Act of 1991,
                §107, 105 Stat. 1075, codified at 42 U. S. C. §2000e–2(m).
                Under this more forgiving standard, liability can sometimes
                follow even if sex wasn’t a but-for cause of the employer’s
                challenged decision. Still, because nothing in our analysis
                depends on the motivating factor test, we focus on the more
                traditional but-for causation standard that continues to af-
                ford a viable, if no longer exclusive, path to relief under Ti-
                tle VII. §2000e–2(a)(1).
                   As sweeping as even the but-for causation standard can
                be, Title VII does not concern itself with everything that
                happens “because of ” sex. The statute imposes liability on
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                employers only when they “fail or refuse to hire,” “dis-
                charge,” “or otherwise . . . discriminate against” someone
                because of a statutorily protected characteristic like sex.
                Ibid. The employers acknowledge that they discharged the
                plaintiffs in today’s cases, but assert that the statute’s list
                of verbs is qualified by the last item on it: “otherwise . . .
                discriminate against.” By virtue of the word otherwise, the
                employers suggest, Title VII concerns itself not with every
                discharge, only with those discharges that involve discrim-
                ination.
                   Accepting this point, too, for argument’s sake, the ques-
                tion becomes: What did “discriminate” mean in 1964? As
                it turns out, it meant then roughly what it means today:
                “To make a difference in treatment or favor (of one as com-
                pared with others).” Webster’s New International Diction-
                ary 745 (2d ed. 1954). To “discriminate against” a person,
                then, would seem to mean treating that individual worse
                than others who are similarly situated. See Burlington N.
                & S. F. R. Co. v. White, 548 U. S. 53, 59 (2006). In so-called
                “disparate treatment” cases like today’s, this Court has also
                held that the difference in treatment based on sex must be
                intentional. See, e.g., Watson v. Fort Worth Bank & Trust,
                487 U. S. 977, 986 (1988). So, taken together, an employer
                who intentionally treats a person worse because of sex—
                such as by firing the person for actions or attributes it
                would tolerate in an individual of another sex—discrimi-
                nates against that person in violation of Title VII.
                   At first glance, another interpretation might seem possi-
                ble. Discrimination sometimes involves “the act, practice,
                or an instance of discriminating categorically rather than
                individually.” Webster’s New Collegiate Dictionary 326
                (1975); see also post, at 27–28, n. 22 (ALITO, J., dissenting).
                On that understanding, the statute would require us to con-
                sider the employer’s treatment of groups rather than indi-
                viduals, to see how a policy affects one sex as a whole versus
                the other as a whole. That idea holds some intuitive appeal
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                                      Opinion of the Court

                too. Maybe the law concerns itself simply with ensuring
                that employers don’t treat women generally less favorably
                than they do men. So how can we tell which sense, individ-
                ual or group, “discriminate” carries in Title VII?
                   The statute answers that question directly. It tells us
                three times—including immediately after the words “dis-
                criminate against”—that our focus should be on individu-
                als, not groups: Employers may not “fail or refuse to hire
                or . . . discharge any individual, or otherwise . . . discrimi-
                nate against any individual with respect to his compensa-
                tion, terms, conditions, or privileges of employment, be-
                cause of such individual’s . . . sex.”         §2000e–2(a)(1)
                (emphasis added). And the meaning of “individual” was as
                uncontroversial in 1964 as it is today: “A particular being
                as distinguished from a class, species, or collection.” Web-
                ster’s New International Dictionary, at 1267. Here, again,
                Congress could have written the law differently. It might
                have said that “it shall be an unlawful employment practice
                to prefer one sex to the other in hiring, firing, or the terms
                or conditions of employment.” It might have said that there
                should be no “sex discrimination,” perhaps implying a focus
                on differential treatment between the two sexes as groups.
                More narrowly still, it could have forbidden only “sexist pol-
                icies” against women as a class. But, once again, that is not
                the law we have.
                   The consequences of the law’s focus on individuals rather
                than groups are anything but academic. Suppose an em-
                ployer fires a woman for refusing his sexual advances. It’s
                no defense for the employer to note that, while he treated
                that individual woman worse than he would have treated a
                man, he gives preferential treatment to female employees
                overall. The employer is liable for treating this woman
                worse in part because of her sex. Nor is it a defense for an
                employer to say it discriminates against both men and
                women because of sex. This statute works to protect indi-
                viduals of both sexes from discrimination, and does so
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                equally. So an employer who fires a woman, Hannah, be-
                cause she is insufficiently feminine and also fires a man,
                Bob, for being insufficiently masculine may treat men and
                women as groups more or less equally. But in both cases
                the employer fires an individual in part because of sex. In-
                stead of avoiding Title VII exposure, this employer doubles
                it.
                                               B
                    From the ordinary public meaning of the statute’s lan-
                 guage at the time of the law’s adoption, a straightforward
                 rule emerges: An employer violates Title VII when it inten-
                 tionally fires an individual employee based in part on sex.
                 It doesn’t matter if other factors besides the plaintiff ’s sex
                 contributed to the decision. And it doesn’t matter if the em-
                 ployer treated women as a group the same when compared
                 to men as a group. If the employer intentionally relies in
                 part on an individual employee’s sex when deciding to dis-
                 charge the employee—put differently, if changing the em-
                 ployee’s sex would have yielded a different choice by the em-
                 ployer—a statutory violation has occurred. Title VII’s
                 message is “simple but momentous”: An individual em-
                 ployee’s sex is “not relevant to the selection, evaluation, or
                 compensation of employees.” Price Waterhouse v. Hopkins,
                 490 U. S. 228, 239 (1989) (plurality opinion).
                    The statute’s message for our cases is equally simple and
                 momentous: An individual’s homosexuality or transgender
                 status is not relevant to employment decisions. That’s be-
                 cause it is impossible to discriminate against a person for
                 being homosexual or transgender without discriminating
                 against that individual based on sex. Consider, for exam-
                 ple, an employer with two employees, both of whom are at-
                 tracted to men. The two individuals are, to the employer’s
                 mind, materially identical in all respects, except that one is
                 a man and the other a woman. If the employer fires the
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                male employee for no reason other than the fact he is at-
                tracted to men, the employer discriminates against him for
                traits or actions it tolerates in his female colleague. Put
                differently, the employer intentionally singles out an em-
                ployee to fire based in part on the employee’s sex, and the
                affected employee’s sex is a but-for cause of his discharge.
                Or take an employer who fires a transgender person who
                was identified as a male at birth but who now identifies as
                a female. If the employer retains an otherwise identical
                employee who was identified as female at birth, the em-
                ployer intentionally penalizes a person identified as male at
                birth for traits or actions that it tolerates in an employee
                identified as female at birth. Again, the individual em-
                ployee’s sex plays an unmistakable and impermissible role
                in the discharge decision.
                   That distinguishes these cases from countless others
                where Title VII has nothing to say. Take an employer who
                fires a female employee for tardiness or incompetence or
                simply supporting the wrong sports team. Assuming the
                employer would not have tolerated the same trait in a man,
                Title VII stands silent. But unlike any of these other traits
                or actions, homosexuality and transgender status are inex-
                tricably bound up with sex. Not because homosexuality or
                transgender status are related to sex in some vague sense
                or because discrimination on these bases has some dispar-
                ate impact on one sex or another, but because to discrimi-
                nate on these grounds requires an employer to intentionally
                treat individual employees differently because of their sex.
                   Nor does it matter that, when an employer treats one em-
                ployee worse because of that individual’s sex, other factors
                may contribute to the decision. Consider an employer
                with a policy of firing any woman he discovers to be a
                Yankees fan. Carrying out that rule because an em-
                ployee is a woman and a fan of the Yankees is a firing
                “because of sex” if the employer would have tolerated the
                same allegiance in a male employee. Likewise here.
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                When an employer fires an employee because she is homo-
                sexual or transgender, two causal factors may be in play—
                both the individual’s sex and something else (the sex to
                which the individual is attracted or with which the individ-
                ual identifies). But Title VII doesn’t care. If an employer
                would not have discharged an employee but for that in-
                dividual’s sex, the statute’s causation standard is met,
                and liability may attach.
                   Reframing the additional causes in today’s cases as addi-
                tional intentions can do no more to insulate the employers
                from liability. Intentionally burning down a neighbor’s
                house is arson, even if the perpetrator’s ultimate intention
                (or motivation) is only to improve the view. No less, inten-
                tional discrimination based on sex violates Title VII, even if
                it is intended only as a means to achieving the employer’s
                ultimate goal of discriminating against homosexual or
                transgender employees. There is simply no escaping the
                role intent plays here: Just as sex is necessarily a but-for
                cause when an employer discriminates against homosex-
                ual or transgender employees, an employer who discrim-
                inates on these grounds inescapably intends to rely on
                sex in its decisionmaking. Imagine an employer who has
                a policy of firing any employee known to be homosexual.
                The employer hosts an office holiday party and invites em-
                ployees to bring their spouses. A model employee arrives
                and introduces a manager to Susan, the employee’s wife.
                Will that employee be fired? If the policy works as the em-
                ployer intends, the answer depends entirely on whether the
                model employee is a man or a woman. To be sure, that em-
                ployer’s ultimate goal might be to discriminate on the basis
                of sexual orientation. But to achieve that purpose the em-
                ployer must, along the way, intentionally treat an employee
                worse based in part on that individual’s sex.
                   An employer musters no better a defense by responding
                that it is equally happy to fire male and female employees
                who are homosexual or transgender. Title VII liability is
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                not limited to employers who, through the sum of all of their
                employment actions, treat the class of men differently than
                the class of women. Instead, the law makes each instance
                of discriminating against an individual employee because
                of that individual’s sex an independent violation of Title
                VII. So just as an employer who fires both Hannah and Bob
                for failing to fulfill traditional sex stereotypes doubles ra-
                ther than eliminates Title VII liability, an employer who
                fires both Hannah and Bob for being gay or transgender
                does the same.
                   At bottom, these cases involve no more than the straight-
                forward application of legal terms with plain and settled
                meanings. For an employer to discriminate against em-
                ployees for being homosexual or transgender, the employer
                must intentionally discriminate against individual men
                and women in part because of sex. That has always been
                prohibited by Title VII’s plain terms—and that “should be
                the end of the analysis.” 883 F. 3d, at 135 (Cabranes, J.,
                concurring in judgment).
                                               C
                  If more support for our conclusion were required, there’s
                no need to look far. All that the statute’s plain terms sug-
                gest, this Court’s cases have already confirmed. Consider
                three of our leading precedents.
                  In Phillips v. Martin Marietta Corp., 400 U. S. 542 (1971)
                (per curiam), a company allegedly refused to hire women
                with young children, but did hire men with children the
                same age. Because its discrimination depended not only on
                the employee’s sex as a female but also on the presence of
                another criterion—namely, being a parent of young chil-
                dren—the company contended it hadn’t engaged in discrim-
                ination “because of ” sex. The company maintained, too,
                that it hadn’t violated the law because, as a whole, it tended
                to favor hiring women over men. Unsurprisingly by now,
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                these submissions did not sway the Court. That an em-
                ployer discriminates intentionally against an individual
                only in part because of sex supplies no defense to Title VII.
                Nor does the fact an employer may happen to favor women
                as a class.
                  In Los Angeles Dept. of Water and Power v. Manhart, 435
                U. S. 702 (1978), an employer required women to make
                larger pension fund contributions than men. The employer
                sought to justify its disparate treatment on the ground that
                women tend to live longer than men, and thus are likely to
                receive more from the pension fund over time. By every-
                one’s admission, the employer was not guilty of animosity
                against women or a “purely habitual assumptio[n] about a
                woman’s inability to perform certain kinds of work”; in-
                stead, it relied on what appeared to be a statistically accu-
                rate statement about life expectancy. Id., at 707–708. Even
                so, the Court recognized, a rule that appears evenhanded at
                the group level can prove discriminatory at the level of in-
                dividuals. True, women as a class may live longer than men
                as a class. But “[t]he statute’s focus on the individual is
                unambiguous,” and any individual woman might make the
                larger pension contributions and still die as early as a man.
                Id., at 708. Likewise, the Court dismissed as irrelevant the
                employer’s insistence that its actions were motivated by a
                wish to achieve classwide equality between the sexes: An
                employer’s intentional discrimination on the basis of sex is
                no more permissible when it is prompted by some further
                intention (or motivation), even one as prosaic as seeking to
                account for actuarial tables. Ibid. The employer violated
                Title VII because, when its policy worked exactly as
                planned, it could not “pass the simple test” asking whether
                an individual female employee would have been treated the
                same regardless of her sex. Id., at 711.
                  In Oncale v. Sundowner Offshore Services, Inc., 523 U. S.
                75 (1998), a male plaintiff alleged that he was singled out
                by his male co-workers for sexual harassment. The Court
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                held it was immaterial that members of the same sex as the
                victim committed the alleged discrimination. Nor did the
                Court concern itself with whether men as a group were sub-
                ject to discrimination or whether something in addition to
                sex contributed to the discrimination, like the plaintiff ’s
                conduct or personal attributes. “[A]ssuredly,” the case
                didn’t involve “the principal evil Congress was concerned
                with when it enacted Title VII.” Id., at 79. But, the Court
                unanimously explained, it is “the provisions of our laws ra-
                ther than the principal concerns of our legislators by which
                we are governed.” Ibid. Because the plaintiff alleged that
                the harassment would not have taken place but for his
                sex—that is, the plaintiff would not have suffered similar
                treatment if he were female—a triable Title VII claim ex-
                isted.
                   The lessons these cases hold for ours are by now familiar.
                   First, it’s irrelevant what an employer might call its dis-
                criminatory practice, how others might label it, or what else
                might motivate it. In Manhart, the employer called its rule
                requiring women to pay more into the pension fund a “life
                expectancy” adjustment necessary to achieve sex equality.
                In Phillips, the employer could have accurately spoken of
                its policy as one based on “motherhood.” In much the same
                way, today’s employers might describe their actions as mo-
                tivated by their employees’ homosexuality or transgender
                status. But just as labels and additional intentions or mo-
                tivations didn’t make a difference in Manhart or Phillips,
                they cannot make a difference here. When an employer
                fires an employee for being homosexual or transgender, it
                necessarily and intentionally discriminates against that in-
                dividual in part because of sex. And that is all Title VII has
                ever demanded to establish liability.
                   Second, the plaintiff ’s sex need not be the sole or primary
                cause of the employer’s adverse action. In Phillips, Man-
                hart, and Oncale, the defendant easily could have pointed
                to some other, nonprotected trait and insisted it was the
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                more important factor in the adverse employment outcome.
                So, too, it has no significance here if another factor—such
                as the sex the plaintiff is attracted to or presents as—might
                also be at work, or even play a more important role in the
                employer’s decision.
                  Finally, an employer cannot escape liability by demon-
                strating that it treats males and females comparably as
                groups. As Manhart teaches, an employer is liable for in-
                tentionally requiring an individual female employee to pay
                more into a pension plan than a male counterpart even if
                the scheme promotes equality at the group level. Likewise,
                an employer who intentionally fires an individual homosex-
                ual or transgender employee in part because of that indi-
                vidual’s sex violates the law even if the employer is willing
                to subject all male and female homosexual or transgender
                employees to the same rule.
                                              III
                  What do the employers have to say in reply? For present
                purposes, they do not dispute that they fired the plaintiffs
                for being homosexual or transgender. Sorting out the true
                reasons for an adverse employment decision is often a hard
                business, but none of that is at issue here. Rather, the em-
                ployers submit that even intentional discrimination against
                employees based on their homosexuality or transgender
                status supplies no basis for liability under Title VII.
                  The employers’ argument proceeds in two stages. Seek-
                ing footing in the statutory text, they begin by advancing a
                number of reasons why discrimination on the basis of ho-
                mosexuality or transgender status doesn’t involve discrim-
                ination because of sex. But each of these arguments turns
                out only to repackage errors we’ve already seen and this
                Court’s precedents have already rejected. In the end, the
                employers are left to retreat beyond the statute’s text,
                where they fault us for ignoring the legislature’s purposes
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                in enacting Title VII or certain expectations about its oper-
                ation. They warn, too, about consequences that might fol-
                low a ruling for the employees. But none of these conten-
                tions about what the employers think the law was meant to
                do, or should do, allow us to ignore the law as it is.
                                              A
                   Maybe most intuitively, the employers assert that dis-
                crimination on the basis of homosexuality and transgender
                status aren’t referred to as sex discrimination in ordinary
                conversation. If asked by a friend (rather than a judge) why
                they were fired, even today’s plaintiffs would likely respond
                that it was because they were gay or transgender, not be-
                cause of sex. According to the employers, that conversa-
                tional answer, not the statute’s strict terms, should guide
                our thinking and suffice to defeat any suggestion that the
                employees now before us were fired because of sex. Cf. post,
                at 3 (ALITO, J., dissenting); post, at 8–13 (KAVANAUGH, J.,
                dissenting).
                   But this submission rests on a mistaken understanding
                of what kind of cause the law is looking for in a Title VII
                case. In conversation, a speaker is likely to focus on what
                seems most relevant or informative to the listener. So an
                employee who has just been fired is likely to identify the
                primary or most direct cause rather than list literally every
                but-for cause. To do otherwise would be tiring at best. But
                these conversational conventions do not control Title VII’s
                legal analysis, which asks simply whether sex was a but-for
                cause. In Phillips, for example, a woman who was not hired
                under the employer’s policy might have told her friends that
                her application was rejected because she was a mother, or
                because she had young children. Given that many women
                could be hired under the policy, it’s unlikely she would say
                she was not hired because she was a woman. But the Court
                did not hesitate to recognize that the employer in Phillips
                discriminated against the plaintiff because of her sex. Sex
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                wasn’t the only factor, or maybe even the main factor, but
                it was one but-for cause—and that was enough. You can
                call the statute’s but-for causation test what you will—ex-
                pansive, legalistic, the dissents even dismiss it as wooden
                or literal. But it is the law.
                   Trying another angle, the defendants before us suggest
                that an employer who discriminates based on homosexual-
                ity or transgender status doesn’t intentionally discriminate
                based on sex, as a disparate treatment claim requires. See
                post, at 9–12 (ALITO, J., dissenting); post, at 12–13
                (KAVANAUGH, J., dissenting). But, as we’ve seen, an em-
                ployer who discriminates against homosexual or
                transgender employees necessarily and intentionally ap-
                plies sex-based rules. An employer that announces it will
                not employ anyone who is homosexual, for example, intends
                to penalize male employees for being attracted to men and
                female employees for being attracted to women.
                   What, then, do the employers mean when they insist in-
                tentional discrimination based on homosexuality or
                transgender status isn’t intentional discrimination based
                on sex? Maybe the employers mean they don’t intend to
                harm one sex or the other as a class. But as should be clear
                by now, the statute focuses on discrimination against indi-
                viduals, not groups. Alternatively, the employers may
                mean that they don’t perceive themselves as motivated by
                a desire to discriminate based on sex. But nothing in Title
                VII turns on the employer’s labels or any further intentions
                (or motivations) for its conduct beyond sex discrimination.
                In Manhart, the employer intentionally required women to
                make higher pension contributions only to fulfill the further
                purpose of making things more equitable between men and
                women as groups. In Phillips, the employer may have per-
                ceived itself as discriminating based on motherhood, not
                sex, given that its hiring policies as a whole favored women.
                But in both cases, the Court set all this aside as irrelevant.
                The employers’ policies involved intentional discrimination
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                because of sex, and Title VII liability necessarily followed.
                  Aren’t these cases different, the employers ask, given
                that an employer could refuse to hire a gay or transgender
                individual without ever learning the applicant’s sex? Sup-
                pose an employer asked homosexual or transgender appli-
                cants to tick a box on its application form. The employer
                then had someone else redact any information that could be
                used to discern sex. The resulting applications would dis-
                close which individuals are homosexual or transgender
                without revealing whether they also happen to be men or
                women. Doesn’t that possibility indicate that the em-
                ployer’s discrimination against homosexual or transgender
                persons cannot be sex discrimination?
                  No, it doesn’t. Even in this example, the individual ap-
                plicant’s sex still weighs as a factor in the employer’s deci-
                sion. Change the hypothetical ever so slightly and its flaws
                become apparent. Suppose an employer’s application form
                offered a single box to check if the applicant is either black
                or Catholic. If the employer refuses to hire anyone who
                checks that box, would we conclude the employer has com-
                plied with Title VII, so long as it studiously avoids learning
                any particular applicant’s race or religion? Of course not:
                By intentionally setting out a rule that makes hiring turn
                on race or religion, the employer violates the law, whatever
                he might know or not know about individual applicants.
                  The same holds here. There is no way for an applicant to
                decide whether to check the homosexual or transgender box
                without considering sex. To see why, imagine an applicant
                doesn’t know what the words homosexual or transgender
                mean. Then try writing out instructions for who should
                check the box without using the words man, woman, or sex
                (or some synonym). It can’t be done. Likewise, there is no
                way an employer can discriminate against those who check
                the homosexual or transgender box without discriminating
                in part because of an applicant’s sex. By discriminating
                against homosexuals, the employer intentionally penalizes
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                men for being attracted to men and women for being at-
                tracted to women. By discriminating against transgender
                persons, the employer unavoidably discriminates against
                persons with one sex identified at birth and another today.
                Any way you slice it, the employer intentionally refuses to
                hire applicants in part because of the affected individuals’
                sex, even if it never learns any applicant’s sex.
                   Next, the employers turn to Title VII’s list of protected
                characteristics—race, color, religion, sex, and national
                origin. Because homosexuality and transgender status
                can’t be found on that list and because they are conceptu-
                ally distinct from sex, the employers reason, they are im-
                plicitly excluded from Title VII’s reach. Put another way, if
                Congress had wanted to address these matters in Title VII,
                it would have referenced them specifically. Cf. post, at 7–8
                (ALITO, J., dissenting); post, at 13–15 (KAVANAUGH, J., dis-
                senting).
                   But that much does not follow. We agree that homosex-
                uality and transgender status are distinct concepts from
                sex. But, as we’ve seen, discrimination based on homosex-
                uality or transgender status necessarily entails discrimina-
                tion based on sex; the first cannot happen without the sec-
                ond. Nor is there any such thing as a “canon of donut holes,”
                in which Congress’s failure to speak directly to a specific
                case that falls within a more general statutory rule creates
                a tacit exception. Instead, when Congress chooses not to
                include any exceptions to a broad rule, courts apply the
                broad rule. And that is exactly how this Court has always
                approached Title VII. “Sexual harassment” is conceptually
                distinct from sex discrimination, but it can fall within Title
                VII’s sweep. Oncale, 523 U. S., at 79–80. Same with “moth-
                erhood discrimination.” See Phillips, 400 U. S., at 544.
                Would the employers have us reverse those cases on the
                theory that Congress could have spoken to those problems
                more specifically? Of course not. As enacted, Title VII pro-
                hibits all forms of discrimination because of sex, however
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                they may manifest themselves or whatever other labels
                might attach to them.
                   The employers try the same point another way. Since
                1964, they observe, Congress has considered several pro-
                posals to add sexual orientation to Title VII’s list of pro-
                tected characteristics, but no such amendment has become
                law. Meanwhile, Congress has enacted other statutes ad-
                dressing other topics that do discuss sexual orientation.
                This postenactment legislative history, they urge, should
                tell us something. Cf. post, at 2, 42–43 (ALITO, J., dissent-
                ing); post, at 4, 15–16 (KAVANAUGH, J., dissenting).
                   But what? There’s no authoritative evidence explaining
                why later Congresses adopted other laws referencing sex-
                ual orientation but didn’t amend this one. Maybe some in
                the later legislatures understood the impact Title VII’s
                broad language already promised for cases like ours and
                didn’t think a revision needed. Maybe others knew about
                its impact but hoped no one else would notice. Maybe still
                others, occupied by other concerns, didn’t consider the issue
                at all. All we can know for certain is that speculation about
                why a later Congress declined to adopt new legislation of-
                fers a “particularly dangerous” basis on which to rest an in-
                terpretation of an existing law a different and earlier Con-
                gress did adopt. Pension Benefit Guaranty Corporation v.
                LTV Corp., 496 U. S. 633, 650 (1990); see also United States
                v. Wells, 519 U. S. 482, 496 (1997); Sullivan v. Finkelstein,
                496 U. S. 617, 632 (1990) (Scalia, J., concurring) (“Argu-
                ments based on subsequent legislative history . . . should
                not be taken seriously, not even in a footnote”).
                   That leaves the employers to seek a different sort of ex-
                ception. Maybe the traditional and simple but-for causa-
                tion test should apply in all other Title VII cases, but it just
                doesn’t work when it comes to cases involving homosexual
                and transgender employees. The test is too blunt to capture
                the nuances here. The employers illustrate their concern
                with an example. When we apply the simple test to Mr.
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                Bostock—asking whether Mr. Bostock, a man attracted to
                other men, would have been fired had he been a woman—
                we don’t just change his sex. Along the way, we change his
                sexual orientation too (from homosexual to heterosexual).
                If the aim is to isolate whether a plaintiff ’s sex caused the
                dismissal, the employers stress, we must hold sexual orien-
                tation constant—meaning we need to change both his sex
                and the sex to which he is attracted. So for Mr. Bostock,
                the question should be whether he would’ve been fired if he
                were a woman attracted to women. And because his em-
                ployer would have been as quick to fire a lesbian as it was
                a gay man, the employers conclude, no Title VII violation
                has occurred.
                   While the explanation is new, the mistakes are the same.
                The employers might be onto something if Title VII only en-
                sured equal treatment between groups of men and women
                or if the statute applied only when sex is the sole or primary
                reason for an employer’s challenged adverse employment
                action. But both of these premises are mistaken. Title VII’s
                plain terms and our precedents don’t care if an employer
                treats men and women comparably as groups; an employer
                who fires both lesbians and gay men equally doesn’t dimin-
                ish but doubles its liability. Just cast a glance back to Man-
                hart, where it was no defense that the employer sought to
                equalize pension contributions based on life expectancy.
                Nor does the statute care if other factors besides sex con-
                tribute to an employer’s discharge decision. Mr. Bostock’s
                employer might have decided to fire him only because of the
                confluence of two factors, his sex and the sex to which he is
                attracted. But exactly the same might have been said in
                Phillips, where motherhood was the added variable.
                   Still, the employers insist, something seems different
                here. Unlike certain other employment policies this Court
                has addressed that harmed only women or only men, the
                employers’ policies in the cases before us have the same ad-
                verse consequences for men and women. How could sex be
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                necessary to the result if a member of the opposite sex
                might face the same outcome from the same policy?
                   What the employers see as unique isn’t even unusual. Of-
                ten in life and law two but-for factors combine to yield a
                result that could have also occurred in some other way. Im-
                agine that it’s a nice day outside and your house is too
                warm, so you decide to open the window. Both the cool tem-
                perature outside and the heat inside are but-for causes of
                your choice to open the window. That doesn’t change just
                because you also would have opened the window had it been
                warm outside and cold inside. In either case, no one would
                deny that the window is open “because of ” the outside tem-
                perature. Our cases are much the same. So, for example,
                when it comes to homosexual employees, male sex and at-
                traction to men are but-for factors that can combine to get
                them fired. The fact that female sex and attraction to
                women can also get an employee fired does no more than
                show the same outcome can be achieved through the com-
                bination of different factors. In either case, though, sex
                plays an essential but-for role.
                   At bottom, the employers’ argument unavoidably comes
                down to a suggestion that sex must be the sole or primary
                cause of an adverse employment action for Title VII liability
                to follow. And, as we’ve seen, that suggestion is at odds
                with everything we know about the statute. Consider an
                employer eager to revive the workplace gender roles of the
                1950s. He enforces a policy that he will hire only men as
                mechanics and only women as secretaries. When a quali-
                fied woman applies for a mechanic position and is denied,
                the “simple test” immediately spots the discrimination: A
                qualified man would have been given the job, so sex was a
                but-for cause of the employer’s refusal to hire. But like the
                employers before us today, this employer would say not so
                fast. By comparing the woman who applied to be a me-
                chanic to a man who applied to be a mechanic, we’ve quietly
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                changed two things: the applicant’s sex and her trait of fail-
                ing to conform to 1950s gender roles. The “simple test” thus
                overlooks that it is really the applicant’s bucking of 1950s
                gender roles, not her sex, doing the work. So we need to
                hold that second trait constant: Instead of comparing the
                disappointed female applicant to a man who applied for the
                same position, the employer would say, we should compare
                her to a man who applied to be a secretary. And because
                that jobseeker would be refused too, this must not be sex
                discrimination.
                   No one thinks that, so the employers must scramble to
                justify deploying a stricter causation test for use only in
                cases involving discrimination based on sexual orientation
                or transgender status. Such a rule would create a curious
                discontinuity in our case law, to put it mildly. Employer
                hires based on sexual stereotypes? Simple test. Employer
                sets pension contributions based on sex? Simple test. Em-
                ployer fires men who do not behave in a sufficiently mascu-
                line way around the office? Simple test. But when that
                same employer discriminates against women who are at-
                tracted to women, or persons identified at birth as women
                who later identify as men, we suddenly roll out a new and
                more rigorous standard? Why are these reasons for taking
                sex into account different from all the rest? Title VII’s text
                can offer no answer.
                                              B
                   Ultimately, the employers are forced to abandon the stat-
                utory text and precedent altogether and appeal to assump-
                tions and policy. Most pointedly, they contend that few in
                1964 would have expected Title VII to apply to discrimina-
                tion against homosexual and transgender persons. And
                whatever the text and our precedent indicate, they say,
                shouldn’t this fact cause us to pause before recognizing lia-
                bility?
                   It might be tempting to reject this argument out of hand.
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                This Court has explained many times over many years that,
                when the meaning of the statute’s terms is plain, our job is
                at an end. The people are entitled to rely on the law as
                written, without fearing that courts might disregard its
                plain terms based on some extratextual consideration. See,
                e.g., Carcieri v. Salazar, 555 U. S. 379, 387 (2009); Connect-
                icut Nat. Bank v. Germain, 503 U. S. 249, 253–254 (1992);
                Rubin v. United States, 449 U. S. 424, 430 (1981). Of
                course, some Members of this Court have consulted legisla-
                tive history when interpreting ambiguous statutory lan-
                guage. Cf. post, at 40 (ALITO, J., dissenting). But that has
                no bearing here. “Legislative history, for those who take it
                into account, is meant to clear up ambiguity, not create it.”
                Milner v. Department of Navy, 562 U. S. 562, 574 (2011).
                And as we have seen, no ambiguity exists about how Title
                VII’s terms apply to the facts before us. To be sure, the
                statute’s application in these cases reaches “beyond the
                principal evil” legislators may have intended or expected to
                address. Oncale, 523 U. S., at 79. But “ ‘the fact that [a
                statute] has been applied in situations not expressly antic-
                ipated by Congress’ ” does not demonstrate ambiguity; in-
                stead, it simply “ ‘demonstrates [the] breadth’ ” of a legisla-
                tive command. Sedima, S. P. R. L. v. Imrex Co., 473 U. S.
                479, 499 (1985). And “it is ultimately the provisions of ”
                those legislative commands “rather than the principal con-
                cerns of our legislators by which we are governed.” Oncale,
                523 U. S., at 79; see also A. Scalia & B. Garner, Reading
                Law: The Interpretation of Legal Texts 101 (2012) (noting
                that unexpected applications of broad language reflect only
                Congress’s “presumed point [to] produce general coverage—
                not to leave room for courts to recognize ad hoc exceptions”).
                   Still, while legislative history can never defeat unambig-
                uous statutory text, historical sources can be useful for a
                different purpose: Because the law’s ordinary meaning at
                the time of enactment usually governs, we must be sensi-
                tive to the possibility a statutory term that means one thing
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                today or in one context might have meant something else at
                the time of its adoption or might mean something different
                in another context. And we must be attuned to the possi-
                bility that a statutory phrase ordinarily bears a different
                meaning than the terms do when viewed individually or lit-
                erally. To ferret out such shifts in linguistic usage or subtle
                distinctions between literal and ordinary meaning, this
                Court has sometimes consulted the understandings of the
                law’s drafters as some (not always conclusive) evidence.
                For example, in the context of the National Motor Vehicle
                Theft Act, this Court admitted that the term “vehicle” in
                1931 could literally mean “a conveyance working on land,
                water or air.” McBoyle v. United States, 283 U. S. 25, 26
                (1931). But given contextual clues and “everyday speech”
                at the time of the Act’s adoption in 1919, this Court con-
                cluded that “vehicles” in that statute included only things
                “moving on land,” not airplanes too. Ibid. Similarly, in New
                Prime, we held that, while the term “contracts of employ-
                ment” today might seem to encompass only contracts with
                employees, at the time of the statute’s adoption the phrase
                was ordinarily understood to cover contracts with inde-
                pendent contractors as well. 586 U. S., at ___–___ (slip op.,
                at 6–9). Cf. post, at 7–8 (KAVANAUGH, J., dissenting)
                (providing additional examples).
                  The employers, however, advocate nothing like that here.
                They do not seek to use historical sources to illustrate that
                the meaning of any of Title VII’s language has changed
                since 1964 or that the statute’s terms, whether viewed in-
                dividually or as a whole, ordinarily carried some message
                we have missed. To the contrary, as we have seen, the em-
                ployers agree with our understanding of all the statutory
                language—“discriminate against any individual . . . be-
                cause of such individual’s . . . sex.” Nor do the competing
                dissents offer an alternative account about what these
                terms mean either when viewed individually or in the ag-
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                gregate. Rather than suggesting that the statutory lan-
                guage bears some other meaning, the employers and dis-
                sents merely suggest that, because few in 1964 expected to-
                day’s result, we should not dare to admit that it follows
                ineluctably from the statutory text. When a new applica-
                tion emerges that is both unexpected and important, they
                would seemingly have us merely point out the question, re-
                fer the subject back to Congress, and decline to enforce the
                plain terms of the law in the meantime.
                   That is exactly the sort of reasoning this Court has long
                rejected. Admittedly, the employers take pains to couch
                their argument in terms of seeking to honor the statute’s
                “expected applications” rather than vindicate its “legisla-
                tive intent.” But the concepts are closely related. One could
                easily contend that legislators only intended expected ap-
                plications or that a statute’s purpose is limited to achieving
                applications foreseen at the time of enactment. However
                framed, the employer’s logic impermissibly seeks to dis-
                place the plain meaning of the law in favor of something
                lying beyond it.
                   If anything, the employers’ new framing may only add
                new problems. The employers assert that “no one” in 1964
                or for some time after would have anticipated today’s result.
                But is that really true? Not long after the law’s passage,
                gay and transgender employees began filing Title VII com-
                plaints, so at least some people foresaw this potential appli-
                cation. See, e.g., Smith v. Liberty Mut. Ins. Co., 395 F.
                Supp. 1098, 1099 (ND Ga. 1975) (addressing claim from
                1969); Holloway v. Arthur Andersen & Co., 566 F. 2d 659,
                661 (CA9 1977) (addressing claim from 1974). And less
                than a decade after Title VII’s passage, during debates over
                the Equal Rights Amendment, others counseled that its
                language—which was strikingly similar to Title VII’s—
                might also protect homosexuals from discrimination. See,
                e.g., Note, The Legality of Homosexual Marriage, 82 Yale L.
                J. 573, 583–584 (1973).
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                   Why isn’t that enough to demonstrate that today’s result
                isn’t totally unexpected? How many people have to foresee
                the application for it to qualify as “expected”? Do we look
                only at the moment the statute was enacted, or do we allow
                some time for the implications of a new statute to be worked
                out? Should we consider the expectations of those who had
                no reason to give a particular application any thought or
                only those with reason to think about the question? How
                do we account for those who change their minds over time,
                after learning new facts or hearing a new argument? How
                specifically or generally should we frame the “application”
                at issue? None of these questions have obvious answers,
                and the employers don’t propose any.
                   One could also reasonably fear that objections about un-
                expected applications will not be deployed neutrally. Often
                lurking just behind such objections resides a cynicism that
                Congress could not possibly have meant to protect a disfa-
                vored group. Take this Court’s encounter with the Ameri-
                cans with Disabilities Act’s directive that no “ ‘public en-
                tity’ ” can discriminate against any “ ‘qualified individual
                with a disability.’ ” Pennsylvania Dept. of Corrections v.
                Yeskey, 524 U. S. 206, 208 (1998). Congress, of course,
                didn’t list every public entity the statute would apply to.
                And no one batted an eye at its application to, say, post of-
                fices. But when the statute was applied to prisons, curi-
                ously, some demanded a closer look: Pennsylvania argued
                that “Congress did not ‘envisio[n] that the ADA would be
                applied to state prisoners.’ ” Id., at 211–212. This Court
                emphatically rejected that view, explaining that, “in the
                context of an unambiguous statutory text,” whether a spe-
                cific application was anticipated by Congress “is irrele-
                vant.” Id., at 212. As Yeskey and today’s cases exemplify,
                applying protective laws to groups that were politically un-
                popular at the time of the law’s passage—whether prison-
                ers in the 1990s or homosexual and transgender employees
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                in the 1960s—often may be seen as unexpected. But to re-
                fuse enforcement just because of that, because the parties
                before us happened to be unpopular at the time of the law’s
                passage, would not only require us to abandon our role as
                interpreters of statutes; it would tilt the scales of justice in
                favor of the strong or popular and neglect the promise that
                all persons are entitled to the benefit of the law’s terms. Cf.
                post, at 28–35 (ALITO, J., dissenting); post, at 21–22
                (KAVANAUGH, J., dissenting).
                  The employer’s position also proves too much. If we ap-
                plied Title VII’s plain text only to applications some (yet-to-
                be-determined) group expected in 1964, we’d have more
                than a little law to overturn. Start with Oncale. How many
                people in 1964 could have expected that the law would turn
                out to protect male employees? Let alone to protect them
                from harassment by other male employees? As we acknowl-
                edged at the time, “male-on-male sexual harassment in the
                workplace was assuredly not the principal evil Congress
                was concerned with when it enacted Title VII.” 523 U. S.,
                at 79. Yet the Court did not hesitate to recognize that Title
                VII’s plain terms forbade it. Under the employer’s logic, it
                would seem this was a mistake.
                  That’s just the beginning of the law we would have to un-
                ravel. As one Equal Employment Opportunity Commission
                (EEOC) Commissioner observed shortly after the law’s pas-
                sage, the words of “ ‘the sex provision of Title VII [are] diffi-
                cult to . . . control.’ ” Franklin, Inventing the “Traditional
                Concept” of Sex Discrimination, 125 Harv. L. Rev. 1307,
                1338 (2012) (quoting Federal Mediation Service To Play
                Role in Implementing Title VII, [1965–1968 Transfer
                Binder] CCH Employment Practices ¶8046, p. 6074). The
                “difficult[y]” may owe something to the initial proponent of
                the sex discrimination rule in Title VII, Representative
                Howard Smith. On some accounts, the congressman may
                have wanted (or at least was indifferent to the possibility
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                of ) broad language with wide-ranging effect. Not neces-
                sarily because he was interested in rooting out sex discrim-
                ination in all its forms, but because he may have hoped to
                scuttle the whole Civil Rights Act and thought that adding
                language covering sex discrimination would serve as a poi-
                son pill. See C. Whalen & B. Whalen, The Longest Debate:
                A Legislative History of the 1964 Civil Rights Act 115–118
                (1985). Certainly nothing in the meager legislative history
                of this provision suggests it was meant to be read narrowly.
                   Whatever his reasons,      thanks to the broad language
                Representative Smith introduced, many, maybe most, ap-
                plications of Title VII’s sex provision were “unanticipated”
                at the time of the law’s adoption. In fact, many now-obvious
                applications met with heated opposition early on, even
                among those tasked with enforcing the law. In the years
                immediately following Title VII’s passage, the EEOC offi-
                cially opined that listing men’s positions and women’s posi-
                tions separately in job postings was simply helpful rather
                than discriminatory. Franklin, 125 Harv. L. Rev., at 1340
                (citing Press Release, EEOC (Sept. 22, 1965)). Some courts
                held that Title VII did not prevent an employer from firing
                an employee for refusing his sexual advances. See, e.g.,
                Barnes v. Train, 1974 WL 10628, *1 (D DC, Aug. 9, 1974).
                And courts held that a policy against hiring mothers but not
                fathers of young children wasn’t discrimination because of
                sex. See Phillips v. Martin Marietta Corp., 411 F. 2d 1 (CA5
                1969), rev’d, 400 U. S. 542 (1971) (per curiam).
                   Over time, though, the breadth of the statutory language
                proved too difficult to deny. By the end of the 1960s, the
                EEOC reversed its stance on sex-segregated job advertis-
                ing. See Franklin, 125 Harv. L. Rev., at 1345. In 1971, this
                Court held that treating women with children differently
                from men with children violated Title VII. Phillips, 400
                U. S., at 544. And by the late 1970s, courts began to recog-
                nize that sexual harassment can sometimes amount to sex
                discrimination. See, e.g., Barnes v. Costle, 561 F. 2d 983,
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                990 (CADC 1977). While to the modern eye each of these
                examples may seem “plainly [to] constitut[e] discrimination
                because of biological sex,” post, at 38 (ALITO, J., dissenting),
                all were hotly contested for years following Title VII’s en-
                actment. And as with the discrimination we consider today,
                many federal judges long accepted interpretations of Title
                VII that excluded these situations. Cf. post, at 21–22
                (KAVANAUGH, J., dissenting) (highlighting that certain
                lower courts have rejected Title VII claims based on homo-
                sexuality and transgender status). Would the employers
                have us undo every one of these unexpected applications
                too?
                   The weighty implications of the employers’ argument
                from expectations also reveal why they cannot hide behind
                the no-elephants-in-mouseholes canon. That canon recog-
                nizes that Congress “does not alter the fundamental details
                of a regulatory scheme in vague terms or ancillary provi-
                sions.” Whitman v. American Trucking Assns., Inc., 531
                U. S. 457, 468 (2001). But it has no relevance here. We
                can’t deny that today’s holding—that employers are prohib-
                ited from firing employees on the basis of homosexuality or
                transgender status—is an elephant. But where’s the
                mousehole? Title VII’s prohibition of sex discrimination in
                employment is a major piece of federal civil rights legisla-
                tion. It is written in starkly broad terms. It has repeatedly
                produced unexpected applications, at least in the view of
                those on the receiving end of them. Congress’s key drafting
                choices—to focus on discrimination against individuals and
                not merely between groups and to hold employers liable
                whenever sex is a but-for cause of the plaintiff ’s injuries—
                virtually guaranteed that unexpected applications would
                emerge over time. This elephant has never hidden in a
                mousehole; it has been standing before us all along.
                   With that, the employers are left to abandon their con-
                cern for expected applications and fall back to the last line
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                of defense for all failing statutory interpretation argu-
                ments: naked policy appeals. If we were to apply the stat-
                ute’s plain language, they complain, any number of unde-
                sirable policy consequences would follow. Cf. post, at 44–54
                (ALITO, J., dissenting). Gone here is any pretense of statu-
                tory interpretation; all that’s left is a suggestion we should
                proceed without the law’s guidance to do as we think best.
                But that’s an invitation no court should ever take up. The
                place to make new legislation, or address unwanted conse-
                quences of old legislation, lies in Congress. When it comes
                to statutory interpretation, our role is limited to applying
                the law’s demands as faithfully as we can in the cases that
                come before us. As judges we possess no special expertise
                or authority to declare for ourselves what a self-governing
                people should consider just or wise. And the same judicial
                humility that requires us to refrain from adding to statutes
                requires us to refrain from diminishing them.
                  What are these consequences anyway? The employers
                worry that our decision will sweep beyond Title VII to other
                federal or state laws that prohibit sex discrimination. And,
                under Title VII itself, they say sex-segregated bathrooms,
                locker rooms, and dress codes will prove unsustainable af-
                ter our decision today. But none of these other laws are
                before us; we have not had the benefit of adversarial testing
                about the meaning of their terms, and we do not prejudge
                any such question today. Under Title VII, too, we do not
                purport to address bathrooms, locker rooms, or anything
                else of the kind. The only question before us is whether an
                employer who fires someone simply for being homosexual
                or transgender has discharged or otherwise discriminated
                against that individual “because of such individual’s sex.”
                As used in Title VII, the term “ ‘discriminate against’ ” refers
                to “distinctions or differences in treatment that injure pro-
                tected individuals.” Burlington N. & S. F. R., 548 U. S., at
                59. Firing employees because of a statutorily protected
                trait surely counts. Whether other policies and practices
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                might or might not qualify as unlawful discrimination or
                find justifications under other provisions of Title VII are
                questions for future cases, not these.
                   Separately, the employers fear that complying with Title
                VII’s requirement in cases like ours may require some em-
                ployers to violate their religious convictions. We are also
                deeply concerned with preserving the promise of the free
                exercise of religion enshrined in our Constitution; that
                guarantee lies at the heart of our pluralistic society. But
                worries about how Title VII may intersect with religious lib-
                erties are nothing new; they even predate the statute’s pas-
                sage. As a result of its deliberations in adopting the law,
                Congress included an express statutory exception for reli-
                gious organizations. §2000e–1(a). This Court has also rec-
                ognized that the First Amendment can bar the application
                of employment discrimination laws “to claims concerning
                the employment relationship between a religious institu-
                tion and its ministers.” Hosanna-Tabor Evangelical Lu-
                theran Church and School v. EEOC, 565 U. S. 171, 188
                (2012). And Congress has gone a step further yet in the
                Religious Freedom Restoration Act of 1993 (RFRA), 107
                Stat. 1488, codified at 42 U. S. C. §2000bb et seq. That stat-
                ute prohibits the federal government from substantially
                burdening a person’s exercise of religion unless it demon-
                strates that doing so both furthers a compelling governmen-
                tal interest and represents the least restrictive means of
                furthering that interest. §2000bb–1. Because RFRA oper-
                ates as a kind of super statute, displacing the normal oper-
                ation of other federal laws, it might supersede Title VII’s
                commands in appropriate cases. See §2000bb–3.
                   But how these doctrines protecting religious liberty inter-
                act with Title VII are questions for future cases too. Harris
                Funeral Homes did unsuccessfully pursue a RFRA-based
                defense in the proceedings below. In its certiorari petition,
                however, the company declined to seek review of that ad-
                verse decision, and no other religious liberty claim is now
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                before us. So while other employers in other cases may
                raise free exercise arguments that merit careful considera-
                tion, none of the employers before us today represent in this
                Court that compliance with Title VII will infringe their own
                religious liberties in any way.
                                              *
                   Some of those who supported adding language to Title VII
                to ban sex discrimination may have hoped it would derail
                the entire Civil Rights Act. Yet, contrary to those inten-
                tions, the bill became law. Since then, Title VII’s effects
                have unfolded with far-reaching consequences, some likely
                beyond what many in Congress or elsewhere expected.
                   But none of this helps decide today’s cases. Ours is a so-
                ciety of written laws. Judges are not free to overlook plain
                statutory commands on the strength of nothing more than
                suppositions about intentions or guesswork about expecta-
                tions. In Title VII, Congress adopted broad language mak-
                ing it illegal for an employer to rely on an employee’s sex
                when deciding to fire that employee. We do not hesitate to
                recognize today a necessary consequence of that legislative
                choice: An employer who fires an individual merely for be-
                ing gay or transgender defies the law.
                   The judgments of the Second and Sixth Circuits in Nos.
                17–1623 and 18–107 are affirmed. The judgment of the
                Eleventh Circuit in No. 17–1618 is reversed, and the case
                is remanded for further proceedings consistent with this
                opinion.
                                                             It is so ordered.
Case 2:14-cv-13710-SFC-DRG
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                                      Opinion
                                      ALITO, J.,ofdissenting
                                                   the Court

                 SUPREME COURT OF THE UNITED STATES
                                          _________________

                               Nos. 17–1618, 17–1623 and 18–107
                                          _________________


                      GERALD LYNN BOSTOCK, PETITIONER
                17–1618             v.
                         CLAYTON COUNTY, GEORGIA
                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                          APPEALS FOR THE ELEVENTH CIRCUIT



                   ALTITUDE EXPRESS, INC., ET AL., PETITIONERS
                17–1623                 v.
                 MELISSA ZARDA AND WILLIAM ALLEN MOORE, JR.,
                    CO-INDEPENDENT EXECUTORS OF THE ESTATE OF
                                 DONALD ZARDA
                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                           APPEALS FOR THE SECOND CIRCUIT



                    R.G. & G.R. HARRIS FUNERAL HOMES, INC.,
                                   PETITIONER
                18–107                  v.
                EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,
                                      ET AL.

                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                            APPEALS FOR THE SIXTH CIRCUIT
                                         [June 15, 2020]

                  JUSTICE ALITO, with whom JUSTICE THOMAS joins,
                dissenting.
                  There is only one word for what the Court has done today:
                legislation. The document that the Court releases is in the
                form of a judicial opinion interpreting a statute, but that is
                deceptive.
Case 2:14-cv-13710-SFC-DRG
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                                           ALITO, J., dissenting

                   Title VII of the Civil Rights Act of 1964 prohibits employ-
                ment discrimination on any of five specified grounds: “race,
                color, religion, sex, [and] national origin.” 42 U. S. C.
                §2000e–2(a)(1). Neither “sexual orientation” nor “gender
                identity” appears on that list. For the past 45 years, bills
                have been introduced in Congress to add “sexual orienta-
                tion” to the list,1 and in recent years, bills have included
                “gender identity” as well.2 But to date, none has passed
                both Houses.
                   Last year, the House of Representatives passed a bill that
                would amend Title VII by defining sex discrimination to in-
                clude both “sexual orientation” and “gender identity,” H. R.
                5, 116th Cong., 1st Sess. (2019), but the bill has stalled in
                the Senate. An alternative bill, H. R. 5331, 116th Cong.,
                1st Sess. (2019), would add similar prohibitions but con-
                tains provisions to protect religious liberty.3 This bill re-
                mains before a House Subcommittee.
                   Because no such amendment of Title VII has been en-
                acted in accordance with the requirements in the Constitu-
                tion (passage in both Houses and presentment to the Pres-
                ident, Art. I, §7, cl. 2), Title VII’s prohibition of

                ——————
                  1 E.g., H. R. 166, 94th Cong., 1st Sess., §6 (1975); H. R. 451, 95th Cong.,

                1st Sess., §6 (1977); S. 2081, 96th Cong., 1st Sess. (1979); S. 1708, 97th
                Cong., 1st Sess. (1981); S. 430, 98th Cong., 1st Sess. (1983); S. 1432, 99th
                Cong., 1st Sess., §5 (1985); S. 464, 100th Cong., 1st Sess., §5 (1987); H. R.
                655, 101st Cong., 1st Sess., §2 (1989); S. 574, 102d Cong., 1st Sess., §5
                (1991); H. R. 423, 103d Cong., 1st Sess., §2 (1993); S. 932, 104th Cong.,
                1st Sess. (1995); H. R. 365, 105th Cong., 1st Sess., §2 (1997); H. R. 311,
                106th Cong., 1st Sess., §2 (1999); H. R. 217, 107th Cong., 1st Sess., §2
                (2001); S. 16, 108th Cong., 1st Sess., §§701–704 (2003); H. R. 288, 109th
                Cong., 1st Sess., §2 (2005).
                  2 See, e.g., H. R. 2015, 110th Cong., 1st Sess. (2007); H. R. 3017, 111th

                Cong., 1st Sess. (2009); H. R. 1397, 112th Cong., 1st Sess. (2011); H. R.
                1755, 113th Cong., 1st Sess. (2013); H. R. 3185, 114th Cong., 1st Sess.,
                §7 (2015); H. R. 2282, 115th Cong., 1st Sess., §7 (2017); H. R. 5, 116th
                Cong., 1st Sess. (2019).
                  3 H. R. 5331, 116th Cong., 1st Sess., §§4(b), (c) (2019).
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                                          ALITO, J., dissenting

                discrimination because of “sex” still means what it has al-
                ways meant. But the Court is not deterred by these consti-
                tutional niceties. Usurping the constitutional authority of
                the other branches, the Court has essentially taken H. R.
                5’s provision on employment discrimination and issued it
                under the guise of statutory interpretation.4 A more brazen
                abuse of our authority to interpret statutes is hard to recall.
                   The Court tries to convince readers that it is merely en-
                forcing the terms of the statute, but that is preposterous.
                Even as understood today, the concept of discrimination be-
                cause of “sex” is different from discrimination because of
                “sexual orientation” or “gender identity.” And in any event,
                our duty is to interpret statutory terms to “mean what they
                conveyed to reasonable people at the time they were writ-
                ten.” A. Scalia & B. Garner, Reading Law: The Interpreta-
                tion of Legal Texts 16 (2012) (emphasis added). If every
                single living American had been surveyed in 1964, it would
                have been hard to find any who thought that discrimination
                because of sex meant discrimination because of sexual ori-
                entation––not to mention gender identity, a concept that
                was essentially unknown at the time.
                   The Court attempts to pass off its decision as the inevita-
                ble product of the textualist school of statutory interpreta-
                tion championed by our late colleague Justice Scalia, but no
                one should be fooled. The Court’s opinion is like a pirate
                ship. It sails under a textualist flag, but what it actually
                represents is a theory of statutory interpretation that Jus-
                tice Scalia excoriated––the theory that courts should “up-
                date” old statutes so that they better reflect the current val-
                ues of society. See A. Scalia, A Matter of Interpretation 22



                ——————
                  4 Section 7(b) of H. R. 5 strikes the term “sex” in 42 U. S. C. §2000e–2

                and inserts: “SEX (INCLUDING SEXUAL ORIENTATION AND
                GENDER IDENTITY).”
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                                          ALITO, J., dissenting

                (1997). If the Court finds it appropriate to adopt this the-
                ory, it should own up to what it is doing.5
                  Many will applaud today’s decision because they agree on
                policy grounds with the Court’s updating of Title VII. But
                the question in these cases is not whether discrimination
                because of sexual orientation or gender identity should be
                outlawed. The question is whether Congress did that in
                1964.
                  It indisputably did not.
                                                  I
                                                 A
                     Title VII, as noted, prohibits discrimination “because of
                 . . . sex,” §2000e–2(a)(1), and in 1964, it was as clear as clear
                 could be that this meant discrimination because of the ge-
                 netic and anatomical characteristics that men and women
                 have at the time of birth. Determined searching has not
                 found a single dictionary from that time that defined “sex”
                 to mean sexual orientation, gender identity, or
                 “transgender status.”6 Ante, at 2. (Appendix A, infra, to

                ——————
                  5 That is what Judge Posner did in the Seventh Circuit case holding

                that Title VII prohibits discrimination because of sexual orientation. See
                Hively v. Ivy Tech Community College of Ind., 853 F. 3d 339 (2017) (en
                banc). Judge Posner agreed with that result but wrote:
                  “I would prefer to see us acknowledge openly that today we, who are
                judges rather than members of Congress, are imposing on a half-century-
                old statute a meaning of ‘sex discrimination’ that the Congress that en-
                acted it would not have accepted.” Id., at 357 (concurring opinion) (em-
                phasis added).
                  6 The Court does not define what it means by “transgender status,” but

                the American Psychological Association describes “transgender” as “[a]n
                umbrella term encompassing those whose gender identities or gender
                roles differ from those typically associated with the sex they were as-
                signed at birth.” A Glossary: Defining Transgender Terms, 49 Monitor
                on Psychology 32 (Sept. 2018), https://www.apa.org/monitor/2018/09/ce-
                corner-glossary. It defines “gender identity” as “[a]n internal sense of
                being male, female or something else, which may or may not correspond
Case 2:14-cv-13710-SFC-DRG
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                                          ALITO, J., dissenting

                this opinion includes the full definitions of “sex” in the un-
                abridged dictionaries in use in the 1960s.)
                   In all those dictionaries, the primary definition of “sex”
                was essentially the same as that in the then-most recent
                edition of Webster’s New International Dictionary 2296
                (def. 1) (2d ed. 1953): “[o]ne of the two divisions of organisms
                formed on the distinction of male and female.” See also
                American Heritage Dictionary 1187 (def. 1(a)) (1969) (“The
                property or quality by which organisms are classified ac-
                cording to their reproductive functions”); Random House
                Dictionary of the English Language 1307 (def. 1) (1966)
                (Random House Dictionary) (“the fact or character of being
                either male or female”); 9 Oxford English Dictionary 577
                (def. 1) (1933) (“Either of the two divisions of organic beings
                distinguished as male and female respectively”).
                   The Court does not dispute that this is what “sex” means
                in Title VII, although it coyly suggests that there is at least
                some support for a different and potentially relevant defi-
                nition. Ante, at 5. (I address alternative definitions below.
                See Part I–B–3, infra.) But the Court declines to stand on
                that ground and instead “proceed[s] on the assumption that
                ‘sex’ . . . refer[s] only to biological distinctions between male
                and female.” Ante, at 5.
                   If that is so, it should be perfectly clear that Title VII does
                not reach discrimination because of sexual orientation or
                gender identity. If “sex” in Title VII means biologically
                male or female, then discrimination because of sex means
                discrimination because the person in question is biologi-
                cally male or biologically female, not because that person is
                sexually attracted to members of the same sex or identifies
                as a member of a particular gender.
                   How then does the Court claim to avoid that conclusion?
                ——————
                to an individual’s sex assigned at birth or sex characteristics.” Ibid. Un-
                der these definitions, there is no apparent difference between discrimi-
                nation because of transgender status and discrimination because of gen-
                der identity.
Case 2:14-cv-13710-SFC-DRG
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                                      ALITO, J., dissenting

                The Court tries to cloud the issue by spending many pages
                discussing matters that are beside the point. The Court ob-
                serves that a Title VII plaintiff need not show that “sex”
                was the sole or primary motive for a challenged employ-
                ment decision or its sole or primary cause; that Title VII is
                limited to discrimination with respect to a list of specified
                actions (such as hiring, firing, etc.); and that Title VII
                protects individual rights, not group rights. See ante, at 5–
                9, 11.
                   All that is true, but so what? In cases like those before
                us, a plaintiff must show that sex was a “motivating factor”
                in the challenged employment action, 42 U. S. C. §2000e–
                2(m), so the question we must decide comes down to this: if
                an individual employee or applicant for employment shows
                that his or her sexual orientation or gender identity was a
                “motivating factor” in a hiring or discharge decision, for ex-
                ample, is that enough to establish that the employer dis-
                criminated “because of . . . sex”? Or, to put the same ques-
                tion in different terms, if an employer takes an employment
                action solely because of the sexual orientation or gender
                identity of an employee or applicant, has that employer nec-
                essarily discriminated because of biological sex?
                   The answers to those questions must be no, unless dis-
                crimination because of sexual orientation or gender identity
                inherently constitutes discrimination because of sex. The
                Court attempts to prove that point, and it argues, not
                merely that the terms of Title VII can be interpreted that
                way but that they cannot reasonably be interpreted any
                other way. According to the Court, the text is unambiguous.
                See ante, at 24, 27, 30.
                   The arrogance of this argument is breathtaking. As I will
                show, there is not a shred of evidence that any Member of
                Congress interpreted the statutory text that way when Ti-
                tle VII was enacted. See Part III–B, infra. But the Court
                apparently thinks that this was because the Members were
                not “smart enough to realize” what its language means.
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                                           ALITO, J., dissenting

                Hively v. Ivy Tech Community College of Ind., 853 F. 3d 339,
                357 (CA7 2017) (Posner, J., concurring). The Court seem-
                ingly has the same opinion about our colleagues on the
                Courts of Appeals, because until 2017, every single Court of
                Appeals to consider the question interpreted Title VII’s pro-
                hibition against sex discrimination to mean discrimination
                on the basis of biological sex. See Part III–C, infra. And for
                good measure, the Court’s conclusion that Title VII unam-
                biguously reaches discrimination on the basis of sexual ori-
                entation and gender identity necessarily means that the
                EEOC failed to see the obvious for the first 48 years after
                Title VII became law.7 Day in and day out, the Commission
                enforced Title VII but did not grasp what discrimination
                “because of . . . sex” unambiguously means. See Part III–C,
                infra.
                  The Court’s argument is not only arrogant, it is wrong. It
                fails on its own terms. “Sex,” “sexual orientation,” and “gen-
                der identity” are different concepts, as the Court concedes.
                Ante, at 19 (“homosexuality and transgender status are dis-
                tinct concepts from sex”). And neither “sexual orientation”
                nor “gender identity” is tied to either of the two biological
                sexes. See ante, at 10 (recognizing that “discrimination on
                these bases” does not have “some disparate impact on one
                sex or another”). Both men and women may be attracted to
                members of the opposite sex, members of the same sex, or
                members of both sexes.8 And individuals who are born with
                ——————
                  7 The EEOC first held that “discrimination against a transgender indi-

                vidual because that person is transgender” violates Title VII in 2012 in
                Macy v. Holder, 2012 WL 1435995, *11 (Apr. 20, 2012), though it earlier
                advanced that position in an amicus brief in Federal District Court in
                2011, ibid., n. 16. It did not hold that discrimination on the basis of sex-
                ual orientation violated Title VII until 2015. See Baldwin v. Foxx, 2015
                WL 4397641 (July 15, 2015).
                  8 “Sexual orientation refers to a person’s erotic response tendency or

                sexual attractions, be they directed toward individuals of the same sex
                (homosexual), the other sex (heterosexual), or both sexes (bisexual).” 1 B.
Case 2:14-cv-13710-SFC-DRG
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                                          ALITO, J., dissenting

                the genes and organs of either biological sex may identify
                with a different gender.9
                   Using slightly different terms, the Court asserts again
                and again that discrimination because of sexual orientation
                or gender identity inherently or necessarily entails discrim-
                ination because of sex. See ante, at 2 (When an employer
                “fires an individual for being homosexual or transgender,”
                “[s]ex plays a necessary and undisguisable role in the deci-
                sion”); ante, at 9 (“[I]t is impossible to discriminate against
                a person for being homosexual or transgender without dis-
                criminating against that individual based on sex”); ante, at
                11 (“[W]hen an employer discriminates against homosexual
                or transgender employees, [the] employer . . . inescapably
                intends to rely on sex in its decisionmaking”); ante, at 12
                (“For an employer to discriminate against employees for be-
                ing homosexual or transgender, the employer must inten-
                tionally discriminate against individual men and women in
                part because of sex”); ante, at 14 (“When an employer fires
                an employee for being homosexual or transgender, it neces-
                sarily and intentionally discriminates against that individ-
                ual in part because of sex”); ante, at 19 (“[D]iscrimination
                based on homosexuality or transgender status necessarily
                entails discrimination based on sex”). But repetition of an
                assertion does not make it so, and the Court’s repeated as-
                sertion is demonstrably untrue.
                   Contrary to the Court’s contention, discrimination be-
                cause of sexual orientation or gender identity does not in
                ——————
                Sadock, V. Sadock, & P. Ruiz, Comprehensive Textbook of Psychiatry
                2061 (9th ed. 2009); see also American Heritage Dictionary 1607 (5th ed.
                2011) (defining “sexual orientation” as “[t]he direction of a person’s sex-
                ual interest, as toward people of the opposite sex, the same sex, or both
                sexes”); Webster’s New College Dictionary 1036 (3d ed. 2008) (defining
                “sexual orientation” as “[t]he direction of one’s sexual interest toward
                members of the same, opposite, or both sexes”).
                  9 See n. 6, supra; see also Sadock, supra, at 2063 (“transgender” refers

                to “any individual who identifies with and adopts the gender role of a
                member of the other biological sex”).
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                and of itself entail discrimination because of sex. We can
                see this because it is quite possible for an employer to dis-
                criminate on those grounds without taking the sex of an in-
                dividual applicant or employee into account. An employer
                can have a policy that says: “We do not hire gays, lesbians,
                or transgender individuals.” And an employer can imple-
                ment this policy without paying any attention to or even
                knowing the biological sex of gay, lesbian, and transgender
                applicants. In fact, at the time of the enactment of Title
                VII, the United States military had a blanket policy of re-
                fusing to enlist gays or lesbians, and under this policy for
                years thereafter, applicants for enlistment were required to
                complete a form that asked whether they were “homosex-
                ual.” Appendix D, infra, at 88, 101.
                   At oral argument, the attorney representing the employ-
                ees, a prominent professor of constitutional law, was asked
                if there would be discrimination because of sex if an em-
                ployer with a blanket policy against hiring gays, lesbians,
                and transgender individuals implemented that policy with-
                out knowing the biological sex of any job applicants. Her
                candid answer was that this would “not” be sex discrimina-
                tion.10 And she was right.
                   The attorney’s concession was necessary, but it is fatal to
                the Court’s interpretation, for if an employer discriminates
                against individual applicants or employees without even
                knowing whether they are male or female, it is impossible
                to argue that the employer intentionally discriminated be-
                cause of sex. Contra, ante, at 19. An employer cannot in-
                tentionally discriminate on the basis of a characteristic of
                which the employer has no knowledge. And if an employer
                does not violate Title VII by discriminating on the basis of
                ——————
                  10 See Tr. of Oral Arg. in Nos. 17–1618, 17–1623, pp. 69–70 (“If there

                was that case, it might be the rare case in which sexual orientation dis-
                crimination is not a subset of sex”); see also id., at 69 (“Somebody who
                comes in and says I’m not going to tell you what my sex is, but, believe
                me, I was fired for my sexual orientation, that person will lose”).
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                                      ALITO, J., dissenting

                sexual orientation or gender identity without knowing the
                sex of the affected individuals, there is no reason why the
                same employer could not lawfully implement the same pol-
                icy even if it knows the sex of these individuals. If an em-
                ployer takes an adverse employment action for a perfectly
                legitimate reason—for example, because an employee stole
                company property—that action is not converted into sex
                discrimination simply because the employer knows the em-
                ployee’s sex. As explained, a disparate treatment case re-
                quires proof of intent—i.e., that the employee’s sex moti-
                vated the firing. In short, what this example shows is that
                discrimination because of sexual orientation or gender iden-
                tity does not inherently or necessarily entail discrimination
                because of sex, and for that reason, the Court’s chief argu-
                ment collapses.
                   Trying to escape the consequences of the attorney’s con-
                cession, the Court offers its own hypothetical:
                     “Suppose an employer’s application form offered a sin-
                     gle box to check if the applicant is either black or Cath-
                     olic. If the employer refuses to hire anyone who checks
                     that box, would we conclude the employer has complied
                     with Title VII, so long as it studiously avoids learning
                     any particular applicant’s race or religion? Of course
                     not.” Ante, at 18.
                   How this hypothetical proves the Court’s point is a mys-
                 tery. A person who checked that box would presumably be
                 black, Catholic, or both, and refusing to hire an applicant
                 because of race or religion is prohibited by Title VII. Re-
                 jecting applicants who checked a box indicating that they
                 are homosexual is entirely different because it is impossible
                 to tell from that answer whether an applicant is male or
                 female.
                   The Court follows this strange hypothetical with an even
                 stranger argument. The Court argues that an applicant
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                could not answer the question whether he or she is homo-
                sexual without knowing something about sex. If the appli-
                cant was unfamiliar with the term “homosexual,” the appli-
                cant would have to look it up or ask what the term means.
                And because this applicant would have to take into account
                his or her sex and that of the persons to whom he or she is
                sexually attracted to answer the question, it follows, the
                Court reasons, that an employer could not reject this appli-
                cant without taking the applicant’s sex into account. See
                ante, at 18–19.
                   This is illogical. Just because an applicant cannot say
                whether he or she is homosexual without knowing his or
                her own sex and that of the persons to whom the applicant
                is attracted, it does not follow that an employer cannot re-
                ject an applicant based on homosexuality without knowing
                the applicant’s sex.
                   While the Court’s imagined application form proves noth-
                ing, another hypothetical case offered by the Court is tell-
                ing. But what it proves is not what the Court thinks. The
                Court posits:
                    “Imagine an employer who has a policy of firing any
                    employee known to be homosexual. The employer
                    hosts an office holiday party and invites employees to
                    bring their spouses. A model employee arrives and in-
                    troduces a manager to Susan, the employee’s wife. Will
                    that employee be fired? If the policy works as the em-
                    ployer intends, the answer depends entirely on
                    whether the model employee is a man or a woman.”
                    Ante, at 11.
                   This example disproves the Court’s argument because it
                is perfectly clear that the employer’s motivation in firing
                the female employee had nothing to do with that employee’s
                sex. The employer presumably knew that this employee
                was a woman before she was invited to the fateful party.
                Yet the employer, far from holding her biological sex
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                                           ALITO, J., dissenting

                against her, rated her a “model employee.” At the party,
                the employer learned something new, her sexual orienta-
                tion, and it was this new information that motivated her
                discharge. So this is another example showing that dis-
                crimination because of sexual orientation does not inher-
                ently involve discrimination because of sex.
                   In addition to the failed argument just discussed, the
                Court makes two other arguments, more or less in passing.
                The first of these is essentially that sexual orientation and
                gender identity are closely related to sex. The Court argues
                that sexual orientation and gender identity are “inextrica-
                bly bound up with sex,” ante, at 10, and that discrimination
                on the basis of sexual orientation or gender identity in-
                volves the application of “sex-based rules,” ante, at 17. This
                is a variant of an argument found in many of the briefs filed
                in support of the employees and in the lower court decisions
                that agreed with the Court’s interpretation. All these vari-
                ants stress that sex, sexual orientation, and gender identity
                are related concepts. The Seventh Circuit observed that
                “[i]t would require considerable calisthenics to remove ‘sex’
                from ‘sexual orientation.’ ” Hively, 853 F. 3d, at 350.11 The
                Second Circuit wrote that sex is necessarily “a factor in sex-
                ual orientation” and further concluded that “sexual orien-
                tation is a function of sex.” 883 F. 3d 100, 112–113 (CA2
                2018) (en banc). Bostock’s brief and those of amici support-
                ing his position contend that sexual orientation is “a sex-
                based consideration.”12 Other briefs state that sexual ori-
                entation is “a function of sex”13 or is “intrinsically related to


                ——————
                   11 See also Brief for William N. Eskridge Jr. et al. as Amici Curiae 2

                (“[T]here is no reasonable way to disentangle sex from same-sex attrac-
                tion or transgender status”).
                   12 Brief for Petitioner in No. 17–1618, at 14; see also Brief for Southern

                Poverty Law Center et al. as Amici Curiae 7–8.
                   13 Brief for Scholars Who Study the LGB Population as Amici Curiae

                in Nos. 17–1618, 17–1623, p. 10.
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                sex.”14 Similarly, Stephens argues that sex and gender
                identity are necessarily intertwined: “By definition, a
                transgender person is someone who lives and identifies
                with a sex different than the sex assigned to the person at
                birth.”15
                   It is curious to see this argument in an opinion that pur-
                ports to apply the purest and highest form of textualism be-
                cause the argument effectively amends the statutory text.
                Title VII prohibits discrimination because of sex itself, not
                everything that is related to, based on, or defined with ref-
                erence to, “sex.” Many things are related to sex. Think of
                all the nouns other than “orientation” that are commonly
                modified by the adjective “sexual.” Some examples yielded
                by a quick computer search are “sexual harassment,” “sex-
                ual assault, “sexual violence,” “sexual intercourse,” and
                “sexual content.”
                   Does the Court really think that Title VII prohibits dis-
                crimination on all these grounds? Is it unlawful for an em-
                ployer to refuse to hire an employee with a record of sexual
                harassment in prior jobs? Or a record of sexual assault or
                violence?
                   To be fair, the Court does not claim that Title VII prohib-
                its discrimination because of everything that is related to
                sex. The Court draws a distinction between things that are
                “inextricably” related and those that are related in “some
                vague sense.” Ante, at 10. Apparently the Court would
                graft onto Title VII some arbitrary line separating the
                things that are related closely enough and those that are
                not.16 And it would do this in the name of high textualism.
                ——————
                  14 Brief for American Psychological Association et al. as Amici Curiae

                11.
                  15 Reply Brief for Respondent Aimee Stephens in No. 18–107, p. 5.
                  16 Notably, Title VII itself already suggests a line, which the Court ig-

                nores. The statute specifies that the terms “because of sex” and “on the
                basis of sex” cover certain conditions that are biologically tied to sex,
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                   An additional argument made in passing also fights the
                text of Title VII and the policy it reflects. The Court pro-
                claims that “[a]n individual’s homosexuality or transgender
                status is not relevant to employment decisions.” Ante, at 9.
                That is the policy view of many people in 2020, and perhaps
                Congress would have amended Title VII to implement it if
                this Court had not intervened. But that is not the policy
                embodied in Title VII in its current form. Title VII prohib-
                its discrimination based on five specified grounds, and nei-
                ther sexual orientation nor gender identity is on the list. As
                long as an employer does not discriminate based on one of
                the listed grounds, the employer is free to decide for itself
                which characteristics are “relevant to [its] employment de-
                cisions.” Ibid. By proclaiming that sexual orientation and
                gender identity are “not relevant to employment decisions,”
                the Court updates Title VII to reflect what it regards as
                2020 values.
                   The Court’s remaining argument is based on a hypothet-
                ical that the Court finds instructive. In this hypothetical,
                an employer has two employees who are “attracted to men,”
                and “to the employer’s mind” the two employees are “mate-
                rially identical” except that one is a man and the other is a
                woman. Ante, at 9 (emphasis added). The Court reasons
                that if the employer fires the man but not the woman, the
                employer is necessarily motivated by the man’s biological
                sex. Ante, at 9–10. After all, if two employees are identical
                in every respect but sex, and the employer fires only one,
                what other reason could there be?
                   The problem with this argument is that the Court loads
                the dice. That is so because in the mind of an employer who
                does not want to employ individuals who are attracted to
                ——————
                namely, “pregnancy, childbirth, [and] related medical conditions.” 42
                U. S. C. §2000e(k). This definition should inform the meaning of “be-
                cause of sex” in Title VII more generally. Unlike pregnancy, neither sex-
                ual orientation nor gender identity is biologically linked to women or
                men.
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                members of the same sex, these two employees are not ma-
                terially identical in every respect but sex. On the contrary,
                they differ in another way that the employer thinks is quite
                material. And until Title VII is amended to add sexual ori-
                entation as a prohibited ground, this is a view that an em-
                ployer is permitted to implement. As noted, other than pro-
                hibiting discrimination on any of five specified grounds,
                “race, color, religion, sex, [and] national origin.” 42 U. S. C.
                §2000e–2(a)(1), Title VII allows employers to decide
                whether two employees are “materially identical.” Even id-
                iosyncratic criteria are permitted; if an employer thinks
                that Scorpios make bad employees, the employer can refuse
                to hire Scorpios. Such a policy would be unfair and foolish,
                but under Title VII, it is permitted. And until Title VII is
                amended, so is a policy against employing gays, lesbians, or
                transgender individuals.
                   Once this is recognized, what we have in the Court’s hy-
                pothetical case are two employees who differ in two ways––
                sex and sexual orientation––and if the employer fires one
                and keeps the other, all that can be inferred is that the em-
                ployer was motivated either entirely by sexual orientation,
                entirely by sex, or in part by both. We cannot infer with
                any certainty, as the hypothetical is apparently meant to
                suggest, that the employer was motivated even in part by
                sex. The Court harps on the fact that under Title VII a pro-
                hibited ground need not be the sole motivation for an ad-
                verse employment action, see ante, at 10–11, 14–15, 21, but
                its example does not show that sex necessarily played any
                part in the employer’s thinking.
                   The Court tries to avoid this inescapable conclusion by
                arguing that sex is really the only difference between the
                two employees. This is so, the Court maintains, because
                both employees “are attracted to men.” Ante, at 9–10. Of
                course, the employer would couch its objection to the man
                differently. It would say that its objection was his sexual
                orientation. So this may appear to leave us with a battle of
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                labels. If the employer’s objection to the male employee is
                characterized as attraction to men, it seems that he is just
                like the woman in all respects except sex and that the em-
                ployer’s disparate treatment must be based on that one dif-
                ference. On the other hand, if the employer’s objection is
                sexual orientation or homosexuality, the two employees dif-
                fer in two respects, and it cannot be inferred that the dis-
                parate treatment was due even in part to sex.
                   The Court insists that its label is the right one, and that
                presumably is why it makes such a point of arguing that an
                employer cannot escape liability under Title VII by giving
                sex discrimination some other name. See ante, at 14, 17.
                That is certainly true, but so is the opposite. Something
                that is not sex discrimination cannot be converted into sex
                discrimination by slapping on that label. So the Court can-
                not prove its point simply by labeling the employer’s objec-
                tion as “attract[ion] to men.” Ante, at 9–10. Rather, the
                Court needs to show that its label is the correct one.
                   And a labeling standoff would not help the Court because
                that would mean that the bare text of Title VII does not
                unambiguously show that its interpretation is right. The
                Court would have no justification for its stubborn refusal to
                look any further.
                   As it turns out, however, there is no standoff. It can eas-
                ily be shown that the employer’s real objection is not “at-
                tract[ion] to men” but homosexual orientation.
                   In an effort to prove its point, the Court carefully includes
                in its example just two employees, a homosexual man and
                a heterosexual woman, but suppose we add two more indi-
                viduals, a woman who is attracted to women and a man who
                is attracted to women. (A large employer will likely have
                applicants and employees who fall into all four categories,
                and a small employer can potentially have all four as well.)
                We now have the four exemplars listed below, with the dis-
                charged employees crossed out:
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                              Man attracted to men
                              Woman attracted to men
                              Woman attracted to women
                              Man attracted to women
                   The discharged employees have one thing in common. It
                is not biological sex, attraction to men, or attraction to
                women. It is attraction to members of their own sex—in a
                word, sexual orientation. And that, we can infer, is the em-
                ployer’s real motive.
                   In sum, the Court’s textual arguments fail on their own
                terms. The Court tries to prove that “it is impossible to dis-
                criminate against a person for being homosexual or
                transgender without discriminating against that individual
                based on sex,” ante, at 9, but as has been shown, it is en-
                tirely possible for an employer to do just that. “[H]omosex-
                uality and transgender status are distinct concepts from
                sex,” ante, at 19, and discrimination because of sexual ori-
                entation or transgender status does not inherently or nec-
                essarily constitute discrimination because of sex. The
                Court’s arguments are squarely contrary to the statutory
                text.
                   But even if the words of Title VII did not definitively re-
                fute the Court’s interpretation, that would not justify the
                Court’s refusal to consider alternative interpretations. The
                Court’s excuse for ignoring everything other than the bare
                statutory text is that the text is unambiguous and therefore
                no one can reasonably interpret the text in any way other
                than the Court does. Unless the Court has met that high
                standard, it has no justification for its blinkered approach.
                And to say that the Court’s interpretation is the only possi-
                ble reading is indefensible.
                                              B
                  Although the Court relies solely on the arguments dis-
                cussed above, several other arguments figure prominently
                in the decisions of the lower courts and in briefs submitted
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                by or in support of the employees. The Court apparently
                finds these arguments unpersuasive, and so do I, but for the
                sake of completeness, I will address them briefly.
                                                1
                   One argument, which relies on our decision in Price Wa-
                terhouse v. Hopkins, 490 U. S. 228 (1989) (plurality opin-
                ion), is that discrimination because of sexual orientation or
                gender identity violates Title VII because it constitutes pro-
                hibited discrimination on the basis of sex stereotypes. See
                883 F. 3d, at 119–123; Hively, 853 F. 3d, at 346; 884 F. 3d
                560, 576–577 (CA6 2018). The argument goes like this. Ti-
                tle VII prohibits discrimination based on stereotypes about
                the way men and women should behave; the belief that a
                person should be attracted only to persons of the opposite
                sex and the belief that a person should identify with his or
                her biological sex are examples of such stereotypes; there-
                fore, discrimination on either of these grounds is unlawful.
                   This argument fails because it is based on a faulty prem-
                ise, namely, that Title VII forbids discrimination based on
                sex stereotypes. It does not. It prohibits discrimination be-
                cause of “sex,” and the two concepts are not the same. See
                Price Waterhouse, 490 U. S., at 251. That does not mean,
                however, that an employee or applicant for employment
                cannot prevail by showing that a challenged decision was
                based on a sex stereotype. Such evidence is relevant to
                prove discrimination because of sex, and it may be convinc-
                ing where the trait that is inconsistent with the stereotype
                is one that would be tolerated and perhaps even valued in
                a person of the opposite sex. See ibid.
                   Much of the plaintiff ’s evidence in Price Waterhouse was
                of this nature. The plaintiff was a woman who was passed
                over for partnership at an accounting firm, and some of the
                adverse comments about her work appeared to criticize her
                for being forceful and insufficiently “feminin[e].” Id., at
                235–236.
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                   The main issue in Price Waterhouse––the proper alloca-
                tion of the burdens of proof in a so-called mixed motives Ti-
                tle VII case—is not relevant here, but the plurality opinion,
                endorsed by four Justices, commented on the issue of sex
                stereotypes. The plurality observed that “sex stereotypes
                do not inevitably prove that gender played a part in a par-
                ticular employment decision” but “can certainly be evidence
                that gender played a part.” Id., at 251.17 And the plurality
                made it clear that “[t]he plaintiff must show that the em-
                ployer actually relied on her gender in making its decision.”
                Ibid.
                   Plaintiffs who allege that they were treated unfavorably
                because of their sexual orientation or gender identity are
                not in the same position as the plaintiff in Price Water-
                house. In cases involving discrimination based on sexual
                orientation or gender identity, the grounds for the em-
                ployer’s decision—that individuals should be sexually at-
                tracted only to persons of the opposite biological sex or
                should identify with their biological sex—apply equally to
                men and women. “[H]eterosexuality is not a female stereo-
                type; it not a male stereotype; it is not a sex-
                specific stereotype at all.” Hively, 853 F. 3d, at 370 (Sykes,
                J., dissenting).
                   To be sure, there may be cases in which a gay, lesbian, or
                transgender individual can make a claim like the one in
                Price Waterhouse. That is, there may be cases where traits
                or behaviors that some people associate with gays, lesbians,
                or transgender individuals are tolerated or valued in per-
                sons of one biological sex but not the other. But that is a
                ——————
                  17 Two other Justices concurred in the judgment but did not comment

                on the issue of stereotypes. See id., at 258–261 (opinion of White, J.); id.,
                at 261–279 (opinion of O’Connor, J.). And Justice Kennedy reiterated on
                behalf of the three Justices in dissent that “Title VII creates no independ-
                ent cause of action for sex stereotyping,” but he added that “[e]vidence of
                use by decisionmakers of sex stereotypes is, of course, quite relevant to
                the question of discriminatory intent.” Id., at 294.
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                different matter.
                                               2
                   A second prominent argument made in support of the re-
                sult that the Court now reaches analogizes discrimination
                against gays and lesbians to discrimination against a per-
                son who is married to or has an intimate relationship with
                a person of a different race. Several lower court cases have
                held that discrimination on this ground violates Title VII.
                See, e.g., Holcomb v. Iona College, 521 F. 3d 130 (CA2 2008);
                Parr v. Woodmen of World Life Ins. Co., 791 F. 2d 888 (CA11
                1986). And the logic of these decisions, it is argued, applies
                equally where an employee or applicant is treated unfavor-
                ably because he or she is married to, or has an intimate re-
                lationship with, a person of the same sex.
                   This argument totally ignores the historically rooted rea-
                son why discrimination on the basis of an interracial rela-
                tionship constitutes race discrimination. And without tak-
                ing history into account, it is not easy to see how the
                decisions in question fit the terms of Title VII.
                   Recall that Title VII makes it unlawful for an employer
                to discriminate against an individual “because of such indi-
                vidual’s race.” 42 U. S. C. §2000e–2(a) (emphasis added).
                So if an employer is happy to employ whites and blacks but
                will not employ any employee in an interracial relationship,
                how can it be said that the employer is discriminating
                against either whites or blacks “because of such individual’s
                race”? This employer would be applying the same rule to
                all its employees regardless of their race.
                   The answer is that this employer is discriminating on a
                ground that history tells us is a core form of race discrimi-
                nation.18 “It would require absolute blindness to the history

                ——————
                  18 Notably, Title VII recognizes that in light of history distinctions on

                the basis of race are always disadvantageous, but it permits certain dis-
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                of racial discrimination in this country not to understand
                what is at stake in such cases . . . . A prohibition on ‘race-
                mixing’ was . . . grounded in bigotry against a particular
                race and was an integral part of preserving the rigid hier-
                archical distinction that denominated members of the black
                race as inferior to whites.” 883 F. 3d, at 158–159 (Lynch,
                J., dissenting).
                   Discrimination because of sexual orientation is different.
                It cannot be regarded as a form of sex discrimination on the
                ground that applies in race cases since discrimination be-
                cause of sexual orientation is not historically tied to a pro-
                ject that aims to subjugate either men or women. An em-
                ployer who discriminates on this ground might be called
                “homophobic” or “transphobic,” but not sexist. See Wittmer
                v. Phillips 66 Co., 915 F. 3d 328, 338 (CA5 2019) (Ho, J.,
                concurring).
                                               3
                   The opinion of the Court intimates that the term “sex”
                was not universally understood in 1964 to refer just to the
                categories of male and female, see ante, at 5, and while the
                Court does not take up any alternative definition as a
                ground for its decision, I will say a word on this subject.
                   As previously noted, the definitions of “sex” in the una-
                bridged dictionaries in use in the 1960s are reproduced in
                Appendix A, infra. Anyone who examines those definitions
                can see that the primary definition in every one of them re-
                fers to the division of living things into two groups, male
                and female, based on biology, and most of the definitions
                further down the list are the same or very similar. In addi-
                tion, some definitions refer to heterosexual sex acts. See

                ——————
                tinctions based on sex. Title 42 U. S. C. §2000e–2(e)(1) allows for “in-
                stances where religion, sex, or national origin is a bona fide occupational
                qualification reasonably necessary to the normal operation of [a] partic-
                ular business or enterprise.” Race is wholly absent from this list.
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                Random House Dictionary 1307 (“coitus,” “sexual inter-
                course” (defs. 5–6)); American Heritage Dictionary, at 1187
                (“sexual intercourse” (def. 5)).19
                   Aside from these, what is there? One definition, “to neck
                passionately,” Random House Dictionary 1307 (def. 8), re-
                fers to sexual conduct that is not necessarily heterosexual.
                But can it be seriously argued that one of the aims of Title
                VII is to outlaw employment discrimination against em-
                ployees, whether heterosexual or homosexual, who engage
                in necking? And even if Title VII had that effect, that is not
                what is at issue in cases like those before us.
                   That brings us to the two remaining subsidiary defini-
                tions, both of which refer to sexual urges or instincts and
                their manifestations. See the fourth definition in the Amer-
                ican Heritage Dictionary, at 1187 (“the sexual urge or in-
                stinct as it manifests itself in behavior”), and the fourth def-
                inition in both Webster’s Second and Third (“[p]henomena
                of sexual instincts and their manifestations,” Webster’s
                New International Dictionary, at 2296 (2d ed.); Webster’s
                Third New International Dictionary 2081 (1966)). Since
                both of these come after three prior definitions that refer to
                men and women, they are most naturally read to have the
                same association, and in any event, is it plausible that Title
                VII prohibits discrimination based on any sexual urge or
                instinct and its manifestations? The urge to rape?
                   Viewing all these definitions, the overwhelming impact is
                that discrimination because of “sex” was understood during
                the era when Title VII was enacted to refer to men and
                women. (The same is true of current definitions, which are
                reproduced in Appendix B, infra.) This no doubt explains
                why neither this Court nor any of the lower courts have
                tried to make much of the dictionary definitions of sex just
                ——————
                  19 See American Heritage Dictionary 1188 (1969) (defining “sexual in-

                tercourse”); Webster’s Third New International Dictionary 2082 (1966)
                (same); Random House Dictionary of the English Language 1308 (1966)
                (same).
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                discussed.
                                               II
                                               A
                  So far, I have not looked beyond dictionary definitions of
                “sex,” but textualists like Justice Scalia do not confine their
                inquiry to the scrutiny of dictionaries. See Manning, Tex-
                tualism and the Equity of the Statute, 101 Colum. L. Rev.
                1, 109 (2001). Dictionary definitions are valuable because
                they are evidence of what people at the time of a statute’s
                enactment would have understood its words to mean. Ibid.
                But they are not the only source of relevant evidence, and
                what matters in the end is the answer to the question that
                the evidence is gathered to resolve: How would the terms of
                a statute have been understood by ordinary people at the
                time of enactment?
                  Justice Scalia was perfectly clear on this point. The
                words of a law, he insisted, “mean what they conveyed to
                reasonable people at the time.” Reading Law, at 16 (empha-
                sis added).20
                  Leading proponents of Justice Scalia’s school of textual-
                ism have expounded on this principle and explained that it
                is grounded on an understanding of the way language
                works. As Dean John F. Manning explains, “the meaning
                of language depends on the way a linguistic community
                uses words and phrases in context.” What Divides Textu-
                alists From Purposivists? 106 Colum. L. Rev. 70, 78 (2006).
                “[O]ne can make sense of others’ communications only by
                placing them in their appropriate social and linguistic con-
                text,” id., at 79–80, and this is no less true of statutes than
                any other verbal communications. “[S]tatutes convey
                meaning only because members of a relevant linguistic
                ——————
                  20 See also Chisom v. Roemer, 501 U. S. 380, 405 (1991) (Scalia, J., dis-

                senting) (“We are to read the words of [a statutory] text as any ordinary
                Member of Congress would have read them . . . and apply the meaning
                so determined”).
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                community apply shared background conventions for un-
                derstanding how particular words are used in particular
                contexts.” Manning, The Absurdity Doctrine, 116 Harv. L.
                Rev. 2387, 2457 (2003). Therefore, judges should ascribe to
                the words of a statute “what a reasonable person conver-
                sant with applicable social conventions would have under-
                stood them to be adopting.” Manning, 106 Colum. L. Rev.,
                at 77. Or, to put the point in slightly different terms, a
                judge interpreting a statute should ask “ ‘what one would
                ordinarily be understood as saying, given the circumstances
                in which one said it.’ ” Manning, 116 Harv. L. Rev., at 2397–
                2398.
                  Judge Frank Easterbrook has made the same points:
                     “Words are arbitrary signs, having meaning only to the
                     extent writers and readers share an understanding. . . .
                     Language in general, and legislation in particular, is a
                     social enterprise to which both speakers and listeners
                     contribute, drawing on background understandings
                     and the structure and circumstances of the utterance.”
                     Herrmann v. Cencom Cable Assocs., Inc., 978 F. 2d 978,
                     982 (CA7 1992).
                  Consequently, “[s]licing a statute into phrases while ig-
                noring . . . the setting of the enactment . . . is a formula for
                disaster.” Ibid.; see also Continental Can Co. v. Chicago
                Truck Drivers, Helpers and Warehouse Workers Union (In-
                dependent) Pension Fund, 916 F. 2d 1154, 1157 (CA7 1990)
                (“You don’t have to be Ludwig Wittgenstein or Hans-Georg
                Gadamer to know that successful communication depends
                on meanings shared by interpretive communities”).
                  Thus, when textualism is properly understood, it calls for
                an examination of the social context in which a statute was
                enacted because this may have an important bearing on
                what its words were understood to mean at the time of en-
                actment. Textualists do not read statutes as if they were
                messages picked up by a powerful radio telescope from a
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                distant and utterly unknown civilization. Statutes consist
                of communications between members of a particular lin-
                guistic community, one that existed in a particular place
                and at a particular time, and these communications must
                therefore be interpreted as they were understood by that
                community at that time.
                   For this reason, it is imperative to consider how Ameri-
                cans in 1964 would have understood Title VII’s prohibition
                of discrimination because of sex. To get a picture of this, we
                may imagine this scene. Suppose that, while Title VII was
                under consideration in Congress, a group of average Amer-
                icans decided to read the text of the bill with the aim of
                writing or calling their representatives in Congress and
                conveying their approval or disapproval. What would these
                ordinary citizens have taken “discrimination because of
                sex” to mean? Would they have thought that this language
                prohibited discrimination because of sexual orientation or
                gender identity?
                                              B
                  The answer could not be clearer. In 1964, ordinary Amer-
                icans reading the text of Title VII would not have dreamed
                that discrimination because of sex meant discrimination be-
                cause of sexual orientation, much less gender identity. The
                ordinary meaning of discrimination because of “sex” was
                discrimination because of a person’s biological sex, not sex-
                ual orientation or gender identity. The possibility that dis-
                crimination on either of these grounds might fit within
                some exotic understanding of sex discrimination would not
                have crossed their minds.
                                            1
                  In 1964, the concept of prohibiting discrimination “be-
                cause of sex” was no novelty. It was a familiar and well-
                understood concept, and what it meant was equal treat-
                ment for men and women.
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                    Long before Title VII was adopted, many pioneering state
                and federal laws had used language substantively indistin-
                guishable from Title VII’s critical phrase, “discrimination
                because of sex.” For example, the California Constitution
                of 1879 stipulated that no one, “on account of sex, [could] be
                disqualified from entering upon or pursuing any lawful
                business, vocation, or profession.” Art. XX, §18 (emphasis
                added). It also prohibited a student’s exclusion from any
                state university department “on account of sex.” Art. IX,
                §9; accord, Mont. Const., Art. XI, §9 (1889).
                    Wyoming’s first Constitution proclaimed broadly that
                “[b]oth male and female citizens of this state shall equally
                enjoy all civil, political and religious rights and privileges,”
                Art. VI, §1 (1890), and then provided specifically that “[i]n
                none of the public schools . . . shall distinction or discrimi-
                nation be made on account of sex,” Art. VII, §10 (emphasis
                added); see also §16 (the “university shall be equally open
                to students of both sexes”). Washington’s Constitution like-
                wise required “ample provision for the education of all chil-
                dren . . . without distinction or preference on account of . . .
                sex.” Art. IX, §1 (1889) (emphasis added).
                    The Constitution of Utah, adopted in 1895, provided that
                the right to vote and hold public office “shall not be denied
                or abridged on account of sex.” Art. IV, §1 (emphasis added).
                And in the next sentence it made clear what “on account of
                sex” meant, stating that “[b]oth male and female citizens
                . . . shall enjoy equally all civil, political and religious rights
                and privileges.” Ibid.
                    The most prominent example of a provision using this
                language was the Nineteenth Amendment, ratified in 1920,
                which bans the denial or abridgment of the right to vote “on
                account of sex.” U. S. Const., Amdt. 19. Similar language
                appeared in the proposal of the National Woman’s Party for
                an Equal Rights Amendment. As framed in 1921, this pro-
                posal forbade all “political, civil or legal disabilities or ine-
                qualities on account of sex, [o]r on account of marriage.”
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                Women Lawyers Meet: Representatives of 20 States En-
                dorse Proposed Equal Rights Amendment, N. Y. Times,
                Sept. 16, 1921, p. 10.
                  Similar terms were used in the precursor to the Equal
                Pay Act. Introduced in 1944 by Congresswoman Winifred
                C. Stanley, it proclaimed that “[d]iscrimination against em-
                ployees, in rates of compensation paid, on account of sex”
                was “contrary to the public interest.” H. R. 5056, 78th
                Cong., 2d Sess.
                  In 1952, the new Constitution for Puerto Rico, which was
                approved by Congress, 66 Stat. 327, prohibited all “discrim-
                ination . . . on account of . . . sex,” Art. II, Bill of Rights §1
                (emphasis added), and in the landmark Immigration and
                Nationality Act of 1952, Congress outlawed discrimination
                in naturalization “because of . . . sex.” 8 U. S. C. §1422 (em-
                phasis added).
                  In 1958, the International Labour Organisation, a United
                Nations agency of which the United States is a member,
                recommended that nations bar employment discrimination
                “made on the basis of . . . sex.” Convention (No. 111) Con-
                cerning Discrimination in Respect of Employment and Oc-
                cupation, Art. 1(a), June 25, 1958, 362 U. N. T. S. 32 (em-
                phasis added).
                  In 1961, President Kennedy ordered the Civil Service
                Commission to review and modify personnel policies “to as-
                sure that selection for any career position is hereinafter
                made solely on the basis of individual merit and fitness,
                without regard to sex.”21 He concurrently established a
                “Commission on the Status of Women” and directed it to
                recommend policies “for overcoming discriminations in gov-
                ernment and private employment on the basis of sex.” Exec.
                Order No. 10980, 3 CFR 138 (1961 Supp.) (emphasis
                ——————
                  21 J. Kennedy, Statement by the President on the Establishment of

                the President’s Commission on the Status of Women 3 (Dec. 14, 1961)
                (emphasis added), https://www.jfklibrary.org/asset-viewer/archives/
                JFKPOF/093/JFKPOF-093-004.
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                added).
                  In short, the concept of discrimination “because of,” “on
                account of,” or “on the basis of ” sex was well understood. It
                was part of the campaign for equality that had been waged
                by women’s rights advocates for more than a century, and
                what it meant was equal treatment for men and women.22
                                              2
                  Discrimination “because of sex” was not understood as
                having anything to do with discrimination because of sex-
                ual orientation or transgender status. Any such notion
                would have clashed in spectacular fashion with the societal
                norms of the day.
                  For most 21st-century Americans, it is painful to be re-
                minded of the way our society once treated gays and lesbi-
                ans, but any honest effort to understand what the terms of
                Title VII were understood to mean when enacted must take
                into account the societal norms of that time. And the plain
                truth is that in 1964 homosexuality was thought to be a
                mental disorder, and homosexual conduct was regarded as
                morally culpable and worthy of punishment.


                ——————
                   22 Analysis of the way Title VII’s key language was used in books and

                articles during the relevant time period supports this conclusion. A
                study searched a vast database of documents from that time to determine
                how the phrase “discriminate against . . . because of [some trait]” was
                used. Phillips, The Overlooked Evidence in the Title VII Cases: The Lin-
                guistic (and Therefore Textualist) Principle of Compositionality (manu-
                script, at 3) (May 11, 2020) (brackets in original), https://ssrn.com/
                abstract=3585940. The study found that the phrase was used to denote
                discrimination against “someone . . . motivated by prejudice, or biased
                ideas or attitudes . . . directed at people with that trait in particular.”
                Id., at 7 (emphasis deleted). In other words, “discriminate against” was
                “associated with negative treatment directed at members of a discrete
                group.” Id., at 5. Thus, as used in 1964, “discrimination because of sex”
                would have been understood to mean discrimination against a woman or
                a man based on “unfair beliefs or attitudes” about members of that par-
                ticular sex. Id., at 7.
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                   In its then-most recent Diagnostic and Statistical Manual
                of Mental Disorders (1952) (DSM–I), the American Psychi-
                atric Association (APA) classified same-sex attraction as a
                “sexual deviation,” a particular type of “sociopathic person-
                ality disturbance,” id., at 38–39, and the next edition, is-
                sued in 1968, similarly classified homosexuality as a “sex-
                ual deviatio[n],” Diagnostic and Statistical Manual of
                Mental Disorders 44 (2d ed.) (DSM–II). It was not until the
                sixth printing of the DSM–II in 1973 that this was
                changed.23
                   Society’s treatment of homosexuality and homosexual
                conduct was consistent with this understanding. Sodomy
                was a crime in every State but Illinois, see W. Eskridge,
                Dishonorable Passions 387–407 (2008), and in the District
                of Columbia, a law enacted by Congress made sodomy a fel-
                ony punishable by imprisonment for up to 10 years and per-
                mitted the indefinite civil commitment of “sexual psycho-
                path[s],” Act of June 9, 1948, §§104, 201–207, 62 Stat. 347–
                349.24

                ——————
                   23 APA, Homosexuality and Sexual Orientation Disturbance: Proposed

                Change in DSM–II, 6th Printing, p. 44 (APA Doc. Ref. No. 730008, 1973)
                (reclassifying “homosexuality” as a “[s]exual orientation disturbance,” a
                category “for individuals whose sexual interests are directed primarily
                toward people of the same sex and who are either disturbed by . . . or
                wish to change their sexual orientation,” and explaining that “homosex-
                uality . . . by itself does not constitute a psychiatric disorder”); see also
                APA, Diagnostic and Statistical Manual of Mental Disorders 281–282 (3d
                ed. 1980) (DSM–III) (similarly creating category of “Ego-dystonic Homo-
                sexuality” for “homosexuals for whom changing sexual orientation is a
                persistent concern,” while observing that “homosexuality itself is not con-
                sidered a mental disorder”); Obergefell v. Hodges, 576 U. S. 644, 661
                (2015).
                   24 In 1981, after achieving home rule, the District attempted to decrim-

                inalize sodomy, see D. C. Act No. 4–69, but the House of Representatives
                vetoed the bill, H. Res. 208, 97th Cong., 1st Sess. (1981); 127 Cong. Rec.
                22764–22779 (1981). Sodomy was not decriminalized in the District un-
                til 1995. See Anti-Sexual Abuse Act of 1994, §501(b), 41 D. C. Reg. 53
                (1995), enacted as D. C. Law 10–257.
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                    This view of homosexuality was reflected in the rules gov-
                 erning the federal work force. In 1964, federal “[a]gencies
                 could deny homosexual men and women employment be-
                 cause of their sexual orientation,” and this practice contin-
                 ued until 1975. GAO, D. Heivilin, Security Clearances:
                 Consideration of Sexual Orientation in the Clearance Pro-
                 cess 2 (GAO/NSIAD–95–21, 1995). See, e.g., Anonymous v.
                 Macy, 398 F. 2d 317, 318 (CA5 1968) (affirming dismissal of
                 postal employee for homosexual acts).
                    In 1964, individuals who were known to be homosexual
                 could not obtain security clearances, and any who possessed
                 clearances were likely to lose them if their orientation was
                 discovered. A 1953 Executive Order provided that back-
                 ground investigations should look for evidence of “sexual
                 perversion,” as well as “[a]ny criminal, infamous, dishonest,
                 immoral, or notoriously disgraceful conduct.” Exec. Order
                 No. 10450, §8(a)(1)(iii), 3 CFR 938 (1949–1953 Comp.).
                 “Until about 1991, when agencies began to change their se-
                 curity policies and practices regarding sexual orientation,
                 there were a number of documented cases where defense
                 civilian or contractor employees’ security clearances were
                 denied or revoked because of their sexual orientation.”
                 GAO, Security Clearances, at 2. See, e.g., Adams v. Laird,
                 420 F. 2d 230, 240 (CADC 1969) (upholding denial of secu-
                 rity clearance to defense contractor employee because he
                 had “engaged in repeated homosexual acts”); see also Web-
                 ster v. Doe, 486 U. S. 592, 595, 601 (1988) (concluding that
                 decision to fire a particular individual because he was ho-
                 mosexual fell within the “discretion” of the Director of Cen-
                 tral Intelligence under the National Security Act of 1947
                 and thus was unreviewable under the APA).
                    The picture in state employment was similar. In 1964, it
                 was common for States to bar homosexuals from serving as
                 teachers. An article summarizing the situation 15 years af-
                 ter Title VII became law reported that “[a]ll states have
                 statutes that permit the revocation of teaching certificates
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                (or credentials) for immorality, moral turpitude, or unpro-
                fessionalism,” and, the survey added, “[h]omosexuality is
                considered to fall within all three categories.”25
                   The situation in California is illustrative. California laws
                prohibited individuals who engaged in “immoral conduct”
                (which was construed to include homosexual behavior), as
                well as those convicted of “sex offenses” (like sodomy), from
                employment as teachers. Cal. Educ. Code Ann. §§13202,
                13207, 13209, 13218, 13255 (West 1960). The teaching cer-
                tificates of individuals convicted of engaging in homosexual
                acts were revoked. See, e.g., Sarac v. State Bd. of Ed., 249
                Cal. App. 2d 58, 62–64, 57 Cal. Rptr. 69, 72–73 (1967) (up-
                holding revocation of secondary teaching credential from
                teacher who was convicted of engaging in homosexual con-
                duct on public beach), overruled in part, Morrison v. State
                Bd. of Ed., 1 Cal. 3d 214, 461 P. 2d 375 (1969).
                   In Florida, the legislature enacted laws authorizing the
                revocation of teaching certificates for “misconduct involving
                moral turpitude,” Fla. Stat. Ann. §229.08(16) (1961), and
                this law was used to target homosexual conduct. In 1964,
                a legislative committee was wrapping up a 6-year campaign
                to remove homosexual teachers from public schools and
                state universities. As a result of these efforts, the state
                board of education apparently revoked at least 71 teachers’
                certificates and removed at least 14 university professors.
                Eskridge, Dishonorable Passions, at 103.
                   Individuals who engaged in homosexual acts also faced
                the loss of other occupational licenses, such as those needed
                to work as a “lawyer, doctor, mortician, [or] beautician.”26
                See, e.g., Florida Bar v. Kay, 232 So. 2d 378 (Fla. 1970) (at-
                torney disbarred after conviction for homosexual conduct in
                ——————
                  25 Rivera, Our Straight-Laced Judges: The Legal Position of Homosex-

                ual Persons in the United States, 30 Hastings L. J. 799, 861 (1979).
                  26 Eskridge, Challenging the Apartheid of the Closet: Establishing

                Conditions for Lesbian and Gay Intimacy, Nomos, and Citizenship,
                1961–1981, 25 Hofstra L. Rev. 817, 819 (1997).
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                public bathroom).
                   In 1964 and for many years thereafter, homosexuals were
                barred from the military. See, e.g., Army Reg. 635–89, §I(2)
                (a) (July 15, 1966) (“Personnel who voluntarily engage in
                homosexual acts, irrespective of sex, will not be permitted
                to serve in the Army in any capacity, and their prompt sep-
                aration is mandatory”); Army Reg. 600–443, §I(2) (April 10,
                1953) (similar). Prohibitions against homosexual conduct
                by members of the military were not eliminated until 2010.
                See Don’t Ask, Don’t Tell Repeal Act of 2010, 124 Stat. 3515
                (repealing 10 U. S. C. §654, which required members of the
                Armed Forces to be separated for engaging in homosexual
                conduct).
                   Homosexuals were also excluded from entry into the
                United States. The Immigration and Nationality Act of
                1952 (INA) excluded aliens “afflicted with psychopathic per-
                sonality.” 8 U. S. C. §1182(a)(4) (1964 ed.). In Boutilier v.
                INS, 387 U. S. 118, 120–123 (1967), this Court, relying on
                the INA’s legislative history, interpreted that term to en-
                compass homosexuals and upheld an alien’s deportation on
                that ground. Three Justices disagreed with the majority’s
                interpretation of the phrase “psychopathic personality.”27
                But it apparently did not occur to anyone to argue that the
                Court’s interpretation was inconsistent with the INA’s ex-
                press prohibition of discrimination “because of sex.” That
                was how our society—and this Court—saw things a half
                century ago. Discrimination because of sex and discrimina-
                tion because of sexual orientation were viewed as two en-
                tirely different concepts.
                   To its credit, our society has now come to recognize the
                injustice of past practices, and this recognition provides the
                impetus to “update” Title VII. But that is not our job. Our
                ——————
                  27 Justices Douglas and Fortas thought that a homosexual is merely

                “one, who by some freak, is the product of an arrested development.”
                Boutilier, 387 U. S., at 127 (Douglas, J., dissenting); see also id., at 125
                (Brennan, J., dissenting) (based on lower court dissent).
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                duty is to understand what the terms of Title VII were un-
                derstood to mean when enacted, and in doing so, we must
                take into account the societal norms of that time. We must
                therefore ask whether ordinary Americans in 1964 would
                have thought that discrimination because of “sex” carried
                some exotic meaning under which private-sector employers
                would be prohibited from engaging in a practice that repre-
                sented the official policy of the Federal Government with
                respect to its own employees. We must ask whether Amer-
                icans at that time would have thought that Title VII banned
                discrimination against an employee for engaging in conduct
                that Congress had made a felony and a ground for civil
                commitment.
                   The questions answer themselves. Even if discrimination
                based on sexual orientation or gender identity could be
                squeezed into some arcane understanding of sex discrimi-
                nation, the context in which Title VII was enacted would
                tell us that this is not what the statute’s terms were under-
                stood to mean at that time. To paraphrase something Jus-
                tice Scalia once wrote, “our job is not to scavenge the world
                of English usage to discover whether there is any possible
                meaning” of discrimination because of sex that might be
                broad enough to encompass discrimination because of sex-
                ual orientation or gender identity. Chisom v. Roemer, 501
                U. S. 380, 410 (1991) (dissenting opinion). Without strong
                evidence to the contrary (and there is none here), our job is
                to ascertain and apply the “ordinary meaning” of the stat-
                ute. Ibid. And in 1964, ordinary Americans most certainly
                would not have understood Title VII to ban discrimination
                because of sexual orientation or gender identity.
                   The Court makes a tiny effort to suggest that at least
                some people in 1964 might have seen what Title VII really
                means. Ante, at 26. What evidence does it adduce? One
                complaint filed in 1969, another filed in 1974, and argu-
                ments made in the mid-1970s about the meaning of the
                Equal Rights Amendment. Ibid. To call this evidence
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                merely feeble would be generous.
                                                 C
                    While Americans in 1964 would have been shocked to
                learn that Congress had enacted a law prohibiting sexual
                orientation discrimination, they would have been bewil-
                dered to hear that this law also forbids discrimination on
                the basis of “transgender status” or “gender identity,” terms
                that would have left people at the time scratching their
                heads. The term “transgender” is said to have been coined
                “ ‘in the early 1970s,’ ”28 and the term “gender identity,” now
                understood to mean “[a]n internal sense of being male, fe-
                male or something else,”29 apparently first appeared in an
                academic article in 1964.30 Certainly, neither term was in
                common parlance; indeed, dictionaries of the time still pri-
                marily defined the word “gender” by reference to grammat-
                ical classifications. See, e.g., American Heritage Diction-
                ary, at 548 (def. 1(a)) (“Any set of two or more categories,
                such as masculine, feminine, and neuter, into which words
                are divided . . . and that determine agreement with or the

                ——————
                  28 Drescher, Transsexualism, Gender Identity Disorder and the DSM,

                14 J. Gay & Lesbian Mental Health 109, 110 (2010).
                  29 American Psychological Association, 49 Monitor on Psychology, at

                32.
                  30 Green, Robert Stoller’s Sex and Gender: 40 Years On, 39 Archives

                Sexual Behav. 1457 (2010); see Stoller, A Contribution to the Study of
                Gender Identity, 45 Int’l J. Psychoanalysis 220 (1964). The term appears
                to have been coined a year or two earlier. See Haig, The Inexorable Rise
                of Gender and the Decline of Sex: Social Change in Academic Titles,
                1945–2001, 33 Archives Sexual Behav. 87, 93 (2004) (suggesting the
                term was first introduced at 23rd International Psycho-Analytical Con-
                gress in Stockholm in 1963); J. Meyerowitz, How Sex Changed 213 (2002)
                (referring to founding of “Gender Identity Research Clinic” at UCLA in
                1962). In his book, Sex and Gender, published in 1968, Robert Stoller
                referred to “gender identity” as “a working term” “associated with” his
                research team but noted that they were not “fixed on copyrighting the
                term or on defending the concept as one of the splendors of the scientific
                world.” Sex and Gender, p. viii.
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                selection of modifiers, referents, or grammatical forms”).
                   While it is likely true that there have always been indi-
                viduals who experience what is now termed “gender dys-
                phoria,” i.e., “[d]iscomfort or distress related to an incongru-
                ence between an individual’s gender identity and the
                gender assigned at birth,”31 the current understanding of
                the concept postdates the enactment of Title VII. Nothing
                resembling what is now called gender dysphoria appeared
                in either DSM–I (1952) or DSM–II (1968). It was not until
                1980 that the APA, in DSM–III, recognized two main psy-
                chiatric diagnoses related to this condition, “Gender Iden-
                tity Disorder of Childhood” and “Transsexualism” in adoles-
                cents and adults.32 DSM–III, at 261–266.
                   The first widely publicized sex reassignment surgeries in
                the United States were not performed until 1966,33 and the
                great majority of physicians surveyed in 1969 thought that
                an individual who sought sex reassignment surgery was ei-
                ther “ ‘severely neurotic’ ” or “ ‘psychotic.’ ”34
                   It defies belief to suggest that the public meaning of dis-
                crimination because of sex in 1964 encompassed discrimi-
                nation on the basis of a concept that was essentially un-
                known to the public at that time.
                                               D
                                               1
                   The Court’s main excuse for entirely ignoring the social
                context in which Title VII was enacted is that the meaning
                of Title VII’s prohibition of discrimination because of sex is
                ——————
                  31 American Psychological Association, 49 Monitor on Psychology, at

                32.
                  32 See Drescher, supra, at 112.
                  33 Buckley, A Changing of Sex by Surgery Begun at Johns Hopkins,

                N. Y. Times, Nov. 21, 1966, p. 1, col. 8; see also J. Meyerowitz, How Sex
                Changed 218–220 (2002).
                  34 Drescher, supra, at 112 (quoting Green, Attitudes Toward Transsex-

                ualism and Sex-Reassignment Procedures, in Transsexualism and Sex
                Reassignment 241–242 (R. Green & J. Money eds. 1969)).
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                clear, and therefore it simply does not matter whether peo-
                ple in 1964 were “smart enough to realize” what its lan-
                guage means. Hively, 853 F. 3d, at 357 (Posner, J., concur-
                ring). According to the Court, an argument that looks to
                the societal norms of those times represents an impermis-
                sible attempt to displace the statutory language. Ante, at
                25–26.
                   The Court’s argument rests on a false premise. As al-
                ready explained at length, the text of Title VII does not pro-
                hibit discrimination because of sexual orientation or gender
                identity. And what the public thought about those issues
                in 1964 is relevant and important, not because it provides
                a ground for departing from the statutory text, but because
                it helps to explain what the text was understood to mean
                when adopted.
                   In arguing that we must put out of our minds what we
                know about the time when Title VII was enacted, the Court
                relies on Justice Scalia’s opinion for the Court in Oncale v.
                Sundowner Offshore Services, Inc., 523 U. S. 75 (1998). But
                Oncale is nothing like these cases, and no one should be
                taken in by the majority’s effort to enlist Justice Scalia in
                its updating project.
                   The Court’s unanimous decision in Oncale was thor-
                oughly unremarkable. The Court held that a male em-
                ployee who alleged that he had been sexually harassed at
                work by other men stated a claim under Title VII. Although
                the impetus for Title VII’s prohibition of sex discrimination
                was to protect women, anybody reading its terms would im-
                mediately appreciate that it applies equally to both sexes,
                and by the time Oncale reached the Court, our precedent
                already established that sexual harassment may constitute
                sex discrimination within the meaning of Title VII. See
                Meritor Savings Bank, FSB v. Vinson, 477 U. S. 57 (1986).
                Given these premises, syllogistic reasoning dictated the
                holding.
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                   What today’s decision latches onto are Oncale’s com-
                ments about whether “ ‘male-on-male sexual harassment’ ”
                was on Congress’s mind when it enacted Title VII. Ante, at
                28 (quoting 523 U. S., at 79). The Court in Oncale observed
                that this specific type of behavior “was assuredly not the
                principal evil Congress was concerned with when it enacted
                Title VII,” but it found that immaterial because “statutory
                prohibitions often go beyond the principal evil to cover rea-
                sonably comparable evils, and it is ultimately the provisions
                of our laws rather than the principal concerns of our legis-
                lators by which we are governed.” 523 U. S., at 79 (empha-
                sis added).
                   It takes considerable audacity to read these comments as
                committing the Court to a position on deep philosophical
                questions about the meaning of language and their implica-
                tions for the interpretation of legal rules. These comments
                are better understood as stating mundane and uncontrover-
                sial truths. Who would argue that a statute applies only to
                the “principal evils” and not lesser evils that fall within the
                plain scope of its terms? Would even the most ardent “pur-
                posivists” and fans of legislative history contend that
                congressional intent is restricted to Congress’s “principal
                concerns”?
                   Properly understood, Oncale does not provide the slight-
                est support for what the Court has done today. For one
                thing, it would be a wild understatement to say that dis-
                crimination because of sexual orientation and transgender
                status was not the “principal evil” on Congress’s mind in
                1964. Whether we like to admit it now or not, in the think-
                ing of Congress and the public at that time, such discrimi-
                nation would not have been evil at all.
                   But the more important difference between these cases
                and Oncale is that here the interpretation that the Court
                adopts does not fall within the ordinary meaning of the stat-
                utory text as it would have been understood in 1964. To
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                decide for the defendants in Oncale, it would have been nec-
                essary to carve out an exception to the statutory text. Here,
                no such surgery is at issue. Even if we totally disregard the
                societal norms of 1964, the text of Title VII does not support
                the Court’s holding. And the reasoning of Oncale does not
                preclude or counsel against our taking those norms into ac-
                count. They are relevant, not for the purpose of creating an
                exception to the terms of the statute, but for the purpose of
                better appreciating how those terms would have been un-
                derstood at the time.
                                               2
                   The Court argues that two other decisions––Phillips v.
                 Martin Marietta Corp., 400 U. S. 542 (1971) (per curiam),
                 and Los Angeles Dept. of Water and Power v. Manhart, 435
                 U. S. 702 (1978)––buttress its decision, but those cases
                 merely held that Title VII prohibits employer conduct that
                 plainly constitutes discrimination because of biological sex.
                 In Philips, the employer treated women with young chil-
                 dren less favorably than men with young children. In Man-
                 hart, the employer required women to make larger pension
                 contributions than men. It is hard to see how these hold-
                 ings assist the Court.
                   The Court extracts three “lessons” from Phillips, Man-
                 hart, and Oncale, but none sheds any light on the question
                 before us. The first lesson is that “it’s irrelevant what an
                 employer might call its discriminatory practice, how others
                 might label it, or what else might motivate it.” Ante, at 14.
                 This lesson is obviously true but proves nothing. As to the
                 label attached to a practice, has anyone ever thought that
                 the application of a law to a person’s conduct depends on
                 how it is labeled? Could a bank robber escape conviction by
                 saying he was engaged in asset enhancement? So if an em-
                 ployer discriminates because of sex, the employer is liable
                 no matter what it calls its conduct, but if the employer’s
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                conduct is not sex discrimination, the statute does not ap-
                ply. Thus, this lesson simply takes us back to the question
                whether discrimination because of sexual orientation or
                gender identity is a form of discrimination because of bio-
                logical sex. For reasons already discussed, see Part I–A,
                supra, it is not.
                   It likewise proves nothing of relevance here to note that
                an employer cannot escape liability by showing that dis-
                crimination on a prohibited ground was not its sole motiva-
                tion. So long as a prohibited ground was a motivating fac-
                tor, the existence of other motivating factors does not defeat
                liability.
                   The Court makes much of the argument that “[i]n Phil-
                lips, the employer could have accurately spoken of its policy
                as one based on ‘motherhood.’ ” Ante, at 14; see also ante,
                at 16. But motherhood, by definition, is a condition that can
                be experienced only by women, so a policy that distin-
                guishes between motherhood and parenthood is necessarily
                a policy that draws a sex-based distinction. There was sex
                discrimination in Phillips, because women with children
                were treated disadvantageously compared to men with
                children.
                   Lesson number two—“the plaintiff ’s sex need not be the
                sole or primary cause of the employer’s adverse action,”
                ante, at 14—is similarly unhelpful. The standard of causa-
                tion in these cases is whether sex is necessarily a “motivat-
                ing factor” when an employer discriminates on the basis of
                sexual orientation or gender identity. 42 U. S. C. §2000e–
                2(m). But the essential question—whether discrimination
                because of sexual orientation or gender identity constitutes
                sex discrimination—would be the same no matter what cau-
                sation standard applied. The Court’s extensive discussion
                of causation standards is so much smoke.
                   Lesson number three––“an employer cannot escape lia-
                bility by demonstrating that it treats males and females
                comparably as groups,” ante, at 15, is also irrelevant. There
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                is no dispute that discrimination against an individual em-
                ployee based on that person’s sex cannot be justified on the
                ground that the employer’s treatment of the average em-
                ployee of that sex is at least as favorable as its treatment of
                the average employee of the opposite sex. Nor does it mat-
                ter if an employer discriminates against only a subset of
                men or women, where the same subset of the opposite sex
                is treated differently, as in Phillips. That is not the issue
                here. An employer who discriminates equally on the basis
                of sexual orientation or gender identity applies the same
                criterion to every affected individual regardless of sex. See
                Part I–A, supra.
                                              III
                                               A
                  Because the opinion of the Court flies a textualist flag, I
                have taken pains to show that it cannot be defended on tex-
                tualist grounds. But even if the Court’s textualist argu-
                ment were stronger, that would not explain today’s deci-
                sion. Many Justices of this Court, both past and present,
                have not espoused or practiced a method of statutory inter-
                pretation that is limited to the analysis of statutory text.
                Instead, when there is ambiguity in the terms of a statute,
                they have found it appropriate to look to other evidence of
                “congressional intent,” including legislative history.
                  So, why in these cases are congressional intent and the
                legislative history of Title VII totally ignored? Any assess-
                ment of congressional intent or legislative history seriously
                undermines the Court’s interpretation.
                                             B
                  As the Court explained in General Elec. Co. v. Gilbert, 429
                U. S. 125, 143 (1976), the legislative history of Title VII’s
                prohibition of sex discrimination is brief, but it is neverthe-
                less revealing. The prohibition of sex discrimination was
                “added to Title VII at the last minute on the floor of the
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                House of Representatives,” Meritor Savings Bank, 477
                U. S., at 63, by Representative Howard Smith, the Chair-
                man of the Rules Committee. See 110 Cong. Rec. 2577
                (1964). Representative Smith had been an ardent opponent
                of the civil rights bill, and it has been suggested that he
                added the prohibition against discrimination on the basis of
                “sex” as a poison pill. See, e.g., Ulane v. Eastern Airlines,
                Inc., 742 F. 2d 1081, 1085 (CA7 1984). On this theory, Rep-
                resentative Smith thought that prohibiting employment
                discrimination against women would be unacceptable to
                Members who might have otherwise voted in favor of the
                bill and that the addition of this prohibition might bring
                about the bill’s defeat.35 But if Representative Smith had
                been looking for a poison pill, prohibiting discrimination on
                the basis of sexual orientation or gender identity would
                have been far more potent. However, neither Representa-
                tive Smith nor any other Member said one word about the
                possibility that the prohibition of sex discrimination might
                have that meaning. Instead, all the debate concerned dis-
                crimination on the basis of biological sex.36 See 110 Cong.
                Rec. 2577–2584.
                   Representative Smith’s motivations are contested, 883 F.
                3d, at 139–140 (Lynch, J., dissenting), but whatever they

                ——————
                  35 See Osterman, Origins of a Myth: Why Courts, Scholars, and the

                Public Think Title VII’s Ban on Sex Discrimination Was an Accident, 20
                Yale J. L. & Feminism 409, 409–410 (2009).
                  36 Recent scholarship has linked the adoption of the Smith Amendment

                to the broader campaign for women’s rights that was underway at the
                time. E.g., Osterman, supra; Freeman, How Sex Got Into Title VII: Per-
                sistent Opportunism as a Maker of Public Policy, 9 L. & Ineq. 163 (1991);
                Barzilay, Parenting Title VII: Rethinking the History of the Sex Discrim-
                ination Provision, 28 Yale J. L. & Feminism 55 (2016); Gold, A Tale of
                Two Amendments: The Reasons Congress Added Sex to Title VII and
                Their Implication for the Issue of Comparable Worth, 19 Duquesne L.
                Rev. 453 (1981). None of these studies has unearthed evidence that the
                amendment was understood to apply to discrimination because of sexual
                orientation or gender identity.
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                were, the meaning of the adoption of the prohibition of sex
                discrimination is clear. It was no accident. It grew out of
                “a long history of women’s rights advocacy that had increas-
                ingly been gaining mainstream recognition and ac-
                ceptance,” and it marked a landmark achievement in the
                path toward fully equal rights for women. Id., at 140. “Dis-
                crimination against gay women and men, by contrast, was
                not on the table for public debate . . . [i]n those dark, pre-
                Stonewall days.” Ibid.
                  For those who regard congressional intent as the touch-
                stone of statutory interpretation, the message of Title VII’s
                legislative history cannot be missed.
                                                C
                   Post-enactment events only clarify what was apparent
                when Title VII was enacted. As noted, bills to add “sexual
                orientation” to Title VII’s list of prohibited grounds were in-
                troduced in every Congress beginning in 1975, see supra, at
                2, and two such bills were before Congress in 199137 when
                it made major changes in Title VII. At that time, the three
                Courts of Appeals to reach the issue had held that Title VII
                does not prohibit discrimination because of sexual orienta-
                tion,38 two other Circuits had endorsed that interpretation
                in dicta,39 and no Court of Appeals had held otherwise. Sim-
                ilarly, the three Circuits to address the application of Title
                VII to transgender persons had all rejected the argument

                ——————
                   37 H. R. 1430, 102d Cong., 1st Sess., §2(d) (as introduced in the House

                on Mar. 13, 1991); S. 574, 102d Cong., 1st Sess., §5 (as introduced in the
                Senate on Mar. 6, 1991).
                   38 See Williamson v. A. G. Edwards & Sons, Inc., 876 F. 2d 69, 70 (CA8

                1989) (per curiam), cert. denied, 493 U. S. 1089 (1990); DeSantis v. Pa-
                cific Tel. & Tel. Co., 608 F. 2d 327, 329–330 (CA9 1979); Blum v. Gulf Oil
                Corp., 597 F. 2d 936, 938 (CA5 1979) (per curiam).
                   39 Ruth v. Children’s Med. Ctr., 1991 WL 151158, *5 (CA6, Aug. 8,

                1991) (per curiam); Ulane v. Eastern Airlines, Inc., 742 F. 2d 1081, 1084–
                1085 (CA7 1984), cert. denied, 471 U. S. 1017 (1985).
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                that it covered discrimination on this basis.40 These were
                also the positions of the EEOC.41 In enacting substantial
                changes to Title VII, the 1991 Congress abrogated numer-
                ous judicial decisions with which it disagreed. If it also dis-
                agreed with the decisions regarding sexual orientation and
                transgender discrimination, it could have easily overruled
                those as well, but it did not do so.42
                   After 1991, six other Courts of Appeals reached the issue
                of sexual orientation discrimination, and until 2017, every
                single Court of Appeals decision understood Title VII’s pro-
                hibition of “discrimination because of sex” to mean discrim-
                ination because of biological sex. See, e.g., Higgins v. New
                Balance Athletic Shoe, Inc., 194 F. 3d 252, 259 (CA1
                1999); Simonton v. Runyon, 232 F. 3d 33, 36 (CA2
                2000); Bibby v. Philadelphia Coca Cola Bottling Co., 260 F.
                3d 257, 261 (CA3 2001), cert. denied, 534 U. S. 1155
                (2002); Wrightson v. Pizza Hut of Am., Inc., 99 F. 3d 138,
                143 (CA4 1996); Hamm v. Weyauwega Milk Products,
                Inc., 332 F. 3d 1058, 1062 (CA7 2003); Medina v. Income
                Support Div., N. M., 413 F. 3d 1131, 1135 (CA10 2005); Ev-
                ans v. Georgia Regional Hospital, 850 F. 3d 1248, 1255
                (CA11), cert. denied, 583 U. S. ___ (2017). Similarly, the
                other Circuit to formally address whether Title VII applies
                to claims of discrimination based on transgender status had
                also rejected the argument, creating unanimous consensus
                prior to the Sixth Circuit’s decision below. See Etsitty v.
                Utah Transit Authority, 502 F. 3d 1215, 1220–1221 (CA10
                ——————
                  40 See Ulane, 742 F. 2d, at 1084–1085; Sommers v. Budget Mktg., Inc.,

                667 F. 2d 748, 750 (CA8 1982) (per curiam); Holloway v. Arthur Andersen
                & Co., 566 F. 2d 659, 661–663 (CA9 1977).
                  41 Dillon v. Frank, 1990 WL 1111074, *3–*4 (EEOC, Feb. 14, 1990);

                LaBate v. USPS, 1987 WL 774785, *2 (EEOC, Feb. 11, 1987).
                  42 In more recent legislation, when Congress has wanted to reach acts

                committed because of sexual orientation or gender identity, it has re-
                ferred to those grounds by name. See, e.g., 18 U. S. C. §249(a)(2)(A) (hate
                crimes) (enacted 2009); 34 U. S. C. §12291(b)(13)(A) (certain federally
                funded programs) (enacted 2013).
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                2007).
                   The Court observes that “[t]he people are entitled to rely
                on the law as written, without fearing that courts might
                disregard its plain terms,” ante, at 24, but it has no qualms
                about disregarding over 50 years of uniform judicial inter-
                pretation of Title VII’s plain text. Rather, the Court makes
                the jaw-dropping statement that its decision exemplifies
                “judicial humility.” Ante, at 31. Is it humble to maintain,
                not only that Congress did not understand the terms it en-
                acted in 1964, but that all the Circuit Judges on all the pre-
                2017 cases could not see what the phrase discrimination
                “because of sex” really means? If today’s decision is humble,
                it is sobering to imagine what the Court might do if it de-
                cided to be bold.
                                             IV
                   What the Court has done today––interpreting discrimi-
                nation because of “sex” to encompass discrimination be-
                cause of sexual orientation or gender identity––is virtually
                certain to have far-reaching consequences. Over 100 fed-
                eral statutes prohibit discrimination because of sex. See
                Appendix C, infra; e.g., 20 U. S. C. §1681(a) (Title IX); 42
                U. S. C. §3631 (Fair Housing Act); 15 U. S. C. 1691(a)(1)
                (Equal Credit Opportunity Act). The briefs in these cases
                have called to our attention the potential effects that the
                Court’s reasoning may have under some of these laws, but
                the Court waves those considerations aside. As to Title VII
                itself, the Court dismisses questions about “bathrooms,
                locker rooms, or anything else of the kind.” Ante, at 31. And
                it declines to say anything about other statutes whose
                terms mirror Title VII’s.
                   The Court’s brusque refusal to consider the consequences
                of its reasoning is irresponsible. If the Court had allowed
                the legislative process to take its course, Congress would
                have had the opportunity to consider competing interests
                and might have found a way of accommodating at least
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                some of them. In addition, Congress might have crafted
                special rules for some of the relevant statutes. But by in-
                tervening and proclaiming categorically that employment
                discrimination based on sexual orientation or gender iden-
                tity is simply a form of discrimination because of sex, the
                Court has greatly impeded—and perhaps effectively
                ended—any chance of a bargained legislative resolution.
                Before issuing today’s radical decision, the Court should
                have given some thought to where its decision would lead.
                   As the briefing in these cases has warned, the position
                that the Court now adopts will threaten freedom of religion,
                freedom of speech, and personal privacy and safety. No one
                should think that the Court’s decision represents an unal-
                loyed victory for individual liberty.
                   I will briefly note some of the potential consequences of
                the Court’s decision, but I do not claim to provide a compre-
                hensive survey or to suggest how any of these issues should
                necessarily play out under the Court’s reasoning.43
                   “[B]athrooms, locker rooms, [and other things] of [that]
                kind.” The Court may wish to avoid this subject, but it is a
                matter of concern to many people who are reticent about
                disrobing or using toilet facilities in the presence of individ-
                uals whom they regard as members of the opposite sex. For
                some, this may simply be a question of modesty, but for oth-
                ers, there is more at stake. For women who have been vic-
                timized by sexual assault or abuse, the experience of seeing
                an unclothed person with the anatomy of a male in a con-
                fined and sensitive location such as a bathroom or locker
                room can cause serious psychological harm.44
                   Under the Court’s decision, however, transgender per-
                sons will be able to argue that they are entitled to use a
                bathroom or locker room that is reserved for persons of the
                ——————
                  43 Contrary to the implication in the Court’s opinion, I do not label

                these potential consequences “undesirable.” Ante, at 31. I mention them
                only as possible implications of the Court’s reasoning.
                  44 Brief for Defend My Privacy et al. as Amici Curiae 7–10.
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                sex with which they identify, and while the Court does not
                define what it means by a transgender person, the term
                may apply to individuals who are “gender fluid,” that is, in-
                dividuals whose gender identity is mixed or changes over
                time.45 Thus, a person who has not undertaken any physi-
                cal transitioning may claim the right to use the bathroom
                or locker room assigned to the sex with which the individual
                identifies at that particular time. The Court provides no
                clue why a transgender person’s claim to such bathroom or
                locker room access might not succeed.
                   A similar issue has arisen under Title IX, which prohibits
                sex discrimination by any elementary or secondary school
                and any college or university that receives federal financial
                assistance.46 In 2016, a Department of Justice advisory
                warned that barring a student from a bathroom assigned to
                individuals of the gender with which the student identifies
                constitutes unlawful sex discrimination,47 and some lower
                court decisions have agreed. See Whitaker v. Kenosha Uni-
                fied School Dist. No. 1 Bd. of Ed., 858 F. 3d 1034, 1049 (CA7
                2017); G. G. v. Gloucester Cty. School Bd., 822 F. 3d 709,
                715 (CA4 2016), vacated and remanded, 580 U. S. ___
                (2017); Adams v. School Bd. of St. Johns Cty., 318 F. Supp.
                3d 1293, 1325 (MD Fla. 2018); cf. Doe v. Boyertown Area


                ——————
                  45 See 1 Sadock, Comprehensive Textbook of Psychiatry, at 2063 (ex-

                plaining that “gender is now often regarded as more fluid” and “[t]hus,
                gender identity may be described as masculine, feminine, or somewhere
                in between”).
                  46 Title IX makes it unlawful to discriminate on the basis of sex in ed-

                ucation: “No person in the United States shall, on the basis of sex, be
                excluded from participation in, be denied the benefits of, or be subjected
                to discrimination under any education program or activity receiving Fed-
                eral financial assistance.” 20 U. S. C. §1681(a).
                  47 See Dept. of Justice & Dept. of Education, Dear Colleague Letter on

                Transgender Students, May 13, 2016 (Dear Colleague Letter),
                https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201605-title-
                ix-transgender.pdf.
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                School Dist., 897 F. 3d 518, 533 (CA3 2018), cert. denied,
                587 U. S. ___ (2019).
                   Women’s sports. Another issue that may come up under
                both Title VII and Title IX is the right of a transgender in-
                dividual to participate on a sports team or in an athletic
                competition previously reserved for members of one biolog-
                ical sex.48 This issue has already arisen under Title IX,
                where it threatens to undermine one of that law’s major
                achievements, giving young women an equal opportunity to
                participate in sports. The effect of the Court’s reasoning
                may be to force young women to compete against students
                who have a very significant biological advantage, including
                students who have the size and strength of a male but iden-
                tify as female and students who are taking male hormones
                in order to transition from female to male. See, e.g., Com-
                plaint in Soule v. Connecticut Assn. of Schools, No. 3:20–cv–
                00201 (D Conn., Apr. 17, 2020) (challenging Connecticut
                policy allowing transgender students to compete in girls’
                high school sports); Complaint in Hecox v. Little, No. 1:20–
                cv–00184 (D Idaho, Apr. 15, 2020) (challenging state law
                that bars transgender students from participating in school
                sports in accordance with gender identity). Students in
                these latter categories have found success in athletic com-
                petitions reserved for females.49
                ——————
                  48 A regulation allows single-sex teams, 34 CFR §106.41(b) (2019), but

                the statute itself would of course take precedence.
                  49 “[S]ince 2017, two biological males [in Connecticut] have collectively

                won 15 women’s state championship titles (previously held by ten differ-
                ent Connecticut girls) against biologically female track athletes.” Brief
                for Independent Women’s Forum et al. as Amici Curiae in No. 18–107,
                pp. 14–15.
                  At the college level, a transgendered woman (biological male) switched
                from competing on the men’s Division II track team to the women’s Divi-
                sion II track team at Franklin Pierce University in New Hampshire after
                taking a year of testosterone suppressants. While this student had
                placed “eighth out of nine male athletes in the 400 meter hurdles the
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                   The logic of the Court’s decision could even affect profes-
                sional sports. Under the Court’s holding that Title VII pro-
                hibits employment discrimination because of transgender
                status, an athlete who has the physique of a man but iden-
                tifies as a woman could claim the right to play on a women’s
                professional sports team. The owners of the team might try
                to claim that biological sex is a bona fide occupational qual-
                ification (BFOQ) under 42 U. S. C. §2000e–2(e), but the
                BFOQ exception has been read very narrowly. See Dothard
                v. Rawlinson, 433 U. S. 321, 334 (1977).
                   Housing. The Court’s decision may lead to Title IX cases
                against any college that resists assigning students of the
                opposite biological sex as roommates. A provision of Title
                IX, 20 U. S. C. §1686, allows schools to maintain “separate
                living facilities for the different sexes,” but it may be argued
                that a student’s “sex” is the gender with which the student
                identifies.50 Similar claims may be brought under the Fair
                Housing Act. See 42 U. S. C. §3604.
                   Employment by religious organizations. Briefs filed by a
                wide range of religious groups––Christian, Jewish, and
                Muslim––express deep concern that the position now
                adopted by the Court “will trigger open conflict with faith-




                ——————
                year before, the student won the women’s competition by over a second
                and a half––a time that had garnered tenth place in the men’s conference
                meet just three years before.” Id., at 15.
                  A transgender male—i.e., a biological female who was in the process of
                transitioning to male and actively taking testosterone injections––won
                the Texas girls’ state championship in high school wrestling in 2017.
                Babb, Transgender Issue Hits Mat in Texas, Washington Post, Feb. 26,
                2017, p. A1, col. 1.
                  50 Indeed, the 2016 advisory letter issued by the Department of Justice

                took the position that under Title IX schools “must allow transgender
                students to access housing consistent with their gender identity.” Dear
                Colleague Letter 4.
Case 2:14-cv-13710-SFC-DRG
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                based employment practices of numerous churches, syna-
                gogues, mosques, and other religious institutions.”51 They
                argue that “[r]eligious organizations need employees who
                actually live the faith,”52 and that compelling a religious or-
                ganization to employ individuals whose conduct flouts the
                tenets of the organization’s faith forces the group to com-
                municate an objectionable message.
                   This problem is perhaps most acute when it comes to the
                employment of teachers. A school’s standards for its faculty
                “communicate a particular way of life to its students,” and
                a “violation by the faculty of those precepts” may under-
                mine the school’s “moral teaching.”53 Thus, if a religious
                school teaches that sex outside marriage and sex reassign-
                ment procedures are immoral, the message may be lost if
                the school employs a teacher who is in a same-sex relation-
                ship or has undergone or is undergoing sex reassignment.
                Yet today’s decision may lead to Title VII claims by such
                teachers and applicants for employment.
                   At least some teachers and applicants for teaching posi-
                tions may be blocked from recovering on such claims by the
                “ministerial exception” recognized in Hosanna-Tabor Evan-
                gelical Lutheran Church and School v. EEOC, 565 U. S. 171
                (2012). Two cases now pending before the Court present
                the question whether teachers who provide religious in-
                struction can be considered to be “ministers.”54 But even if
                teachers with those responsibilities qualify, what about
                other very visible school employees who may not qualify for

                ——————
                   51 Brief for National Association of Evangelicals et al. as Amici Curiae

                3; see also Brief for United States Conference of Catholic Bishops et al.
                as Amici Curiae in No. 18–107, pp. 8–18.
                   52 Brief for National Association of Evangelicals et al. as Amici Curiae

                7.
                   53 McConnell, Academic Freedom in Religious Colleges and Universi-

                ties, 53 Law & Contemp. Prob. 303, 322 (1990).
                   54 See Our Lady of Guadalupe School v. Morrissey-Berru, No. 19–267;

                St. James School v. Biel, No. 19–348.
Case 2:14-cv-13710-SFC-DRG
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                the ministerial exception? Provisions of Title VII provide
                exemptions for certain religious organizations and schools
                “with respect to the employment of individuals of a partic-
                ular religion to perform work connected with the carrying
                on” of the “activities” of the organization or school, 42
                U. S. C. §2000e–1(a); see also §2000e–2(e)(2), but the scope
                of these provisions is disputed, and as interpreted by some
                lower courts, they provide only narrow protection.55
                   Healthcare. Healthcare benefits may emerge as an in-
                tense battleground under the Court’s holding. Transgender
                employees have brought suit under Title VII to challenge
                employer-provided health insurance plans that do not cover
                costly sex reassignment surgery.56 Similar claims have
                been brought under the Affordable Care Act (ACA), which
                broadly prohibits sex discrimination in the provision of
                healthcare.57
                ——————
                  55 See, e.g., EEOC v. Kamehameha Schools/Bishop Estate, 990 F. 2d

                458, 460 (CA9 1993); EEOC v. Fremont Christian School, 781 F. 2d 1362,
                1365–1367 (CA9 1986); Rayburn v. General Conference of Seventh-day
                Adventists, 772 F. 2d 1164, 1166 (CA4 1985); EEOC v. Mississippi Col-
                lege, 626 F. 2d 477, 484–486 (CA5 1980); see also Brief for United States
                Conference of Catholic Bishops et al. as Amici Curiae in No. 18–107, at
                30, n. 28 (discussing disputed scope). In addition, 42 U. S. C. §2000e–
                2(e)(1) provides that religion may be a BFOQ, and allows religious
                schools to hire religious employees, but as noted, the BFOQ exception
                has been read narrowly. See supra, at 48.
                  56 See, e.g., Amended Complaint in Toomey v. Arizona, No. 4:19–cv–

                00035 (D Ariz., Mar. 2, 2020). At least one District Court has already
                held that a state health insurance policy that does not provide coverage
                for sex reassignment surgery violates Title VII. Fletcher v. Alaska, ___
                F. Supp. 3d ___, ___, 2020 WL 2487060, *5 (D Alaska, Mar. 6, 2020).
                  57 See, e.g., Complaint in Conforti v. St. Joseph’s Healthcare System,

                No. 2:17–cv–00050 (D NJ, Jan. 5, 2017) (transgender man claims dis-
                crimination under the ACA because a Catholic hospital refused to allow
                a surgeon to perform a hysterectomy). And multiple District Courts have
                already concluded that the ACA requires health insurance coverage for
                sex reassignment surgery and treatment. Kadel v. Folwell, ___ F. Supp.
                3d ___, ___, 2020 WL 1169271, *12 (MDNC, Mar. 11, 2020) (allowing
Case 2:14-cv-13710-SFC-DRG
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                  Such claims present difficult religious liberty issues be-
                cause some employers and healthcare providers have
                strong religious objections to sex reassignment procedures,
                and therefore requiring them to pay for or to perform these
                procedures will have a severe impact on their ability to
                honor their deeply held religious beliefs.
                  Freedom of speech. The Court’s decision may even affect
                the way employers address their employees and the way
                teachers and school officials address students. Under es-
                tablished English usage, two sets of sex-specific singular
                personal pronouns are used to refer to someone in the third
                person (he, him, and his for males; she, her, and hers for
                females). But several different sets of gender-neutral pro-
                nouns have now been created and are preferred by some in-
                dividuals who do not identify as falling into either of the
                two traditional categories.58 Some jurisdictions, such as
                ——————
                claims of discrimination under ACA, Title IX, and Equal Protection
                Clause); Tovar v. Essentia Health, 342 F. Supp. 3d 947, 952–954 (D
                Minn. 2018) (allowing ACA claim).
                   Section 1557 of the ACA, 42 U. S. C. §18116, provides:
                   “Except as otherwise provided for in this title (or an amendment made
                by this title), an individual shall not, on the ground prohibited under title
                VI of the Civil Rights Act of 1964 (42 U. S. C. 2000d et seq.), title IX of
                the Education Amendments of 1972 (20 U. S. C. 1681 et seq.), the Age
                Discrimination Act of 1975 (42 U. S. C. 6101 et seq.), or section 794 of
                title 29, be excluded from participation in, be denied the benefits of, or
                be subjected to discrimination under, any health program or activity, any
                part of which is receiving Federal financial assistance, including credits,
                subsidies, or contracts of insurance, or under any program or activity
                that is administered by an Executive Agency or any entity established
                under this title (or amendments). The enforcement mechanisms pro-
                vided for and available under such title VI, title IX, section 794, or such
                Age Discrimination Act shall apply for purposes of violations of this sub-
                section.” (Footnote omitted.)
                   58 See, e.g., University of Wisconsin Milwaukee Lesbian, Gay, Bisexual,

                Transgender, Queer Plus (LGBTQ+) Resource Center, Gender Pronouns
                (2020), https://uwm.edu/lgbtrc/support/gender-pronouns/ (listing six new
                categories of pronouns: (f )ae, (f )aer, (f )aers; e/ey, em, eir, eirs; per, pers;
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                New York City, have ordinances making the failure to use
                an individual’s preferred pronoun a punishable offense,59
                and some colleges have similar rules.60 After today’s deci-
                sion, plaintiffs may claim that the failure to use their pre-
                ferred pronoun violates one of the federal laws prohibiting
                sex discrimination. See Prescott v. Rady Children’s Hospi-
                tal San Diego, 265 F. Supp. 3d 1090, 1098–1100 (SD Cal.
                2017) (hospital staff ’s refusal to use preferred pronoun vio-
                lates ACA).61
                  The Court’s decision may also pressure employers to sup-
                press any statements by employees expressing disapproval
                of same-sex relationships and sex reassignment proce-
                dures. Employers are already imposing such restrictions
                voluntarily, and after today’s decisions employers will fear
                ——————
                ve, ver, vis; xe, xem, xyr, xyrs; ze/zie, hir, hirs).
                   59 See 47 N. Y. C. R. R. §2–06(a) (2020) (stating that a “deliberate re-

                fusal to use an individual’s self-identified name, pronoun and gendered
                title” is a violation of N. Y. C. Admin. Code §8–107 “where the refusal is
                motivated by the individual’s gender”); see also N. Y. C. Admin. Code
                §§8–107(1), (4), (5) (2020) (making it unlawful to discriminate on the ba-
                sis of “gender” in employment, housing, and public accommodations); cf.
                D. C. Mun. Regs., tit. 4, §801.1 (2020) (making it “unlawful . . . to dis-
                criminate . . . on the basis of . . . actual or perceived gender identity or
                expression” in “employment, housing, public accommodations, or educa-
                tional institutions” and further proscribing “engaging in verbal . . . har-
                assment”).
                   60 See University of Minn., Equity and Access: Gender Identity, Gender

                Expression, Names, and Pronouns, Administrative Policy (Dec. 11,
                2019),     https://policy.umn.edu/operations/genderequity      (“University
                members and units are expected to use the names, gender identities, and
                pronouns specified to them by other University members, except as le-
                gally required”); Meriwether v. Trustees of Shawnee State Univ., 2020 WL
                704615, *1 (SD Ohio, Feb. 12, 2020) (rejecting First Amendment chal-
                lenge to university’s nondiscrimination policy brought by evangelical
                Christian professor who was subjected to disciplinary actions for failing
                to use student’s preferred pronouns).
                   61 Cf. Notice of Removal in Vlaming v. West Point School Board, No.

                3:19–cv–00773 (ED Va., Oct. 22, 2019) (contending that high school
                teacher’s firing for failure to use student’s preferred pronouns was based
                on nondiscrimination policy adopted pursuant to Title IX).
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                that allowing employees to express their religious views on
                these subjects may give rise to Title VII harassment claims.
                   Constitutional claims. Finally, despite the important dif-
                ferences between the Fourteenth Amendment and Title
                VII, the Court’s decision may exert a gravitational pull in
                constitutional cases. Under our precedents, the Equal Pro-
                tection Clause prohibits sex-based discrimination unless a
                “heightened” standard of review is met. Sessions v. Mo-
                rales-Santana, 582 U. S. ___, ___ (2017) (slip op., at 8);
                United States v. Virginia, 518 U. S. 515, 532–534 (1996).
                By equating discrimination because of sexual orientation or
                gender identity with discrimination because of sex, the
                Court’s decision will be cited as a ground for subjecting all
                three forms of discrimination to the same exacting standard
                of review.
                   Under this logic, today’s decision may have effects that
                extend well beyond the domain of federal anti-
                discrimination statutes. This potential is illustrated by
                pending and recent lower court cases in which transgender
                individuals have challenged a variety of federal, state, and
                local laws and policies on constitutional grounds. See, e.g.,
                Complaint in Hecox, No. 1: 20–CV–00184 (state law prohib-
                iting transgender students from competing in school sports
                in accordance with their gender identity); Second Amended
                Complaint in Karnoski v. Trump, No. 2:17–cv–01297 (WD
                Wash., July 31, 2019) (military’s ban on transgender mem-
                bers); Kadel v. Folwell, ___ F. Supp. 3d ___, ___–___, 2020
                WL 1169271, *10–*11 (MDNC, Mar. 11, 2020) (state health
                plan’s exclusion of coverage for sex reassignment proce-
                dures); Complaint in Gore v. Lee, No. 3:19–cv–00328 (MD
                Tenn., Mar. 3, 2020) (change of gender on birth certificates);
                Brief for Appellee in Grimm v. Gloucester Cty. School Bd.,
                No. 19–1952 (CA4, Nov. 18, 2019) (transgender student
                forced to use gender neutral bathrooms at school); Com-
                plaint in Corbitt v. Taylor, No. 2:18–cv–00091 (MD Ala.,
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                July 25, 2018) (change of gender on driver’s licenses); Whit-
                aker, 858 F. 3d, at 1054 (school policy requiring students to
                use the bathroom that corresponds to the sex on birth cer-
                tificate); Keohane v. Florida Dept. of Corrections Secretary,
                952 F. 3d 1257, 1262–1265 (CA11 2020) (transgender pris-
                oner denied hormone therapy and ability to dress and
                groom as a female); Edmo v. Corizon, Inc., 935 F. 3d 757,
                767 (CA9 2019) (transgender prisoner requested sex reas-
                signment surgery); cf. Glenn v. Brumby, 663 F. 3d 1312,
                1320 (CA11 2011) (transgender individual fired for gender
                non-conformity).
                   Although the Court does not want to think about the
                consequences of its decision, we will not be able to avoid
                those issues for long. The entire Federal Judiciary will be
                mired for years in disputes about the reach of the Court’s
                reasoning.
                                        *     *     *
                  The updating desire to which the Court succumbs no
                doubt arises from humane and generous impulses. Today,
                many Americans know individuals who are gay, lesbian, or
                transgender and want them to be treated with the dignity,
                consideration, and fairness that everyone deserves. But the
                authority of this Court is limited to saying what the law is.
                  The Court itself recognizes this:
                     “The place to make new legislation . . . lies in Congress.
                     When it comes to statutory interpretation, our role is
                     limited to applying the law’s demands as faithfully as
                     we can in the cases that come before us.” Ante, at 31.
                   It is easy to utter such words. If only the Court would
                live by them.
                   I respectfully dissent.
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                                         APPENDIXES
                                             A

                Webster’s New International Dictionary 2296 (2d ed.
                1953):

                sex (sĕks), n. [F. sexe, fr. L. sexus; prob. orig., division, and
                  akin to L. secare to cut. See SECTION.] 1. One of the two
                  divisions of organisms formed on the distinction of male
                  and female; males or females collectively. 2. The sum of
                  the peculiarities of structure and function that distin-
                  guish a male from a female organism; the character of be-
                  ing male or female, or of pertaining to the distinctive
                  function of the male or female in reproduction. Conjuga-
                  tion, or fertilization (union of germplasm of two individu-
                  als), a process evidently of great but not readily explain-
                  able importance in the perpetuation of most organisms,
                  seems to be the function of differentiation of sex, which
                  occurs in nearly all organisms at least at some stage in
                  their life history. Sex is manifested in the conjugating
                  cells by the larger size, abundant food material, and im-
                  mobility of the female gamete (egg, egg cell, or ovum), and
                  the small size and the locomotive power of the male gam-
                  ete (spermatozoon or spermatozoid), and in the adult or-
                  ganisms often by many structural, physiological, and (in
                  higher forms) psychological characters, aside from the
                  necessary modification of the reproductive apparatus. Cf.
                  HERMAPHRODITE, 1. In botany the term sex is often extended
                  to the distinguishing peculiarities of staminate and pis-
                  tillate flowers, and hence in dioecious plants to the indi-
                  viduals bearing them.
                        In many animals and plants the body and germ cells
                  have been shown to contain one or more chromosomes of
                  a special kind (called sex chromosomes; idiochromosomes;
                  accessory chromosomes) in addition to the ordinary
                  paired autosomes. These special chromosomes serve to
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                     determine sex. In the simplest case, the male germ cells
                     are of two types, one with and one without a single extra
                     chromosome (X chromosome, or monosome). The egg cells
                     in this case all possess an X chromosome, and on fertili-
                     zation by the two types of sperm, male and female zygotes
                     result, of respective constitution X, and XX. In many
                     other animals and plants (probably including man) the
                     male organism produces two types of gametes, one pos-
                     sessing an X chromosome, the other a Y chromosome,
                     these being visibly different members of a pair of chromo-
                     somes present in the diploid state. In this case also, the
                     female organism is XX, the eggs X, and the zygotes re-
                     spectively male (XY) and female (XX). In another type of
                     sex determination, as in certain moths and possibly in the
                     fowl, the female produces two kinds of eggs, the male only
                     one kind of sperm. Each type of egg contains one member
                     of a pair of differentiated chromosomes, called respec-
                     tively Z chromosomes and W chromosomes, while all the
                     sperm cells contain a Z chromosome. In fertilization, un-
                     ion of a Z with a W gives rise to a female, while union of
                     two Z chromosomes produces a male. Cf. SECONDARY SEX
                     CHARACTER.
                     3. a The sphere of behavior dominated by the relations
                     between male and female. b Psychoanalysis. By exten-
                     sion, the whole sphere of behavior related even indirectly
                     to the sexual functions and embracing all affectionate
                     and pleasure-seeking conduct.
                     4. Phenomena of sexual instincts and their manifesta-
                     tions.
                     5. Sect;—a confused use.
                     Syn.—SEX, GENDER. SEX refers to physiological distinc-
                     tions; GENDER, to distinctions in grammar.
                     —the sex. The female sex; women, in general.
                     sex, adj. Based on or appealing to sex.
                     sex, v. t. To determine the sex of, as skeletal remains.
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                Webster’s Third New International Dictionary 2081
                (1966):

                1sex  \‘seks\ n –ES often attrib [ME, fr. L sexus; prob. akin
                  to L secare to cut–more at SAW] 1: one of the two divisions
                  of organic esp. human beings respectively designated
                  male or female <a member of the opposite ~> 2: the sum
                  of the morphological, physiological, and behavioral pecu-
                  liarities of living beings that subserves biparental repro-
                  duction with its concomitant genetic segregation and re-
                  combination which underlie most evolutionary change,
                  that in its typical dichotomous occurrence is usu. genet-
                  ically controlled and associated with special sex chromo-
                  somes, and that is typically manifested as maleness and
                  femaleness with one or the other of these being present
                  in most higher animals though both may occur in the
                  same individual in many plants and some invertebrates
                  and though no such distinction can be made in many
                  lower forms (as some fungi, protozoans, and possibly bac-
                  teria and viruses) either because males and females are
                  replaced by mating types or because the participants in
                  sexual reproduction are indistinguishable—compare
                  HETEROTHALLIC, HOMOTHALLIC; FERTILIZATION, MEIO-
                  SIS, MENDEL’S LAW; FREEMARTIN, HERMAPHRODITE,
                  INTERSEX 3: the sphere of interpersonal behavior esp. be-
                  tween male and female most directly associated with,
                  leading up to, substituting for, or resulting from genital
                  union <agree that the Christian’s attitude toward ~
                  should not be considered apart from love, marriage, fam-
                  ily—M. M. Forney> 4: the phenomena of sexual instincts
                  and their manifestations <with his customary combina-
                  tion of philosophy, insight, good will toward the world,
                  and entertaining interest in ~—Allen Drury> <studying
                  and assembling what modern scientists have discovered
                  about ~—Time>; specif: SEXUAL INTERCOURSE <an old
                  law imposing death for ~ outside marriage—William
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                     Empson>
                2sex    \“\ vt –ED/–ING/–ES 1: to determine the sex of (an organic
                     being) <it is difficult to ~ the animals at a distance—E. A.
                     Hooton>—compare AUTOSEXING 2 a: to increase the sex-
                     ual appeal or attraction of—usu. used with up <titles
                     must be ~ed up to attract 56 million customers—Time>
                     b: to arouse the sexual instincts or desires of—usu. used
                     with up <watching you ~ing up that bar kitten—Oakley
                     Hall>

                9 Oxford English Dictionary 577–578 (1933):

                  Sex (seks), sb. Also 6–7 sexe, (6 seex, 7 pl. sexe, 8 poss.
                sexe’s). [ad. L. sexus (u-stem), whence also F. sexe (12th c.),
                Sp., Pg. sexo, It. sesso. Latin had also a form secus neut. (in-
                declinable).]
                  1. Either of the two divisions of organic beings distin-
                guished as male and female respectively; the males or the
                females (of a species, etc., esp. of the human race) viewed
                collectively.
                     1382 WYCLIF Gen. vi. 19 Of alle thingis hauynge sowle of ony flehs, two thow shalt brynge
                into the ark, that maal sex and femaal lyuen with thee. 1532 MORE Confut. Tindale II. 152, I
                had as leue he bare them both a bare cheryte, as wyth the frayle feminyne sexe fall to far in
                loue. 1559 ALYMER Harborowe E 4 b, Neither of them debarred the heires female .. as though
                it had ben .. vnnatural for that sexe to gouern. 1576 GASCOIGNE Philomene xcviii, I speake
                against my sex. a 1586 SIDNEY Arcadia II. (1912) 158 The sexe of womankind of all other is
                most bound to have regardfull eie to mens judgements. 1600 NASHE Summer’s Last Will F 3
                b, A woman they imagine her to be, Because that sexe keepes nothing close they heare. 1615
                CROOKE Body of Man 274 If wee respect the .. conformation of both the Sexes, the Male is
                sooner perfected .. in the wombe. 1634 SIR T. HERBERT Trav. 19 Both sexe goe naked. 1667
                MILTON P. L. IX, 822 To add what wants In Femal Sex. 1671—Samson 774 It was a weakness
                In me, but incident to all our sex. 1679 DRYDEN Troilus & Cr. I. ii, A strange dissembling sex
                we women are. 1711 ADDISON Spect. No. 10 ¶ 6 Their Amusements .. are more adapted to the
                Sex than to the Species. 1730 SWIFT Let. to Mrs. Whiteway 28 Dec., You have neither the
                scrawl nor the spelling of your sex. 1742 GRAY Propertius II. 73 She .. Condemns her fickle
                Sexe’s fond Mistake. 1763 G. WILLIAMS in Jesse Selwyn & Contemp. (1843) I. 265 It would
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                astonish you to see the mixture of sexes at this place. 1780 BENTHAM Princ. Legisl. VI. §35
                The sensibility of the female sex appears .. to be greater than that of the male. 1814 SCOTT
                Ld. of Isles VI. iii, Her sex’s dress regain’d. 1836 THIRLWALL Greece xi. II. 51 Solon also made
                regulations for the government of the other sex. 1846 Ecclesiologist Feb. 41 The propriety and
                necessity of dividing the sexes during the publick offices of the Church. 1848 THACKERAY Van.
                Fair xxv, She was by no means so far superior to her sex as to be above jealousy. 1865 DICKENS
                Mut. Fr. II. i, It was a school for both sexes. 1886 MABEL COLLINS Prettiest Woman ii, Zadwiga
                had not yet given any serious attention to the other sex.
                   b. collect. followed by plural verb. rare.
                1768 GOLDSM. Good. n. Man IV. (Globe) 632/2 Our sex are like poor tradesmen. 1839 MALCOM
                Trav. (1840) 40/I Neither sex tattoo any part of their bodies.
                  c. The fair(er), gentle(r), soft(er), weak(er) sex; the devout
                sex; the second sex; † the woman sex: the female sex, women.
                The † better, sterner sex: the male sex, men.
                   [1583 STUBBES Anat. Abus. E vij b, Ye magnificency & liberalitie of that gentle sex. 1613
                PURCHAS Pilgrimage (1614) 38 Strong Sampson and wise Solomon are witnesses, that the
                strong men are slaine by this weaker sexe.]
                   1641 BROME Jovial Crew III. (1652) H 4, I am bound by a strong vow to kisse all of the
                woman sex I meet this morning. 1648 J. BEAUMONT Psyche XIV. I, The softer sex, attending
                Him And his still-growing woes. 1665 SIR T. HERBERT Trav. (1677) 22 Whiles the better sex
                seek prey abroad, the women (therein like themselves) keep home and spin. 1665 BOYLE Oc-
                cas. Refl. v. ix. 176 Persons of the fairer Sex. a 1700 EVELYN Diary 12 Nov. an. 1644, The
                Pillar .. at which the devout sex are always rubbing their chaplets. 1701 STANHOPE St. Aug.
                Medit. I. xxxv. (1704) 82, I may .. not suffer my self to be outdone by the weaker Sex. 1732
                [see FAIR a. I b]. 1753 HOGARTH Anal. Beauty x. 65 An elegant degree of plumpness peculiar
                to the skin of the softer sex. 1820 BYRON Juan IV. cviii, Benign Ceruleans of the second sex!
                Who advertise new poems by your looks. 1838 Murray’s Hand-bk. N. Germ. 430 It is much
                frequented by the fair sex. 1894 C. D. TYLER in Geog. Jrnl. III. 479 They are beardless, and
                usually wear a shock of unkempt hair, which is somewhat finer in the gentler sex.
                  ¶d. Used occas. with extended notion. The third sex: eu-
                nuchs. Also sarcastically (see quot. 1873).
                1820 BYRON Juan IV. lxxxvi, From all the Pope makes yearly, ‘twould perplex To find three
                perfect pipes of the third sex. Ibid. V. xxvi, A black old neutral personage Of the third sex
                stept up. [1873 LD. HOUGHTON Monogr. 280 Sydney Smith .. often spoke with much bitterness
                of the growing belief in three Sexes of Humanity—Men, Women, and Clergymen.]
                   e. The sex: the female sex. [F. le sexe.] Now rare.
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                     1589 PUTTENHAM Eng. Poesie III. xix. (Arb.) 235 As he that had tolde a long tale before
                certaine noble women, of a matter somewhat in honour touching the Sex. 1608 D. T[UVILL]
                Ess. Pol. & Mor. 101 b, Not yet weighing with himselfe, the weaknesse and imbecillitie of the
                sex. 1631 MASSINGER Emperor East I. ii, I am called The Squire of Dames, or Servant of the
                Sex. 1697 VANBRUGH Prov. Wife II. ii, He has a strange penchant to grow fond of me, in spite
                of his aversion to the sex. 1760-2 GOLDSM. Cit. W. xcix, The men of Asia behave with more
                deference to the sex than you seem to imagine. 1792 A. YOUNG Trav. France I. 220 The sex of
                Venice are undoubtedly of a distinguished beauty. 1823 BYRON Juan XIII. lxxix, We give the
                sex the pas. 1863 R. F. BURTON W. Africa I. 22 Going ‘up stairs’, as the sex says, at 5 a.m. on
                the day after arrival, I cast the first glance at Funchal.
                   f. Without the, in predicative quasi-adj. use=feminine.
                 rare.
                     a 1700 DRYDEN Cymon & Iph. 368 She hugg’d th’ Offender, and forgave th’ Offence, Sex
                to the last!
                  2. Quality in respect of being male or female.
                a. With regard to persons or animals.
                     1526 Pilgr. Perf. (W. de. W. 1531) 282 b, Ye bee, whiche neuer gendreth with ony make of
                his kynde, nor yet hath ony distinct sex. 1577 T. KENDALL Flowers of Epigr. 71 b, If by corps
                supposd may be her seex, then sure a virgin she. 1616 T. SCOTT Philomythie I. (ed. 2) A 3
                Euen as Hares change shape and sex, some say Once euery yeare. 1658 SIR T. BROWNE Hy-
                driot. iii. 18 A critical view of bones makes a good distinction of sexes. a 1665 DIGBY Chym.
                Secrets (1682) II. 225 Persons of all Ages and Sexes. 1667 MILTON P. L. I. 424 For Spirits
                when they please can either Sex assume, or both. 1710-11 SWIFT Jrnl. to Stella 7 Mar., I find
                I was mistaken in the sex, ‘tis a boy. 1757 SMOLLETT Reprisal IV. v, As for me, my sex protects
                me. 1825 SCOTT Betrothed xiii, I am but a poor and neglected woman, feeble both from sex
                and age. 1841 ELPHINSTONE Hist. India I. 349 When persons of different sexes walk together,
                the woman always follows the man. 1882 TENSION-WOODS Fish N. S. Wales 116 Oysters are
                of distinct sexes.
                     b. with regard to plants (see FEMALE a. 2, MALE a. 2).
                     1567 MAPLET Gr. Forest 28 Some seeme to haue both sexes and kindes: as the Oke, the
                Lawrell and such others. 1631 WIDDOWES Nat. Philos. (ed. 2) 49 There be sexes of hearbes ..
                namely, the Male or Female. 1720 P. BLAIR Bot. Ess. iv. 237 These being very evident Proofs
                of a necessity of two Sexes in Plants as well as in Animals. 1790 SMELLIE Philos. Nat. Hist. I.
                245 There is not a notion more generally adopted, that that vegetables have the distinction of
                sexes. 1848 LINDLEY Introd. Bot. (ed. 4) II. 80 Change of Sex under the influence of external
                causes.
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                  3. The distinction between male and female in general.
                In recent use often with more explicit notion: The sum of
                those differences in the structure and function of the repro-
                ductive organs on the ground of which beings are distin-
                guished as male and female, and of the other physiological
                differences consequent on these; the class of phenomena
                with which these differences are concerned.
                    Organs of sex: the reproductive organs in sexed animals or plants.
                    a 1631 DONNE Songs & Sonn., The Printrose Poems 1912 I. 61 Should she Be more then
                woman, she would get above All thought of sexe, and think to move My heart to study her,
                and not to love. a 1643 CARTWRIGHT Siedge III. vi, My Soul’s As Male as yours; there’s no Sex
                in the mind. 1748 MELMOTH Fitzosborne Lett. lxii. (1749) II. 119 There may be a kind of sex
                in the very soul. 1751 HARRIS Hermes Wks. (1841) 129 Besides number, another characteris-
                tic, visible in substances, is that of sex. 1878 GLADSTONE Prim. Homer 68 Athenè .. has noth-
                ing of sex except the gender, nothing of the woman except the form. 1887 K. PEARSON Eth.
                Freethought xv. (1888) 429 What is the true type of social (moral) action in matters of sex?
                 1895 CRACKANTHORPE in 19th Cent. Apr. 607 (art.) Sex in modern literature. Ibid. 614 The
                writers and readers who have strenuously refused to allow to sex its place in creative art.
                1912 H. G. WELLS Marriage ii. § 6. 72 The young need .. to be told .. all we know of three
                fundamental things; the first of which is God, .. and the third Sex.
                  ¶ 4. Used, by confusion, in senses of                          SECT    (q. v. I, 4 b, 7,
                and cf. I d note).
                    1575-85 ABP. SANDYS Serm. xx. 358 So are all sexes and sorts of people called vpon. 1583
                MELBANCKE Philotimus L iij b, Whether thinkest thou better sporte & more absurd, to see an
                Asse play on an harpe contrary to his sex, or heare [etc.]. 1586 J. HOOKER Hist. Irel. 180/2 in
                Holinshed, The whole sex of the Oconhours. 1586 T. B. La Primaud. Fr. Acad. I. 359 O de-
                testable furie, not to be found in most cruell beasts, which spare the blood of their sexe. a
                1704 T BROWN Dial. Dead, Friendship Wks. 1711 IV. 56 We have had enough of these Chris-
                tians, and sure there can be no worse among the other Sex of Mankind [i.e. Jews and Turks]?
                1707 ATTERBURY Large Vind. Doctr. 47 Much less can I imagine, why a Jewish Sex (whether
                of Pharisees or Saducees) should be represented, as [etc.].
                  5. attrib. and Comb., as sex-distinction, function, etc.; sex-
                abusing, transforming adjs.; sex-cell, a reproductive cell,
                with either male or female function; a sperm-cell or an egg-
                cell.
                    1642 H. MORE Song of Soul I. III. lxxi, Mad-making waters, sex trans-forming springs.
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                1781 COWPER Expost. 415 Sin, that in old time Brought fire from heav’n, the sex-abusing
                crime. 1876 HARDY Ethelberta xxxvii, You cannot have celebrity and sex-privilege both. 1887
                Jrnl. Educ. No. 210. 29 If this examination craze is to prevail, and the sex-abolitionists are to
                have their way. 1889 GEDDES & THOMSON Evol. Sex 91 Very commonly the sex-cells originate
                in the ectoderm and ripen there. 1894 H. DRUMMOND Ascent of Man 317 The sex-distinction
                slowly gathers definition. 1897 J. HUTCHINSON in Arch. Surg. VIII. 230 Loss of Sex Function.
                  Sex (seks), v. [f. SEX sb.] trans. To determine the sex of, by
                anatomical examination; to label as male or female.
                     1884 GURNEY Diurnal Birds Prey 173 The specimen is not sexed, neither is the sex noted
                on the drawing. 1888 A. NEWTON in Zoologist Ser. 111. XII. 101 The .. barbarous phrase of
                ‘collecting a specimen’ and then of ‘sexing’ it.


                Concise Oxford Dictionary of Current English 1164
                (5th ed. 1964):

                sĕx, n. Being male or female or hermaphrodite (what is its
                  ~?; ~ does not matter; without distinction of age or ~),
                  whence ~’LESS a., ~’lėssNESS n., ~’Y2 a., immoderately con-
                  cerned with ~; males or females collectively (all ranks &
                  both ~es; the fair, gentle, softer, weaker, ~, & joc. the ~,
                  women; the sterner ~, men; is the fairest of her ~); (attrib.)
                  arising from difference, or consciousness, of ~ (~ antago-
                  nism, ~ instinct, ~ urge); ~ appeal, attractiveness arising
                  from difference of ~. [f. L sexus –ūs; partly thr. F]

                Random House Dictionary of the English Language
                1307 (1966):

                sex (seks), n. 1. The fact or character of being either male
                  or female: persons of different sex. 2. either of the two
                  groups of persons exhibiting this character: the stronger
                  sex; the gentle sex. 3. the sum of the structural and func-
                  tional differences by which the male and female are dis-
                  tinguished, or the phenomena or behavior dependent on
                  these differences. 4. the instinct or attraction drawing
                  one sex toward another, or its manifestation in life and
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                   conduct. 5. coitus. 6. to have sex, Informal. to engage in
                   sexual intercourse. –v.t. 7. to ascertain the sex of, esp. of
                   newly hatched chicks. 8. sex it up, Slang. to neck pas-
                   sionately: They were really sexing it up last night. 9. sex
                   up, Informal. a. to arouse sexually: She certainly knows
                   how to sex up the men. b. to increase the appeal of; to
                   make more interesting, attractive, or exciting: We’ve de-
                   cided to sex up the movie with some battle scenes. [ME <
                   L sex(us), akin to secus, deriv. of secāre to cut, divide; see
                   SECTION]


                 American Heritage Dictionary 1187 (1969):

                 sex (sĕks) n. 1. a. The property or quality by which organ-
                   isms are classified according to their reproductive func-
                   tions. b. Either of two divisions, designated male and fe-
                   male, of this classification. 2. Males or females collec-
                   tively. 3. The condition or character of being male or
                   female; the physiological, functional, and psychological
                   differences that distinguish the male and the female. 4.
                   The sexual urge or instinct as it manifests itself in behav-
                   ior. 5. Sexual intercourse. –tr.v. sexed, sexing, sexes.
                   To determine the sex of (young chickens). [Middle Eng-
                   lish, from Old French sexe, from Latin sexus†.]

                                                 B

                 Webster’s Third New International Dictionary 2081
                 (2002):

                 1sex \‘seks\ n –ES often attrib [ME, fr. L sexus; prob. akin
                   to L secare to cut—more at SAW] 1: one of the two divi-
                   sions of organic esp. human beings respectively desig-
                   nated male or female <a member of the opposite ~> 2: the
                   sum of the morphological, physiological, and behavioral
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                   peculiarities of living beings that subserves biparental re-
                   production with its concomitant genetic segregation and
                   recombination which underlie most evolutionary change,
                   that in its typical dichotomous occurrence is usu. genet-
                   ically controlled and associated with special sex chromo-
                   somes, and that is typically manifested as maleness and
                   femaleness with one or the other of these being present
                   in most higher animals though both may occur in the
                   same individual in many plants and some invertebrates
                   and though no such distinction can be made in many
                   lower forms (as some fungi, protozoans, and possibly bac-
                   teria and viruses) either because males and females are
                   replaced by mating types or because the participants in
                   sexual reproduction are indistinguishable—compare
                   HETEROTHALLIC, HOMOTHALLIC; FERTILIZATION, MEIOSIS,
                   MENDEL’S LAW; FREEMARTIN, HERMAPHRODITE, INTERSEX
                   3: the sphere of interpersonal behavior esp. between male
                   and female most directly associated with, leading up to,
                   substituting for, or resulting from genital union <agree
                   that the Christian’s attitude toward ~ should not be con-
                   sidered apart from love, marriage, family—M. M. For-
                   ney> 4: the phenomena of sexual instincts and their man-
                   ifestations <with his customary combination of
                   philosophy, insight, good will toward the world, and en-
                   tertaining interest in ~—Allen Drury> <studying and as-
                   sembling what modern scientists have discovered about
                   ~—Time>; specif: SEXUAL INTERCOURSE <an old law im-
                   posing death for ~ outside marriage—William Empson>
                 2sex \“\ vt –ED/–ING/–ES 1: to determine the sex of (an organic

                   being) <it is difficult to ~ the animals at a distance—E. A.
                   Hooton>—compare AUTOSEXING 2 a: to increase the sex-
                   ual appeal or attraction of—usu. used with up <titles
                   must be ~ed up to attract 56 million customers—Time>
                   b: to arouse the sexual instincts or desires of—usu. used
                   with up <watching you ~ing up that bar kitten—Oakley Hall>
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                 Random House Webster’s Unabridged Dictionary
                 1754 (2d ed. 2001):

                 Sex (seks), n. 1. either the male or female division of a spe-
                   cies, esp. as differentiated with reference to the reproduc-
                   tive functions. 2. the sum of the structural and functional
                   differences by which the male and female are distin-
                   guished, or the phenomena or behavior dependent on
                   these differences. 3. the instinct or attraction drawing
                   one sex toward another, or its manifestation in life and
                   conduct. 4. coitus. 5. genitalia. 6. to have sex, to engage
                   in sexual intercourse. – v.t. 7. to ascertain the sex of, esp.
                   of newly-hatched chicks. 8. sex up, Informal. a. to arouse
                   sexually: The only intent of that show was to sex up the
                   audience. b. to increase the appeal of; to make more in-
                   teresting, attractive, or exciting: We’ve decided to sex up
                   the movie with some battle scenes. [1350–1400; ME < L
                   Sexus, perh. akin to secāre to divide (see SECTION)]

                 American Heritage Dictionary 1605 (5th ed. 2011):

                 Sex (seks) n. 1a. Sexual activity, especially sexual inter-
                 course: hasn’t had sex in months. b. The sexual urge or in-
                 stinct as it manifests itself in behavior: motivated by sex.
                 2a. Either of the two divisions, designated female and male,
                 by which most organisms are classified on the basis of their
                 reproductive organs and functions: How do you determine
                 the sex of a lobster? b. The fact or condition of existing in
                 these two divisions, especially the collection of characteris-
                 tics that distinguish female and male: the evolution of sex
                 in plants; a study that takes sex into account. See Usage
                 Note at gender. 3. Females or males considered as a group:
                 dormitories that house only one sex. 4. One’s identity as ei-
                 ther female or male. 5. The genitals. ⸭ tr.v. sexed, sex-ing,
                 sex-es 1. To determine the sex of (an organism). 2. Slang a.
                 To arouse sexually. Often used with up. b. To increase the
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                 appeal or attractiveness of. Often used with up [Middle
                 English < Latin sexus.]

                                                 C

                          Statutes Prohibiting Sex Discrimination

                         2 U. S. C. §658a(2) (Congressional Budget and
                          Fiscal Operations; Federal Mandates)

                         2 U. S. C. §1311(a)(1) (Congressional Accounta-
                          bility; Extension of Rights and Protections)

                         2 U. S. C. §1503(2) (Unfunded Mandates Re-
                          form)

                         3 U. S. C. §411(a)(1) (Presidential Offices; Em-
                          ployment Discrimination)

                         5 U. S. C. §2301(b)(2) (Merit System Principles)

                         5 U. S. C. §2302(b)(1) (Prohibited Personnel
                          Practices)

                         5 U. S. C. §7103(a)(4)(A) (Labor-Management
                          Relations; Definitions)

                         5 U. S. C. §7116(b)(4) (Labor-Management Re-
                          lations; Unfair Labor Practices)

                         5 U. S. C. §7201(b) (Antidiscrimination Policy;
                          Minority Recruitment Program)
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                       5 U. S. C. §7204(b) (Antidiscrimination; Other
                        Prohibitions)

                       6 U. S. C. §488f(b) (Secure Handling of Ammo-
                        nium Nitrate; Protection From Civil Liability)

                       7 U. S. C. §2020(c)(1) (Supplemental Nutrition
                        Assistance Program)

                       8 U. S. C. §1152(a)(1)(A) (Immigration; Numer-
                        ical Limitations on Individual Foreign States)

                       8 U. S. C. §1187(c)(6) (Visa Waiver Program for
                        Certain Visitors)

                       8 U. S. C. §1522(a)(5) (Authorization for Pro-
                        grams for Domestic Resettlement of and Assis-
                        tance to Refugees)

                       10 U. S. C. §932(b)(4) (Uniform Code of Military
                        Justice; Article 132 Retaliation)

                       10 U. S. C. §1034(j)(3) (Protected Communica-
                        tions; Prohibition of Retaliatory Personnel Ac-
                        tions)

                       12 U. S. C. §302 (Directors of Federal Reserve
                        Banks; Number of Members; Classes)

                       12 U. S. C. §1735f–5(a) (Prohibition Against
                        Discrimination on Account of Sex in Extension
                        of Mortgage Assistance)
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                         12 U. S. C. §1821(d)(13)(E)(iv) (Federal Deposit
                          Insurance Corporation; Insurance Funds)

                         12 U. S. C. §1823(d)(3)(D)(iv) (Federal Deposit
                          Insurance Corporation; Corporation Moneys)

                         12 U. S. C. §2277a–10c(b)(13)(E)(iv) (Farm
                          Credit System Insurance Corporation; Corpora-
                          tion as Conservator or Receiver; Certain Other
                          Powers)

                         12 U. S. C. §3015(a)(4) (National Consumer Co-
                          operative Bank; Eligibility of Cooperatives)

                         12 U. S. C. §§3106a(1)(B) and (2)(B) (Foreign
                          Bank Participation in Domestic Markets)

                         12 U. S. C. §4545(1) (Fair Housing)

                         12 U. S. C. §5390(a)(9)(E)(v) (Wall Street Re-
                          form and Consumer Protection; Powers and Du-
                          ties of the Corporation)

                         15 U. S. C. §631(h) (Aid to Small Business)

                         15 U. S. C. §633(b)(1) (Small Business Admin-
                          istration)

                         15 U. S. C. §719 (Alaska Natural Gas Transpor-
                          tation; Civil Rights)

                         15 U. S. C. §775 (Federal Energy Administra-
                          tion; Sex Discrimination; Enforcement; Other
                          Legal Remedies)
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                       15 U. S. C. §1691(a)(1) (Equal Credit Oppor-
                        tunity Act)

                       15 U. S. C. §1691d(a) (Equal Credit Oppor-
                        tunity Act)

                       15 U. S. C. §3151(a) (Full Employment and Bal-
                        anced Growth; Nondiscrimination)

                       18 U. S. C. §246 (Deprivation of Relief Benefits)

                       18 U. S. C. §3593(f ) (Special Hearing To Deter-
                        mine Whether a Sentence of Death Is Justified)

                       20 U. S. C. §1011(a) (Higher Education Re-
                        sources and Student Assistance; Antidiscrimi-
                        nation)

                       20 U. S. C. §1011f(h)(5)(D) (Disclosures of For-
                        eign Gifts)

                       20 U. S. C. §1066c(d) (Historically Black College
                        and University Capital Financing; Limitations
                        on Federal Insurance Bonds Issued by Desig-
                        nated Bonding Authority)

                       20 U. S. C. §1071(a)(2) (Federal Family Educa-
                        tion Loan Program)

                       20 U. S. C. §1078(c)(2)(F) (Federal Payments To
                        Reduce Student Interest Costs)

                       20 U. S. C. §1087–1(e) (Federal Family Educa-
                        tion Loan Program; Special Allowances)
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                         20 U. S. C. §1087–2(e) (Student Loan Market-
                          ing Association)

                         20 U. S. C. §1087–4 (Discrimination in Second-
                          ary Markets Prohibited)

                         20 U. S. C. §1087tt(c) (Discretion of Student Fi-
                          nancial Aid Administrators)

                         20 U. S. C. §1231e(b)(2) (Education Programs;
                          Use of Funds Withheld)

                         20 U. S. C. §1681 (Title IX of the Education
                          Amendments of 1972)

                         20 U. S. C. §1701(a)(1) (Equal Educational Op-
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Are you a homosexual or a bisexual? (“Homosexual” is defined as: sexual desire or behavior directed at a person(s) of one’s own
sex. “Bisexual” is defined as: a person sexually responsive to both sexes.)
                                                                                                                                                                                                                                          No. 98 99




Do you intend to engage in homosexual acts (sexual relations with another person of the same sex)?
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                 SUPREME COURT OF THE UNITED STATES
                                            _________________

                                 Nos. 17–1618, 17–1623 and 18–107
                                            _________________


                       GERALD LYNN BOSTOCK, PETITIONER
                 17–1618             v.
                          CLAYTON COUNTY, GEORGIA
                  ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                           APPEALS FOR THE ELEVENTH CIRCUIT



                    ALTITUDE EXPRESS, INC., ET AL., PETITIONERS
                 17–1623                 v.
                  MELISSA ZARDA AND WILLIAM ALLEN MOORE, JR.,
                     CO-INDEPENDENT EXECUTORS OF THE ESTATE OF
                                  DONALD ZARDA
                  ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                            APPEALS FOR THE SECOND CIRCUIT



                     R.G. & G.R. HARRIS FUNERAL HOMES, INC.,
                                    PETITIONER
                 18–107                  v.
                 EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,
                                       ET AL.

                  ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                             APPEALS FOR THE SIXTH CIRCUIT
                                           [June 15, 2020]

                    JUSTICE KAVANAUGH, dissenting.
                    Like many cases in this Court, this case boils down to one
                 fundamental question: Who decides? Title VII of the Civil
                 Rights Act of 1964 prohibits employment discrimination
                 “because of ” an individual’s “race, color, religion, sex, or na-
                 tional origin.” The question here is whether Title VII
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                 should be expanded to prohibit employment discrimination
                 because of sexual orientation. Under the Constitution’s
                 separation of powers, the responsibility to amend Title VII
                 belongs to Congress and the President in the legislative pro-
                 cess, not to this Court.
                    The political branches are well aware of this issue. In
                 2007, the U. S. House of Representatives voted 235 to 184
                 to prohibit employment discrimination on the basis of sex-
                 ual orientation. In 2013, the U. S. Senate voted 64 to 32 in
                 favor of a similar ban. In 2019, the House again voted 236
                 to 173 to outlaw employment discrimination on the basis of
                 sexual orientation. Although both the House and Senate
                 have voted at different times to prohibit sexual orientation
                 discrimination, the two Houses have not yet come together
                 with the President to enact a bill into law.
                    The policy arguments for amending Title VII are very
                 weighty. The Court has previously stated, and I fully agree,
                 that gay and lesbian Americans “cannot be treated as social
                 outcasts or as inferior in dignity and worth.” Masterpiece
                 Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 584 U. S.
                 ___, ___ (2018) (slip op., at 9).
                    But we are judges, not Members of Congress. And in Al-
                 exander Hamilton’s words, federal judges exercise “neither
                 Force nor Will, but merely judgment.” The Federalist No.
                 78, p. 523 (J. Cooke ed. 1961). Under the Constitution’s
                 separation of powers, our role as judges is to interpret and
                 follow the law as written, regardless of whether we like the
                 result. Cf. Texas v. Johnson, 491 U. S. 397, 420–421 (1989)
                 (Kennedy, J., concurring). Our role is not to make or amend
                 the law. As written, Title VII does not prohibit employment
                 discrimination because of sexual orientation.1

                 ——————
                    1 Although this opinion does not separately analyze discrimination on

                 the basis of gender identity, this opinion’s legal analysis of discrimina-
                 tion on the basis of sexual orientation would apply in much the same way
                 to discrimination on the basis of gender identity.
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                                                 I
                    Title VII makes it unlawful for employers to discriminate
                 because of “race, color, religion, sex, or national origin.” 42
                 U. S. C. §2000e–2(a)(1).2 As enacted in 1964, Title VII did
                 not prohibit other forms of employment discrimination,
                 such as age discrimination, disability discrimination, or
                 sexual orientation discrimination.
                    Over time, Congress has enacted new employment dis-
                 crimination laws. In 1967, Congress passed and President
                 Johnson signed the Age Discrimination in Employment Act.
                 81 Stat. 602. In 1973, Congress passed and President
                 Nixon signed the Rehabilitation Act, which in substance
                 prohibited disability discrimination against federal and cer-
                 tain other employees. 87 Stat. 355. In 1990, Congress
                 passed and President George H. W. Bush signed the com-
                 prehensive Americans with Disabilities Act. 104 Stat. 327.
                    To prohibit age discrimination and disability discrimina-
                 tion, this Court did not unilaterally rewrite or update the


                 ——————
                    2 In full, the statute provides:

                    “It shall be an unlawful employment practice for an employer—
                    “(1) to fail or refuse to hire or to discharge any individual, or otherwise
                 to discriminate against any individual with respect to his compensation,
                 terms, conditions, or privileges of employment, because of such individ-
                 ual’s race, color, religion, sex, or national origin; or
                    “(2) to limit, segregate, or classify his employees or applicants for em-
                 ployment in any way which would deprive or tend to deprive any indi-
                 vidual of employment opportunities or otherwise adversely affect his sta-
                 tus as an employee, because of such individual’s race, color, religion, sex,
                 or national origin.” 42 U. S. C. §2000e–2(a) (emphasis added).
                    As the Court today recognizes, Title VII contains an important exemp-
                 tion for religious organizations. §2000e–1(a); see also §2000e–2(e). The
                 First Amendment also safeguards the employment decisions of religious
                 employers. See Hosanna-Tabor Evangelical Lutheran Church and
                 School v. EEOC, 565 U. S. 171, 188–195 (2012). So too, the Religious
                 Freedom Restoration Act of 1993 exempts employers from federal laws
                 that substantially burden the exercise of religion, subject to limited ex-
                 ceptions. §2000bb–1.
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                 law. Rather, Congress and the President enacted new leg-
                 islation, as prescribed by the Constitution’s separation of
                 powers.
                    For several decades, Congress has considered numerous
                 bills to prohibit employment discrimination based on sexual
                 orientation. But as noted above, although Congress has
                 come close, it has not yet shouldered a bill over the legisla-
                 tive finish line.
                    In the face of the unsuccessful legislative efforts (so far)
                 to prohibit sexual orientation discrimination, judges may
                 not rewrite the law simply because of their own policy
                 views. Judges may not update the law merely because they
                 think that Congress does not have the votes or the fortitude.
                 Judges may not predictively amend the law just because
                 they believe that Congress is likely to do it soon anyway.
                    If judges could rewrite laws based on their own policy
                 views, or based on their own assessments of likely future
                 legislative action, the critical distinction between legisla-
                 tive authority and judicial authority that undergirds the
                 Constitution’s separation of powers would collapse, thereby
                 threatening the impartial rule of law and individual liberty.
                 As James Madison stated: “Were the power of judging
                 joined with the legislative, the life and liberty of the subject
                 would be exposed to arbitrary controul, for the judge would
                 then be the legislator.” The Federalist No. 47, at 326 (citing
                 Montesquieu). If judges could, for example, rewrite or up-
                 date securities laws or healthcare laws or gun laws or envi-
                 ronmental laws simply based on their own policy views, the
                 Judiciary would become a democratically illegitimate su-
                 per-legislature—unelected, and hijacking the important
                 policy decisions reserved by the Constitution to the people’s
                 elected representatives.
                    Because judges interpret the law as written, not as they
                 might wish it were written, the first 10 U. S. Courts of Ap-
                 peals to consider whether Title VII prohibits sexual orien-
                 tation discrimination all said no. Some 30 federal judges
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                 considered the question. All 30 judges said no, based on the
                 text of the statute. 30 out of 30.
                    But in the last few years, a new theory has emerged. To
                 end-run the bedrock separation-of-powers principle that
                 courts may not unilaterally rewrite statutes, the plaintiffs
                 here (and, recently, two Courts of Appeals) have advanced
                 a novel and creative argument. They contend that discrim-
                 ination “because of sexual orientation” and discrimination
                 “because of sex” are actually not separate categories of dis-
                 crimination after all. Instead, the theory goes, discrimina-
                 tion because of sexual orientation always qualifies as dis-
                 crimination because of sex: When a gay man is fired
                 because he is gay, he is fired because he is attracted to men,
                 even though a similarly situated woman would not be fired
                 just because she is attracted to men. According to this the-
                 ory, it follows that the man has been fired, at least as a lit-
                 eral matter, because of his sex.
                    Under this literalist approach, sexual orientation dis-
                 crimination automatically qualifies as sex discrimination,
                 and Title VII’s prohibition against sex discrimination there-
                 fore also prohibits sexual orientation discrimination—and
                 actually has done so since 1964, unbeknownst to everyone.
                 Surprisingly, the Court today buys into this approach.
                 Ante, at 9–12.
                    For the sake of argument, I will assume that firing some-
                 one because of their sexual orientation may, as a very literal
                 matter, entail making a distinction based on sex. But to
                 prevail in this case with their literalist approach, the plain-
                 tiffs must also establish one of two other points. The plain-
                 tiffs must establish that courts, when interpreting a stat-
                 ute, adhere to literal meaning rather than ordinary
                 meaning. Or alternatively, the plaintiffs must establish
                 that the ordinary meaning of “discriminate because of
                 sex”—not just the literal meaning—encompasses sexual
                 orientation discrimination. The plaintiffs fall short on both
                 counts.
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                    First, courts must follow ordinary meaning, not literal
                 meaning. And courts must adhere to the ordinary meaning
                 of phrases, not just the meaning of the words in a phrase.
                    There is no serious debate about the foundational inter-
                 pretive principle that courts adhere to ordinary meaning,
                 not literal meaning, when interpreting statutes. As Justice
                 Scalia explained, “the good textualist is not a literalist.” A.
                 Scalia, A Matter of Interpretation 24 (1997). Or as Profes-
                 sor Eskridge stated: The “prime directive in statutory inter-
                 pretation is to apply the meaning that a reasonable reader
                 would derive from the text of the law,” so that “for hard
                 cases as well as easy ones, the ordinary meaning (or the
                 ‘everyday meaning’ or the ‘commonsense’ reading) of the
                 relevant statutory text is the anchor for statutory interpre-
                 tation.” W. Eskridge, Interpreting Law 33, 34–35 (2016)
                 (footnote omitted). Or as Professor Manning put it, proper
                 statutory interpretation asks “how a reasonable person,
                 conversant with the relevant social and linguistic conven-
                 tions, would read the text in context. This approach recog-
                 nizes that the literal or dictionary definitions of words will
                 often fail to account for settled nuances or background con-
                 ventions that qualify the literal meaning of language and,
                 in particular, of legal language.” Manning, The Absurdity
                 Doctrine, 116 Harv. L. Rev. 2387, 2392–2393 (2003). Or as
                 Professor Nelson wrote: No “mainstream judge is interested
                 solely in the literal definitions of a statute’s words.” Nelson,
                 What Is Textualism?, 91 Va. L. Rev. 347, 376 (2005). The
                 ordinary meaning that counts is the ordinary public mean-
                 ing at the time of enactment—although in this case, that
                 temporal principle matters little because the ordinary
                 meaning of “discriminate because of sex” was the same in
                 1964 as it is now.
                    Judges adhere to ordinary meaning for two main reasons:
                 rule of law and democratic accountability. A society gov-
                 erned by the rule of law must have laws that are known and
                 understandable to the citizenry. And judicial adherence to
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                 ordinary meaning facilitates the democratic accountability
                 of America’s elected representatives for the laws they enact.
                 Citizens and legislators must be able to ascertain the law
                 by reading the words of the statute. Both the rule of law
                 and democratic accountability badly suffer when a court
                 adopts a hidden or obscure interpretation of the law, and
                 not its ordinary meaning.
                    Consider a simple example of how ordinary meaning dif-
                 fers from literal meaning. A statutory ban on “vehicles in
                 the park” would literally encompass a baby stroller. But no
                 good judge would interpret the statute that way because the
                 word “vehicle,” in its ordinary meaning, does not encompass
                 baby strollers.
                    The ordinary meaning principle is longstanding and well
                 settled. Time and again, this Court has rejected literalism
                 in favor of ordinary meaning. Take a few examples:
                     The Court recognized that beans may be seeds “in the
                      language of botany or natural history,” but concluded
                      that beans are not seeds “in commerce” or “in common
                      parlance.” Robertson v. Salomon, 130 U. S. 412, 414
                      (1889).
                     The Court explained that tomatoes are literally “the
                      fruit of a vine,” but “in the common language of the
                      people,” tomatoes are vegetables. Nix v. Hedden, 149
                      U. S. 304, 307 (1893).
                     The Court stated that the statutory term “vehicle” does
                      not cover an aircraft: “No doubt etymologically it is
                      possible to use the word to signify a conveyance work-
                      ing on land, water or air . . . . But in everyday speech
                      ‘vehicle’ calls up the picture of a thing moving on land.”
                      McBoyle v. United States, 283 U. S. 25, 26 (1931).
                     The Court pointed out that “this Court’s interpretation
                      of the three-judge-court statutes has frequently devi-
                      ated from the path of literalism.” Gonzalez v. Auto-
                      matic Employees Credit Union, 419 U. S. 90, 96 (1974).
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                     The Court refused a reading of “mineral deposits” that
                      would include water, even if “water is a ‘mineral,’ in
                      the broadest sense of that word,” because it would
                      bring about a “major . . . alteration in established legal
                      relationships based on nothing more than an overly lit-
                      eral reading of a statute, without any regard for its
                      context or history.” Andrus v. Charlestone Stone Prod-
                      ucts Co., 436 U. S. 604, 610, 616 (1978).
                     The Court declined to interpret “facilitating” a drug
                      distribution crime in a way that would cover purchas-
                      ing drugs, because the “literal sweep of ‘facilitate’ sits
                      uncomfortably with common usage.” Abuelhawa v.
                      United States, 556 U. S. 816, 820 (2009).
                     The Court rebuffed a literal reading of “personnel
                      rules” that would encompass any rules that personnel
                      must follow (as opposed to human resources rules
                      about personnel), and stated that no one “using ordi-
                      nary language would describe” personnel rules “in this
                      manner.” Milner v. Department of Navy, 562 U. S. 562,
                      578 (2011).
                     The Court explained that, when construing statutory
                      phrases such as “arising from,” it avoids “uncritical lit-
                      eralism leading to results that no sensible person could
                      have intended.” Jennings v. Rodriguez, 583 U. S. ___,
                      ___–___ (2018) (plurality opinion) (slip op., at 9–10) (in-
                      ternal quotation marks omitted).
                   Those cases exemplify a deeply rooted principle: When
                 there is a divide between the literal meaning and the ordi-
                 nary meaning, courts must follow the ordinary meaning.
                   Next is a critical point of emphasis in this case. The dif-
                 ference between literal and ordinary meaning becomes es-
                 pecially important when—as in this case—judges consider
                 phrases in statutes. (Recall that the shorthand version of
                 the phrase at issue here is “discriminate because of sex.”)3
                 ——————
                  3 The full phrasing of the statute is provided above in footnote 2. This
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                 Courts must heed the ordinary meaning of the phrase as a
                 whole, not just the meaning of the words in the phrase.
                 That is because a phrase may have a more precise or con-
                 fined meaning than the literal meaning of the individual
                 words in the phrase. Examples abound. An “American
                 flag” could literally encompass a flag made in America, but
                 in common parlance it denotes the Stars and Stripes. A
                 “three-pointer” could literally include a field goal in football,
                 but in common parlance, it is a shot from behind the arc in
                 basketball. A “cold war” could literally mean any winter-
                 time war, but in common parlance it signifies a conflict
                 short of open warfare. A “washing machine” could literally
                 refer to any machine used for washing any item, but in eve-
                 ryday speech it means a machine for washing clothes.
                    This Court has often emphasized the importance of stick-
                 ing to the ordinary meaning of a phrase, rather than the
                 meaning of words in the phrase. In FCC v. AT&T Inc., 562
                 U. S. 397 (2011), for example, the Court explained:
                         “AT&T’s argument treats the term ‘personal privacy’
                      as simply the sum of its two words: the privacy of a per-
                      son. . . . But two words together may assume a more
                      particular meaning than those words in isolation. We
                      understand a golden cup to be a cup made of or resem-
                      bling gold. A golden boy, on the other hand, is one who
                      is charming, lucky, and talented. A golden opportunity
                      is one not to be missed. ‘Personal’ in the phrase ‘per-
                      sonal privacy’ conveys more than just ‘of a person.’ It
                      suggests a type of privacy evocative of human con-
                      cerns—not the sort usually associated with an entity
                      like, say, AT&T.” Id., at 406.

                 ——————
                 opinion uses “discriminate because of sex” as shorthand for “discriminate
                 . . . because of . . . sex.” Also, the plaintiffs do not dispute that the ordi-
                 nary meaning of the statutory phrase “discriminate” because of sex is the
                 same as the statutory phrase “to fail or refuse to hire or to discharge any
                 individual” because of sex.
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                                       KAVANAUGH, J., dissenting

                 Exactly right and exactly on point in this case.
                   Justice Scalia explained the extraordinary importance of
                 hewing to the ordinary meaning of a phrase: “Adhering to
                 the fair meaning of the text (the textualist’s touchstone)
                 does not limit one to the hyperliteral meaning of each word
                 in the text. In the words of Learned Hand: ‘a sterile liter-
                 alism . . . loses sight of the forest for the trees.’ The full
                 body of a text contains implications that can alter the literal
                 meaning of individual words.” A. Scalia & B. Garner, Read-
                 ing Law 356 (2012) (footnote omitted). Put another way,
                 “the meaning of a sentence may be more than that of the
                 separate words, as a melody is more than the notes.”
                 Helvering v. Gregory, 69 F. 2d 809, 810–811 (CA2 1934) (L.
                 Hand, J.). Judges must take care to follow ordinary mean-
                 ing “when two words combine to produce a meaning that is
                 not the mechanical composition of the two words sepa-
                 rately.” Eskridge, Interpreting Law, at 62. Dictionaries are
                 not “always useful for determining the ordinary meaning of
                 word clusters (like ‘driving a vehicle’) or phrases and
                 clauses or entire sentences.” Id., at 44. And we must rec-
                 ognize that a phrase can cover a “dramatically smaller cat-
                 egory than either component term.” Id., at 62.
                   If the usual evidence indicates that a statutory phrase
                 bears an ordinary meaning different from the literal
                 strung-together definitions of the individual words in the
                 phrase, we may not ignore or gloss over that discrepancy.
                 “Legislation cannot sensibly be interpreted by stringing to-
                 gether dictionary synonyms of each word and proclaiming
                 that, if the right example of the meaning of each is selected,
                 the ‘plain meaning’ of the statute leads to a particular re-
                 sult. No theory of interpretation, including textualism it-
                 self, is premised on such an approach.” 883 F. 3d 100, 144,
                 n. 7 (CA2 2018) (Lynch, J., dissenting).4
                 ——————
                    4 Another longstanding canon of statutory interpretation—the absurd-

                 ity canon—similarly reflects the law’s focus on ordinary meaning rather
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                    In other words, this Court’s precedents and longstanding
                 principles of statutory interpretation teach a clear lesson:
                 Do not simply split statutory phrases into their component
                 words, look up each in a dictionary, and then mechanically
                 put them together again, as the majority opinion today mis-
                 takenly does. See ante, at 5–9. To reiterate Justice Scalia’s
                 caution, that approach misses the forest for the trees.
                    A literalist approach to interpreting phrases disrespects
                 ordinary meaning and deprives the citizenry of fair notice
                 of what the law is. It destabilizes the rule of law and
                 thwarts democratic accountability. For phrases as well as
                 terms, the “linchpin of statutory interpretation is ordinary
                 meaning, for that is going to be most accessible to the citi-
                 zenry desirous of following the law and to the legislators
                 and their staffs drafting the legal terms of the plans
                 launched by statutes and to the administrators and judges
                 implementing the statutory plan.” Eskridge, Interpreting
                 Law, at 81; see Scalia, A Matter of Interpretation, at 17.
                    Bottom line: Statutory Interpretation 101 instructs
                 courts to follow ordinary meaning, not literal meaning, and
                 to adhere to the ordinary meaning of phrases, not just the
                 meaning of the words in a phrase.
                    Second, in light of the bedrock principle that we must ad-
                 here to the ordinary meaning of a phrase, the question in
                 this case boils down to the ordinary meaning of the phrase
                 “discriminate because of sex.” Does the ordinary meaning
                 of that phrase encompass discrimination because of sexual
                 orientation? The answer is plainly no.


                 ——————
                 than literal meaning. That canon tells courts to avoid construing a stat-
                 ute in a way that would lead to absurd consequences. The absurdity
                 canon, properly understood, is “an implementation of (rather than . . . an
                 exception to) the ordinary meaning rule.” W. Eskridge, Interpreting Law
                 72 (2016). “What the rule of absurdity seeks to do is what all rules of
                 interpretation seek to do: make sense of the text.” A. Scalia & B. Garner,
                 Reading Law 235 (2012).
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                    On occasion, it can be difficult for judges to assess ordi-
                 nary meaning. Not here. Both common parlance and com-
                 mon legal usage treat sex discrimination and sexual orien-
                 tation discrimination as two distinct categories of
                 discrimination—back in 1964 and still today.
                    As to common parlance, few in 1964 (or today) would de-
                 scribe a firing because of sexual orientation as a firing be-
                 cause of sex. As commonly understood, sexual orientation
                 discrimination is distinct from, and not a form of, sex dis-
                 crimination. The majority opinion acknowledges the com-
                 mon understanding, noting that the plaintiffs here proba-
                 bly did not tell their friends that they were fired because of
                 their sex. Ante, at 16. That observation is clearly correct.
                 In common parlance, Bostock and Zarda were fired because
                 they were gay, not because they were men.
                    Contrary to the majority opinion’s approach today, this
                 Court has repeatedly emphasized that common parlance
                 matters in assessing the ordinary meaning of a statute, be-
                 cause courts heed how “most people” “would have under-
                 stood” the text of a statute when enacted. New Prime Inc.
                 v. Oliveira, 586 U. S. ___, ___–___ (2019) (slip op., at 6–7);
                 see Henson v. Santander Consumer USA Inc., 582 U. S. ___,
                 ___ (2017) (slip op., at 4) (using a conversation between
                 friends to demonstrate ordinary meaning); see also Wiscon-
                 sin Central Ltd. v. United States, 585 U. S. ___, ___–___
                 (2018) (slip op., at 2–3) (similar); AT&T, 562 U. S., at 403–
                 404 (similar).
                    Consider the employer who has four employees but must
                 fire two of them for financial reasons. Suppose the four em-
                 ployees are a straight man, a straight woman, a gay man,
                 and a lesbian. The employer with animosity against women
                 (animosity based on sex) will fire the two women. The em-
                 ployer with animosity against gays (animosity based on sex-
                 ual orientation) will fire the gay man and the lesbian.
                 Those are two distinct harms caused by two distinct biases
                 that have two different outcomes. To treat one as a form of
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                 the other—as the majority opinion does—misapprehends
                 common language, human psychology, and real life. See
                 Hively v. Ivy Tech Community College of Ind., 853 F. 3d 339,
                 363 (CA7 2017) (Sykes, J., dissenting).
                    It also rewrites history. Seneca Falls was not Stonewall.
                 The women’s rights movement was not (and is not) the gay
                 rights movement, although many people obviously support
                 or participate in both. So to think that sexual orientation
                 discrimination is just a form of sex discrimination is not just
                 a mistake of language and psychology, but also a mistake of
                 history and sociology.
                    Importantly, an overwhelming body of federal law re-
                 flects and reinforces the ordinary meaning and demon-
                 strates that sexual orientation discrimination is distinct
                 from, and not a form of, sex discrimination. Since enacting
                 Title VII in 1964, Congress has never treated sexual orien-
                 tation discrimination the same as, or as a form of, sex dis-
                 crimination. Instead, Congress has consistently treated sex
                 discrimination and sexual orientation discrimination as le-
                 gally distinct categories of discrimination.
                    Many federal statutes prohibit sex discrimination, and
                 many federal statutes also prohibit sexual orientation dis-
                 crimination. But those sexual orientation statutes ex-
                 pressly prohibit sexual orientation discrimination in addi-
                 tion to expressly prohibiting sex discrimination. Every
                 single one. To this day, Congress has never defined sex dis-
                 crimination to encompass sexual orientation discrimina-
                 tion. Instead, when Congress wants to prohibit sexual ori-
                 entation discrimination in addition to sex discrimination,
                 Congress explicitly refers to sexual orientation discrimina-
                 tion.5
                 ——————
                   5 See 18 U. S. C. §249(a)(2)(A) (criminalizing violence because of “gen-

                 der, sexual orientation”); 20 U. S. C. §1092(f )(1)(F)(ii) (requiring funding
                 recipients to collect statistics on crimes motivated by the victim’s “gen-
                 der, . . . sexual orientation”); 34 U. S. C. §12291(b)(13)(A) (prohibiting
                 discrimination on the basis of “sex, . . . sexual orientation”); §30501(1)
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                    That longstanding and widespread congressional prac-
                 tice matters. When interpreting statutes, as the Court has
                 often said, we “usually presume differences in language”
                 convey “differences in meaning.” Wisconsin Central, 585
                 U. S., at ___ (slip op., at 4) (internal quotation marks omit-
                 ted). When Congress chooses distinct phrases to accom-
                 plish distinct purposes, and does so over and over again for
                 decades, we may not lightly toss aside all of Congress’s care-
                 ful handiwork. As Justice Scalia explained for the Court,
                 “it is not our function” to “treat alike subjects that different
                 Congresses have chosen to treat differently.” West Virginia
                 Univ. Hospitals, Inc. v. Casey, 499 U. S. 83, 101 (1991); see
                 id., at 92.
                    And the Court has likewise stressed that we may not read
                 “a specific concept into general words when precise lan-
                 guage in other statutes reveals that Congress knew how to
                 identify that concept.” Eskridge, Interpreting Law, at 415;
                 see University of Tex. Southwestern Medical Center v. Nas-
                 sar, 570 U. S. 338, 357 (2013); Arlington Central School
                 Dist. Bd. of Ed. v. Murphy, 548 U. S. 291, 297–298 (2006);
                 Jama v. Immigration and Customs Enforcement, 543 U. S.
                 335, 341–342 (2005); Custis v. United States, 511 U. S. 485,
                 491–493 (1994); West Virginia Univ. Hospitals, 499 U. S.,
                 at 99.
                 ——————
                 (identifying violence motivated by “gender, sexual orientation” as na-
                 tional problem); §30503(a)(1)(C) (authorizing Attorney General to assist
                 state, local, and tribal investigations of crimes motivated by the victim’s
                 “gender, sexual orientation”); §§41305(b)(1), (3) (requiring Attorney Gen-
                 eral to acquire data on crimes motivated by “gender . . . , sexual orienta-
                 tion,” but disclaiming any cause of action including one “based on dis-
                 crimination due to sexual orientation”); 42 U. S. C. §294e–1(b)(2)
                 (conditioning funding on institution’s inclusion of persons of “different
                 genders and sexual orientations”); see also United States Sentencing
                 Commission, Guidelines Manual §3A1.1(a) (Nov. 2018) (authorizing in-
                 creased offense level if the crime was motivated by the victim’s “gender
                 . . . or sexual orientation”); 2E Guide to Judiciary Policy §320 (2019) (pro-
                 hibiting judicial discrimination because of “sex, . . . sexual orientation”).
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                    So it is here. As demonstrated by all of the statutes cov-
                 ering sexual orientation discrimination, Congress knows
                 how to prohibit sexual orientation discrimination. So
                 courts should not read that specific concept into the general
                 words “discriminate because of sex.” We cannot close our
                 eyes to the indisputable fact that Congress—for several dec-
                 ades in a large number of statutes—has identified sex dis-
                 crimination and sexual orientation discrimination as two
                 distinct categories.
                    Where possible, we also strive to interpret statutes so as
                 not to create undue surplusage. It is not uncommon to find
                 some scattered redundancies in statutes. But reading sex
                 discrimination to encompass sexual orientation discrimina-
                 tion would cast aside as surplusage the numerous refer-
                 ences to sexual orientation discrimination sprinkled
                 throughout the U. S. Code in laws enacted over the last 25
                 years.
                    In short, an extensive body of federal law both reflects
                 and reinforces the widespread understanding that sexual
                 orientation discrimination is distinct from, and not a form
                 of, sex discrimination.
                    The story is the same with bills proposed in Congress.
                 Since the 1970s, Members of Congress have introduced
                 many bills to prohibit sexual orientation discrimination in
                 the workplace. Until very recently, all of those bills would
                 have expressly established sexual orientation as a sepa-
                 rately proscribed category of discrimination. The bills did
                 not define sex discrimination to encompass sexual orienta-
                 tion discrimination.6
                 ——————
                     6 See, e.g., H. R. 14752, 93d Cong., 2d Sess., §§6, 11 (1974) (amending

                 Title VII “by adding after the word ‘sex’ ” the words “ ‘sexual orienta-
                 tion,’ ” defined as “choice of sexual partner according to gender”); H. R.
                 451, 95th Cong., 1st Sess., §§6, 11 (1977) (“adding after the word ‘sex,’
                 . . . ‘affectional or sexual preference,’ ” defined as “having or manifesting
                 an emotional or physical attachment to another consenting person or
                 persons of either gender, or having or manifesting a preference for such
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                    The proposed bills are telling not because they are rele-
                 vant to congressional intent regarding Title VII. See Cen-
                 tral Bank of Denver, N. A. v. First Interstate Bank of Den-
                 ver, N. A., 511 U. S. 164, 186–188 (1994). Rather, the
                 proposed bills are telling because they, like the enacted
                 laws, further demonstrate the widespread usage of the Eng-
                 lish language in the United States: Sexual orientation dis-
                 crimination is distinct from, and not a form of, sex discrim-
                 ination.
                    Presidential Executive Orders reflect that same common
                 understanding. In 1967, President Johnson signed an Ex-
                 ecutive Order prohibiting sex discrimination in federal em-
                 ployment. In 1969, President Nixon issued a new order that
                 did the same. Exec. Order No. 11375, 3 CFR 684 (1966–
                 1970 Comp.); Exec. Order No. 11478, id., at 803. In 1998,
                 President Clinton charted a new path and signed an Exec-
                 utive Order prohibiting sexual orientation discrimination
                 in federal employment. Exec. Order No. 13087, 3 CFR 191
                 (1999). The Nixon and Clinton Executive Orders remain in
                 effect today.

                 ——————
                 attachment”); S. 1708, 97th Cong., 1st Sess., §§1, 2 (1981) (“inserting af-
                 ter ‘sex’ . . . ‘sexual orientation,’ ” defined as “ ‘homosexuality, heterosex-
                 uality, and bisexuality’ ”); H. R. 230, 99th Cong., 1st Sess., §§4, 8 (1985)
                 (“inserting after ‘sex,’ . . . ‘affectional or sexual orientation,’ ” defined as
                 “homosexuality, heterosexuality, and bisexuality”); S. 47, 101st Cong.,
                 1st Sess., §§5, 9 (1989) (“inserting after ‘sex,’ . . . ‘affectional or sexual
                 orientation,’ ” defined as “homosexuality, heterosexuality, and bisexual-
                 ity”); H. R. 431, 103d Cong., 1st Sess., §2 (1993) (prohibiting discrimina-
                 tion “on account of . . . sexual orientation” without definition); H. R. 1858,
                 105th Cong., 1st Sess., §§3, 4 (1997) (prohibiting discrimination “on the
                 basis of sexual orientation,” defined as “homosexuality, bisexuality, or
                 heterosexuality”); H. R. 2692, 107th Cong., 1st Sess., §§3, 4 (2001) (pro-
                 hibiting discrimination “because of . . . sexual orientation,” defined as
                 “homosexuality, bisexuality, or heterosexuality”); H. R. 2015, 110th
                 Cong., 1st Sess., §§3, 4 (2007) (prohibiting discrimination “because of . . .
                 sexual orientation,” defined as “homosexuality, heterosexuality, or bisex-
                 uality”); S. 811, 112th Cong., 1st Sess., §§3, 4 (2011) (same).
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                    Like the relevant federal statutes, the 1998 Clinton Ex-
                 ecutive Order expressly added sexual orientation as a new,
                 separately prohibited form of discrimination. As Judge
                 Lynch cogently spelled out, “the Clinton Administration did
                 not argue that the prohibition of sex discrimination in” the
                 prior 1969 Executive Order “already banned, or henceforth
                 would be deemed to ban, sexual orientation discrimina-
                 tion.” 883 F. 3d, at 152, n. 22 (dissenting opinion). In short,
                 President Clinton’s 1998 Executive Order indicates that the
                 Executive Branch, like Congress, has long understood sex-
                 ual orientation discrimination to be distinct from, and not
                 a form of, sex discrimination.
                    Federal regulations likewise reflect that same under-
                 standing. The Office of Personnel Management is the fed-
                 eral agency that administers and enforces personnel rules
                 across the Federal Government. OPM has issued regula-
                 tions that “govern . . . the employment practices of the Fed-
                 eral Government generally, and of individual agencies.” 5
                 CFR §§300.101, 300.102 (2019). Like the federal statutes
                 and the Presidential Executive Orders, those OPM regula-
                 tions separately prohibit sex discrimination and sexual ori-
                 entation discrimination.
                    The States have proceeded in the same fashion. A major-
                 ity of States prohibit sexual orientation discrimination in
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                 employment, either by legislation applying to most work-
                 ers,7 an executive order applying to public employees,8 or
                 ——————
                     7 See Cal. Govt. Code Ann. §12940(a) (West 2020 Cum. Supp.) (prohib-

                 iting discrimination because of “sex, . . . sexual orientation,” etc.); Colo.
                 Rev. Stat. §24–34–402(1)(a) (2019) (prohibiting discrimination because
                 of “sex, sexual orientation,” etc.); Conn. Gen. Stat. §46a–81c (2017) (pro-
                 hibiting discrimination because of “sexual orientation”); Del. Code Ann.,
                 Tit. 19, §711 (2018 Cum. Supp.) (prohibiting discrimination because of
                 “sex (including pregnancy), sexual orientation,” etc.); D. C. Code §2–
                 1402.11(a)(1) (2019 Cum. Supp.) (prohibiting discrimination based on
                 “sex, . . . sexual orientation,” etc.); Haw. Rev. Stat. §378–2(a)(1)(A) (2018
                 Cum. Supp.) (prohibiting discrimination because of “sex[,] . . . sexual ori-
                 entation,” etc.); Ill. Comp. Stat., ch. 775, §§5/1–103(Q), 5/2–102(A) (West
                 2018) (prohibiting discrimination because of “sex, . . . sexual orientation,”
                 etc.); Iowa Code §216.6(1)(a) (2018) (prohibiting discrimination because
                 of “sex, sexual orientation,” etc.); Me. Rev. Stat. Ann., Tit. 5, §4572(1)(A)
                 (2013) (prohibiting discrimination because of “sex, sexual orientation,”
                 etc.); Md. State Govt. Code Ann. §20–606(a)(1)(i) (Supp. 2019) (prohibit-
                 ing discrimination because of “sex, . . . sexual orientation,” etc.); Mass.
                 Gen. Laws, ch. 151B, §4 (2018) (prohibiting discrimination because of
                 “sex, . . . sexual orientation,” etc.); Minn. Stat. §363A.08(2) (2018) (pro-
                 hibiting discrimination because of “sex, . . . sexual orientation,” etc.);
                 Nev. Rev. Stat. §613.330(1) (2017) (prohibiting discrimination because of
                 “sex, sexual orientation,” etc.); N. H. Rev. Stat. Ann. §354–A:7(I) (2018
                 Cum. Supp.) (prohibiting discrimination because of “sex,” “sexual orien-
                 tation,” etc.); N. J. Stat. Ann. §10:5–12(a) (West Supp. 2019) (prohibiting
                 discrimination because of “sexual orientation, . . . sex,” etc.); N. M. Stat.
                 Ann. §28–1–7(A) (Supp. 2019) (prohibiting discrimination because of
                 “sex, sexual orientation,” etc.); N. Y. Exec. Law Ann. §296(1)(a) (West
                 Supp. 2020) (prohibiting discrimination because of “sexual orientation,
                 . . . sex,” etc.); Ore. Rev. Stat. §659A.030(1) (2019) (prohibiting discrimi-
                 nation because of “sex, sexual orientation,” etc.); R. I. Gen. Laws §28–5–
                 7(1) (Supp. 2019) (prohibiting discrimination because of “sex, sexual ori-
                 entation,” etc.); Utah Code §34A–5–106(1) (2019) (prohibiting discrimi-
                 nation because of “sex; . . . sexual orientation,” etc.); Vt. Stat. Ann., Tit.
                 21, §495(a)(1) (2019 Cum. Supp.) (prohibiting discrimination because of
                 “sex, sexual orientation,” etc.); Wash. Rev. Code §49.60.180 (2008) (pro-
                 hibiting discrimination because of “sex, . . . sexual orientation,” etc.).
                     8 See, e.g., Alaska Admin. Order No. 195 (2002) (prohibiting public-em-

                 ployment discrimination because of “sex, . . . sexual orientation,” etc.);
                 Ariz. Exec. Order No. 2003–22 (2003) (prohibiting public-employment
                 discrimination because of “sexual orientation”); Cal. Exec. Order No. B–
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                 both. Almost every state statute or executive order pro-
                 scribing sexual orientation discrimination expressly pro-
                 hibits sexual orientation discrimination separately from
                 the State’s ban on sex discrimination.
                 ——————
                 54–79 (1979) (prohibiting public-employment discrimination because of
                 “sexual preference”); Colo. Exec. Order (Dec. 10, 1990) (prohibiting pub-
                 lic-employment discrimination because of “gender, sexual orientation,”
                 etc.); Del. Exec. Order No. 8 (2009) (prohibiting public-employment dis-
                 crimination because of “gender, . . . sexual orientation,” etc.); Ind. Gover-
                 nor’s Pol’y Statement (2018) (prohibiting public-employment discrimina-
                 tion because of “sex, . . . sexual orientation,” etc.); Kan. Exec. Order No.
                 19–02 (2019) (prohibiting public-employment discrimination because of
                 “gender, sexual orientation,” etc.); Ky. Exec. Order No. 2008–473 (2008)
                 (prohibiting public-employment discrimination because of “sex, . . . sex-
                 ual orientation,” etc.); Mass. Exec. Order No. 526 (2011) (prohibiting pub-
                 lic-employment discrimination because of “gender, . . . sexual orienta-
                 tion,” etc.); Minn. Exec. Order No. 86–14 (1986) (prohibiting public-
                 employment discrimination because of “sexual orientation”); Mo. Exec.
                 Order No. 10–24 (2010) (prohibiting public-employment discrimination
                 because of “sex, . . . sexual orientation,” etc.); Mont. Exec. Order No. 04–
                 2016 (2016) (prohibiting public-employment discrimination because of
                 “sex, . . . sexual orientation,” etc.); N. H. Exec. Order No. 2016–04 (2016)
                 (prohibiting public-employment discrimination because of “sex, sexual
                 orientation,” etc.); N. J. Exec. Order No. 39 (1991) (prohibiting public-
                 employment discrimination because of “sexual orientation”); N. C. Exec.
                 Order No. 24 (2017) (prohibiting public-employment discrimination be-
                 cause of “sex, . . . sexual orientation,” etc.); Ohio Exec. Order No. 2019–
                 05D (2019) (prohibiting public-employment discrimination because of
                 “gender, . . . sexual orientation,” etc.); Ore. Exec. Order No. 19–08 (2019)
                 (prohibiting public-employment discrimination because of “sexual orien-
                 tation”); Pa. Exec. Order No. 2016–04 (2016) (prohibiting public-employ-
                 ment discrimination because of “gender, sexual orientation,” etc.); R. I.
                 Exec. Order No. 93–1 (1993) (prohibiting public-employment discrimina-
                 tion because of “sex, . . . sexual orientation,” etc.); Va. Exec. Order No. 1
                 (2018) (prohibiting public-employment discrimination because of “sex,
                 . . . sexual orientation,” etc.); Wis. Exec. Order No. 1 (2019) (prohibiting
                 public-employment discrimination because of “sex, . . . sexual orienta-
                 tion,” etc.); cf. Wis. Stat. §§111.36(1)(d)(1), 111.321 (2016) (prohibiting
                 employment discrimination because of sex, defined as including discrim-
                 ination because of “sexual orientation”); Mich. Exec. Directive No. 2019–
                 9 (2019) (prohibiting public-employment discrimination because of “sex,”
                 defined as including “sexual orientation”).
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                   That common usage in the States underscores that sex-
                 ual orientation discrimination is commonly understood as a
                 legal concept distinct from sex discrimination.
                   And it is the common understanding in this Court as well.
                 Since 1971, the Court has employed rigorous or heightened
                 constitutional scrutiny of laws that classify on the basis of
                 sex. See United States v. Virginia, 518 U. S. 515, 531–533
                 (1996); J. E. B. v. Alabama ex rel. T. B., 511 U. S. 127, 136–
                 137 (1994); Craig v. Boren, 429 U. S. 190, 197–199 (1976);
                 Frontiero v. Richardson, 411 U. S. 677, 682–684 (1973) (plu-
                 rality opinion); Reed v. Reed, 404 U. S. 71, 75–77 (1971).
                 Over the last several decades, the Court has also decided
                 many cases involving sexual orientation. But in those
                 cases, the Court never suggested that sexual orientation
                 discrimination is just a form of sex discrimination. All of
                 the Court’s cases from Bowers to Romer to Lawrence to
                 Windsor to Obergefell would have been far easier to analyze
                 and decide if sexual orientation discrimination were just a
                 form of sex discrimination and therefore received the same
                 heightened scrutiny as sex discrimination under the Equal
                 Protection Clause. See Bowers v. Hardwick, 478 U. S. 186
                 (1986); Romer v. Evans, 517 U. S. 620 (1996); Lawrence v.
                 Texas, 539 U. S. 558 (2003); United States v. Windsor, 570
                 U. S. 744 (2013); Obergefell v. Hodges, 576 U. S. 644 (2015).
                   Did the Court in all of those sexual orientation cases just
                 miss that obvious answer—and overlook the fact that sex-
                 ual orientation discrimination is actually a form of sex dis-
                 crimination? That seems implausible. Nineteen Justices
                 have participated in those cases. Not a single Justice stated
                 or even hinted that sexual orientation discrimination was
                 just a form of sex discrimination and therefore entitled to
                 the same heightened scrutiny under the Equal Protection
                 Clause. The opinions in those five cases contain no trace of
                 such reasoning. That is presumably because everyone on
                 this Court, too, has long understood that sexual orientation
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                 discrimination is distinct from, and not a form of, sex dis-
                 crimination.
                   In sum, all of the usual indicators of ordinary meaning—
                 common parlance, common usage by Congress, the practice
                 in the Executive Branch, the laws in the States, and the
                 decisions of this Court—overwhelmingly establish that sex-
                 ual orientation discrimination is distinct from, and not a
                 form of, sex discrimination. The usage has been consistent
                 across decades, in both the federal and state contexts.
                   Judge Sykes summarized the law and language this way:
                 “To a fluent speaker of the English language—then and
                 now—. . . discrimination ‘because of sex’ is not reasonably
                 understood to include discrimination based on sexual orien-
                 tation, a different immutable characteristic. Classifying
                 people by sexual orientation is different than classifying
                 them by sex. The two traits are categorically distinct and
                 widely recognized as such. There is no ambiguity or vague-
                 ness here.” Hively, 853 F. 3d, at 363 (dissenting opinion).
                   To tie it all together, the plaintiffs have only two routes
                 to succeed here. Either they can say that literal meaning
                 overrides ordinary meaning when the two conflict. Or they
                 can say that the ordinary meaning of the phrase “discrimi-
                 nate because of sex” encompasses sexual orientation dis-
                 crimination. But the first flouts long-settled principles of
                 statutory interpretation. And the second contradicts the
                 widespread ordinary use of the English language in Amer-
                 ica.
                                               II
                   Until the last few years, every U. S. Court of Appeals to
                 address this question concluded that Title VII does not pro-
                 hibit discrimination because of sexual orientation. As noted
                 above, in the first 10 Courts of Appeals to consider the is-
                 sue, all 30 federal judges agreed that Title VII does not pro-
                 hibit sexual orientation discrimination. 30 out of 30
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                 judges.9
                    The unanimity of those 30 federal judges shows that the
                 question as a matter of law, as compared to as a matter of
                 policy, was not deemed close. Those 30 judges realized a
                 seemingly obvious point: Title VII is not a general grant of
                 authority for judges to fashion an evolving common law of
                 equal treatment in the workplace. Rather, Title VII identi-
                 fies certain specific categories of prohibited discrimination.
                 And under the separation of powers, Congress—not the
                 courts—possesses the authority to amend or update the
                 law, as Congress has done with age discrimination and dis-
                 ability discrimination, for example.
                    So what changed from the situation only a few years ago
                 when 30 out of 30 federal judges had agreed on this ques-
                 tion? Not the text of Title VII. The law has not changed.
                 Rather, the judges’ decisions have evolved.
                    To be sure, the majority opinion today does not openly
                 profess that it is judicially updating or amending Title VII.
                 Cf. Hively, 853 F. 3d, at 357 (Posner, J., concurring). But
                 the majority opinion achieves the same outcome by seizing
                 on literal meaning and overlooking the ordinary meaning of
                 the phrase “discriminate because of sex.” Although the ma-
                 jority opinion acknowledges that the meaning of a phrase
                 and the meaning of a phrase’s individual words could differ,
                 it dismisses phrasal meaning for purposes of this case. The
                 majority opinion repeatedly seizes on the meaning of the
                 ——————
                    9 See Higgins v. New Balance Athletic Shoe, Inc., 194 F. 3d 252, 258–

                 259 (CA1 1999); Simonton v. Runyon, 232 F. 3d 33, 36 (CA2 2000); Bibby
                 v. Philadelphia Coca Cola Bottling Co., 260 F. 3d 257, 261 (CA3 2001);
                 Wrightson v. Pizza Hut of America, Inc., 99 F. 3d 138, 143 (CA4 1996);
                 Blum v. Gulf Oil Corp., 597 F. 2d 936, 938 (CA5 1979) (per curiam); Ruth
                 v. Children’s Medical Center, 1991 WL 151158, *5 (CA6, Aug. 8, 1991)
                 (per curiam); Ulane v. Eastern Airlines, Inc., 742 F. 2d 1081, 1084–1085
                 (CA7 1984); Williamson v. A. G. Edwards & Sons, Inc., 876 F. 2d 69, 70
                 (CA8 1989) (per curiam); DeSantis v. Pacific Tel. & Tel. Co., 608 F. 2d
                 327, 329–330 (CA9 1979); Medina v. Income Support Div., N. M., 413
                 F. 3d 1131, 1135 (CA10 2005).
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                 statute’s individual terms, mechanically puts them back to-
                 gether, and generates an interpretation of the phrase “dis-
                 criminate because of sex” that is literal. See ante, at 5–9,
                 17, 24–26. But to reiterate, that approach to statutory in-
                 terpretation is fundamentally flawed. Bedrock principles of
                 statutory interpretation dictate that we look to ordinary
                 meaning, not literal meaning, and that we likewise adhere
                 to the ordinary meaning of phrases, not just the meaning of
                 words in a phrase. And the ordinary meaning of the phrase
                 “discriminate because of sex” does not encompass sexual
                 orientation discrimination.
                    The majority opinion deflects that critique by saying that
                 courts should base their interpretation of statutes on the
                 text as written, not on the legislators’ subjective intentions.
                 Ante, at 20, 23–30. Of course that is true. No one disagrees.
                 It is “the provisions of our laws rather than the principal
                 concerns of our legislators by which we are governed.” On-
                 cale v. Sundowner Offshore Services, Inc., 523 U. S. 75, 79
                 (1998).
                    But in my respectful view, the majority opinion makes a
                 fundamental mistake by confusing ordinary meaning with
                 subjective intentions. To briefly explain: In the early years
                 after Title VII was enacted, some may have wondered
                 whether Title VII’s prohibition on sex discrimination pro-
                 tected male employees. After all, covering male employees
                 may not have been the intent of some who voted for the stat-
                 ute. Nonetheless, discrimination on the basis of sex against
                 women and discrimination on the basis of sex against men
                 are both understood as discrimination because of sex (back
                 in 1964 and now) and are therefore encompassed within Ti-
                 tle VII. Cf. id., at 78–79; see Newport News Shipbuilding
                 & Dry Dock Co. v. EEOC, 462 U. S. 669, 682–685 (1983). So
                 too, regardless of what the intentions of the drafters might
                 have been, the ordinary meaning of the law demonstrates
                 that harassing an employee because of her sex is discrimi-
                 nating against the employee because of her sex with respect
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                 to the “terms, conditions, or privileges of employment,” as
                 this Court rightly concluded. Meritor Savings Bank, FSB
                 v. Vinson, 477 U. S. 57, 64 (1986) (internal quotation marks
                 omitted).10
                    By contrast, this case involves sexual orientation discrim-
                 ination, which has long and widely been understood as dis-
                 tinct from, and not a form of, sex discrimination. Until now,
                 federal law has always reflected that common usage and
                 recognized that distinction between sex discrimination and
                 sexual orientation discrimination. To fire one employee be-
                 cause she is a woman and another employee because he is
                 gay implicates two distinct societal concerns, reveals two
                 distinct biases, imposes two distinct harms, and falls within
                 two distinct statutory prohibitions.

                 ——————
                    10 An amicus brief supporting the plaintiffs suggests that the plaintiffs’

                 interpretive approach is supported by the interpretive approach em-
                 ployed by the Court in its landmark decision in Brown v. Board of Edu-
                 cation, 347 U. S. 483 (1954). See Brief for Anti-Discrimination Scholars
                 as Amici Curiae 4. That suggestion is incorrect. Brown is a correct de-
                 cision as a matter of original public meaning. There were two analytical
                 components of Brown. One issue was the meaning of “equal protection.”
                 The Court determined that black Americans—like all Americans—have
                 an individual equal protection right against state discrimination on the
                 basis of race. (That point is also directly made in Bolling v. Sharpe, 347
                 U. S. 497, 499–500 (1954).) Separate but equal is not equal. The other
                 issue was whether that racial nondiscrimination principle applied to
                 public schools, even though public schools did not exist in any compara-
                 ble form in 1868. The answer was yes. The Court applied the equal
                 protection principle to public schools in the same way that the Court ap-
                 plies, for example, the First Amendment to the Internet and the Fourth
                 Amendment to cars.
                       This case raises the same kind of inquiry as the first question in
                 Brown. There, the question was what equal protection meant. Here, the
                 question is what “discriminate because of sex” means. If this case raised
                 the question whether the sex discrimination principle in Title VII applied
                 to some category of employers unknown in 1964, such as to social media
                 companies, it might be a case in Brown’s second category, akin to the
                 question whether the racial nondiscrimination principle applied to public
                 schools. But that is not this case.
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                    To be sure, as Judge Lynch appropriately recognized, it
                 is “understandable” that those seeking legal protection for
                 gay people “search for innovative arguments to classify
                 workplace bias against gays as a form of discrimination
                 that is already prohibited by federal law. But the argu-
                 ments advanced by the majority ignore the evident mean-
                 ing of the language of Title VII, the social realities that dis-
                 tinguish between the kinds of biases that the statute sought
                 to exclude from the workplace from those it did not, and the
                 distinctive nature of anti-gay prejudice.” 883 F. 3d, at 162
                 (dissenting opinion).
                    The majority opinion insists that it is not rewriting or up-
                 dating Title VII, but instead is just humbly reading the text
                 of the statute as written. But that assertion is tough to ac-
                 cept. Most everyone familiar with the use of the English
                 language in America understands that the ordinary mean-
                 ing of sexual orientation discrimination is distinct from the
                 ordinary meaning of sex discrimination. Federal law dis-
                 tinguishes the two. State law distinguishes the two. This
                 Court’s cases distinguish the two. Statistics on discrimina-
                 tion distinguish the two. History distinguishes the two.
                 Psychology distinguishes the two. Sociology distinguishes
                 the two. Human resources departments all over America
                 distinguish the two. Sports leagues distinguish the two.
                 Political groups distinguish the two. Advocacy groups dis-
                 tinguish the two. Common parlance distinguishes the two.
                 Common sense distinguishes the two.
                    As a result, many Americans will not buy the novel inter-
                 pretation unearthed and advanced by the Court today.
                 Many will no doubt believe that the Court has unilaterally
                 rewritten American vocabulary and American law—a “stat-
                 utory amendment courtesy of unelected judges.” Hively,
                 853 F. 3d, at 360 (Sykes, J., dissenting). Some will surmise
                 that the Court succumbed to “the natural desire that be-
                 guiles judges along with other human beings into imposing
                 their own views of goodness, truth, and justice upon others.”
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                 Furman v. Georgia, 408 U. S. 238, 467 (1972) (Rehnquist,
                 J., dissenting).
                    I have the greatest, and unyielding, respect for my col-
                 leagues and for their good faith. But when this Court
                 usurps the role of Congress, as it does today, the public un-
                 derstandably becomes confused about who the policymak-
                 ers really are in our system of separated powers, and inev-
                 itably becomes cynical about the oft-repeated aspiration
                 that judges base their decisions on law rather than on per-
                 sonal preference. The best way for judges to demonstrate
                 that we are deciding cases based on the ordinary meaning
                 of the law is to walk the walk, even in the hard cases when
                 we might prefer a different policy outcome.
                                           *     *     *
                    In judicially rewriting Title VII, the Court today cashiers
                 an ongoing legislative process, at a time when a new law to
                 prohibit sexual orientation discrimination was probably
                 close at hand. After all, even back in 2007—a veritable life-
                 time ago in American attitudes about sexual orientation—
                 the House voted 235 to 184 to prohibit sexual orientation
                 discrimination in employment. H. R. 3685, 110th Cong., 1st
                 Sess. In 2013, the Senate overwhelmingly approved a sim-
                 ilar bill, 64 to 32. S. 815, 113th Cong., 1st Sess. In 2019,
                 the House voted 236 to 173 to amend Title VII to prohibit
                 employment discrimination on the basis of sexual orienta-
                 tion. H. R. 5, 116th Cong., 1st Sess. It was therefore easy
                 to envision a day, likely just in the next few years, when the
                 House and Senate took historic votes on a bill that would
                 prohibit employment discrimination on the basis of sexual
                 orientation. It was easy to picture a massive and celebra-
                 tory Presidential signing ceremony in the East Room or on
                 the South Lawn.
                    It is true that meaningful legislative action takes time—
                 often too much time, especially in the unwieldy morass on
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                 Capitol Hill. But the Constitution does not put the Legis-
                 lative Branch in the “position of a television quiz show con-
                 testant so that when a given period of time has elapsed and
                 a problem remains unsolved by them, the federal judiciary
                 may press a buzzer and take its turn at fashioning a solu-
                 tion.” Rehnquist, The Notion of a Living Constitution, 54
                 Texas L. Rev. 693, 700 (1976). The proper role of the Judi-
                 ciary in statutory interpretation cases is “to apply, not
                 amend, the work of the People’s representatives,” even
                 when the judges might think that “Congress should reenter
                 the field and alter the judgments it made in the past.” Hen-
                 son, 582 U. S., at ___–___ (slip op., at 10–11).
                    Instead of a hard-earned victory won through the demo-
                 cratic process, today’s victory is brought about by judicial
                 dictate—judges latching on to a novel form of living literal-
                 ism to rewrite ordinary meaning and remake American law.
                 Under the Constitution and laws of the United States, this
                 Court is the wrong body to change American law in that
                 way. The Court’s ruling “comes at a great cost to repre-
                 sentative self-government.” Hively, 853 F. 3d, at 360
                 (Sykes, J., dissenting). And the implications of this Court’s
                 usurpation of the legislative process will likely reverberate
                 in unpredictable ways for years to come.
                    Notwithstanding my concern about the Court’s trans-
                 gression of the Constitution’s separation of powers, it is ap-
                 propriate to acknowledge the important victory achieved to-
                 day by gay and lesbian Americans. Millions of gay and
                 lesbian Americans have worked hard for many decades to
                 achieve equal treatment in fact and in law. They have ex-
                 hibited extraordinary vision, tenacity, and grit—battling of-
                 ten steep odds in the legislative and judicial arenas, not to
                 mention in their daily lives. They have advanced powerful
                 policy arguments and can take pride in today’s result. Un-
                 der the Constitution’s separation of powers, however, I be-
                 lieve that it was Congress’s role, not this Court’s, to amend
                 Title VII. I therefore must respectfully dissent from the
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                 Court’s judgment.
